Case 1:25-cv-00240-ACR   Document 72-4   Filed 03/07/25   Page 1 of 113


Case 1:25-cv-00240-ACR   Document 57-1   Filed 02/21/25   Page 1 of 113




   EXHIBIT A
   Case 1:25-cv-00240-ACR   Document 72-4
                                     57-1   Filed 03/07/25
                                                  02/21/25   Page 2 of 113




       Moving Beyond
       Change Efforts:
Evidence and Action to Support
  and Affirm LGBTQI+ Youth
        Case 1:25-cv-00240-ACR          Document 72-4
                                                 57-1        Filed 03/07/25
                                                                   02/21/25      Page 3 of 113




Acknowledgment
This report was prepared for the Substance Abuse and Mental Health Services Administration
(SAMHSA) by Leed Management Consulting, Inc. under contract number
HHSS283201700609I/HHSS28342001T with SAMHSA, U.S. Department of Health and Human Services
(HHS).

Disclaimer
Listings of any nonfederal resources are not all-inclusive. Nothing in this document constitutes a direct or
indirect endorsement by SAMHSA or HHS of any nonfederal                 products, services, or policies, and
any reference to nonfederal       s products, services, or policies should not be construed as such.

Public Domain Notice
All material appearing in this publication is in the public domain and may be reproduced or copied without
permission from SAMHSA. Citation of the source is appreciated. However, this publication may not be
reproduced or distributed for a fee without the specific, written authorization of the Office of
Communications, SAMHSA.

Electronic Access and Printed Copies
This publication may be downloaded or ordered at https://store.samhsa.gov.

Recommended Citation
Substance Abuse and Mental Health Services Administration (SAMHSA): Moving Beyond Change
Efforts: Evidence and Action to Support and Affirm LGBTQI+ Youth. SAMHSA Publication No. PEP22-
03-12-001. Rockville, MD: Center for Substance Abuse Prevention. Substance Abuse and Mental Health
Services Administration, 2023.

Originating Office
Center for Substance Abuse Prevention, Substance Abuse and Mental Health Services Administration,
5600 Fishers Lane, Rockville, MD 20857, Publication No. PEP22-03-12-001. Released 2023.

Nondiscrimination Notice
The Substance Abuse and Mental Health Services Administration (SAMHSA) complies with applicable
Federal civil rights laws and does not discriminate on the basis of race, color, national origin, age,
disability, religion, or sex (including pregnancy, sexual orientation, and gender identity). SAMHSA does
not exclude people or treat them differently because of race, color, national origin, age, disability,
religion, or sex (including pregnancy, sexual orientation, and gender identity).

Publication No. PEP22-03-12-001

Released 2023
            Case 1:25-cv-00240-ACR           Document 72-4
                                                      57-1   Filed 03/07/25
                                                                   02/21/25    Page 4 of 113




    Navigating This Report                               for families and caregivers and those who work
                                                         closely with them.
    This report is written for multiple audiences, to
    include behavioral health providers, pediatric       Educators and school professionals: Section
                                                         2 includes information on important school
    professionals and primary care providers,
                                                         interventions this group can implement to
    educators and school professionals,
                                                         improve the behavioral health of LGBTQI+
    policymakers, and researchers. Families,
                                                         children and youth. Section 3 identifies vital
    parents, caregivers, and community leaders may
                                                         steps that aim to improve behavioral health of
    also find it useful.                                 LGBTQI+ children and youth.
    Two sections of this report are likely to be         Families and caregivers: Material in this report
    informative for all readers:                         could help parents and caregivers understand
                                                         and support a child s behavioral health. Some
           Executive Summary, which synthesizes          parents may find the information on schools and
           the key conclusions of the report             behavioral health in Section 2 useful when
           Statements of Professional                    seeking support and treatment for their children.
           Consensus on Beneficial and Harmful           Appendix C provides selected resources for
           Practices with Youth of Diverse               families, caregivers, and those who work closely
                                                         with them.
           Sexual Orientation and Gender
           Identity, which provides key scientific       Pediatric professionals and primary care
           and treatment recommendations                 providers: Providers may find Section 1 on the
                                                         evidence regarding sexual orientation and
    Other sections of this report may be more            gender identity (SOGI) change efforts useful, as
    accessible or useful to specific audiences and       well as the research summary and description of
    are noted below.                                     behavioral health treatment interventions
                                                         (Section 2). Appendix C provides selected
    Behavioral health providers: All sections of         resources for families, caregivers, and those
    this report are relevant to these professionals.     who work closely with them.
    Those primarily engaged in practice and
                                                         Policymakers: Section 3 targets policymakers
    treatment might focus on Section 2, which
                                                         interested in taking concrete steps to improve
    summarizes current research with lesbian, gay,       LGBTQI+ child and youth behavioral health. This
    bisexual, transgender, queer, questioning, and       section is relevant to federal, state, and local
    intersex youth and other sexual- and gender-         policymakers as well as advocates and
    diverse children and youth (LGBTQI+ youth). It       behavioral health providers interested in public
    describes evidence-based approaches to               policy. Some policy professionals may find the
    support and affirm LGBTQI+ children and youth.       entire report helpful as background information.
    Section 3 includes an overview of laws that          Researchers: The research summary in Section
    impact treatment and makes recommendations           2 and areas for future study provide an overview
    for targeted training and expanding treatment        of recent evidence and scientific opportunities.
    access.                                              Section 3 contains recommendations for future
                                                         research initiatives.
    Community leaders: Section 3 includes policy
    actions for those interested in supporting           A glossary of terms used throughout this
    LGBTQI+ child and adolescent behavioral              report can be found in Appendix B.
    health. Appendix C provides selected resources




3                                                                                                            3
                Case 1:25-cv-00240-ACR                           Document 72-4
                                                                          57-1                  Filed 03/07/25
                                                                                                      02/21/25                Page 5 of 113




    Table of Contents

    Navigating This Report................................................................................................................................... 3
    Executive Summary ....................................................................................................................................... 7
    Key Findings .................................................................................................................................................. 9
    Understanding Sexual Orientation and Gender in Children and Adolescents ................................................ 11
    Behavioral Health Concerns Among LGBTQI+ Youth................................................................................... 12
    Beneficial Therapeutic Approaches and Interventions With LGBTQI+ Youth ................................................ 13
    Policy Approaches to Support the Behavioral Health of LGBTQI+ Youth ...................................................... 15
    Introduction .................................................................................................................................................. 17
    Revision Process ......................................................................................................................................... 18
    Section 1. State of the Evidence on SOGI Change Efforts With Youth.......................................................... 21
    Statements of Professional Consensus on Beneficial and Harmful Practices With Youth of Diverse
    Sexual Orientation and/or Gender Identity .................................................................................................... 21
               Guiding Principles for Behavioral Health Providers ........................................................................... 21
               Defining Sexual Orientation and Gender Identity Change Efforts ...................................................... 22
               Professional Consensus on Sexual Orientation and Gender Identity Change Efforts With Youth ...... 23
               Professional Consensus on Appropriate Interventions With Youth of Diverse Sexual Orientation
               and/or Gender Identity and Their Families ........................................................................................ 23
               Professional Consensus on Education and Training ......................................................................... 24
    Sexual Orientation and Gender Identity Change Efforts With Youth ............................................................. 25
               Research on SOGI Change Efforts .................................................................................................. 25
               Methodological Considerations When Studying SOGI Change Efforts .............................................. 28
    Consensus of Professional Organizations .................................................................................................... 30
    Conclusion ................................................................................................................................................... 31
    Section 2. Development, Behavioral Health, and Beneficial Therapeutic Approaches With Youth of
    Diverse Sexual Orientation and/or Gender Identity: A Research Overview ................................................... 33
    Sexual Orientation........................................................................................................................................ 33
               Sexual Orientation Development in Youth ........................................................................................ 34
    Gender......................................................................................................................................................... 36
               Gender Development in Youth ......................................................................................................... 38
    Health and Well-Being of LGBTQI+ Youth.................................................................................................... 41
               Behavioral Health Concerns Among LGBTQI+ Youth ....................................................................... 42
                     Behavioral Health Concerns Among LGBTQI+ Children ............................................................. 43
                     Behavioral Health Concerns Among LGBTQI+ Adolescents....................................................... 43


4                                                                                                                                                                        4
           Case 1:25-cv-00240-ACR                          Document 72-4
                                                                    57-1                   Filed 03/07/25
                                                                                                 02/21/25               Page 6 of 113



          Influences on Health and Well-Being ................................................................................................ 45
               Family ........................................................................................................................................ 45
               Religion & Spirituality ................................................................................................................. 46
               School........................................................................................................................................ 47
               Community Climate & Policies.................................................................................................... 49
               Gender Affirmation ..................................................................................................................... 50
Beneficial Therapeutic Approaches and Interventions in LGBTQI+ Youth and Their Families ....................... 51
          Client-Centered Individual Approaches ........................................................................................... 51
          Family Approaches .......................................................................................................................... 53
          Additional Approaches With Gender-Diverse Youth .......................................................................... 55
               Social Transition......................................................................................................................... 55
               Medical Gender Transition ......................................................................................................... 56
Future Directions for Research..................................................................................................................... 57
          Documenting Sexual Orientation and Gender Diversity in Youth ...................................................... 58
          Development of Sexual Orientation and Gender Identity .................................................................. 58
          Culturally Specific Mitigation of Distress Relating to Sexual Orientation, Gender Identity,
          and Gender Expression.................................................................................................................... 58
          Addressing Health Inequities Within LGBTQI+ Youth Populations .................................................... 58
          Building Resilience and Promoting Health and Well-Being ............................................................... 59
          Long-Term Outcomes ...................................................................................................................... 59
          Integration, Collaboration, and Dissemination................................................................................... 59
Section 3: Policy Approaches to Support the Behavioral Health and Well-Being of LGBTQI+ Youth............. 61
Introduction and Foundational Principles ...................................................................................................... 61
Ending Sexual Orientation and Gender Identity Change Efforts.................................................................... 62
Ensuring Access to Evidence-based Care.................................................................................................... 64
          Preventing Bans on Gender-Affirming Care...................................................................................... 64
          Improving Access to Behavioral Health and Gender-Affirming Care ................................................. 65
          Training and Education to Improve Care .......................................................................................... 66
Improving Behavioral Health through Antidiscrimination Policies .................................................................. 67
          Improving Behavioral Health Through Support for Families, Caregivers, Schools,
          and Communities ............................................................................................................................. 68
          Interventions to Support Children and Families ................................................................................ 68
          Interventions to Support Youth in Schools ........................................................................................ 70
Future Directions: Research to Improve Care............................................................................................... 71
          Increasing Research Insights Through Inclusive Demographic Questions ........................................ 71


                                                                                                                                                                    5
               Case 1:25-cv-00240-ACR                         Document 72-4
                                                                       57-1                 Filed 03/07/25
                                                                                                  02/21/25              Page 7 of 113



              Selected LGBTQI+ Research Topics................................................................................................ 72
    Summary and Conclusions........................................................................................................................... 73
    Appendix A: References............................................................................................................................... 75
    Appendix B: Glossary of Terms .................................................................................................................. 104
    Appendix C: Selected Resources ............................................................................................................... 107
    Resources for Behavioral Health and Medical Providers ............................................................................ 107
              Resources for Understanding Sexual Orientation and Gender Identity ........................................... 107
                    Online Resources for Providers................................................................................................ 107
                    Books for Providers .................................................................................................................. 108
              Resources for Pediatric and Primary Care Providers ...................................................................... 108
              Resources for Providers to Discuss with Families, Caregivers, and Others .................................... 108
              Resources for Providers on Cultural Responsiveness .................................................................... 108
    Resources for Educators and School and Community Leaders .................................................................. 109
              Resources for School Professionals ............................................................................................... 109
    Resources for Families and Caregivers ...................................................................................................... 109
              Parent/Caregiver Support-Focused Resources .............................................................................. 109
    Resources for Families and Caregivers of Transgender and Gender-Diverse Youth................................... 110
              Online Resources for Families and Caregivers............................................................................... 110
              Books for Families and Caregivers ................................................................................................. 110
    Resources for Youth .................................................................................................................................. 110
              Online Resources for Youth ........................................................................................................... 110
    Appendix D: Contributions.......................................................................................................................... 111




6
          Case 1:25-cv-00240-ACR                      Document 72-4
                                                               57-1        Filed 03/07/25
                                                                                 02/21/25             Page 8 of 113




Executive Summary
                                                                         This report is focused on the experiences
Like all youth, lesbian, gay, bisexual,                                  and needs of LGBTQI+ children and
transgender, queer, questioning, and intersex                            adolescents up to age 17 years (referred to
youth and other sexual- and gender-diverse                               collectively as            In this report, the
children and adolescents (LGBTQI+ youth)                                 term          is used to refer to youth aged 3-
deserve to grow up in supportive environments                            11 years and adolescent is used to refer to
                                                                         youth aged 12-17 years.
absent stigma and discrimination that allow them
to thrive and achieve their human potential.
When seeking behavioral health treatment (both
mental health and substance use interventions),                       orientations, gender identities, gender
these children and adolescents, like their peers,                     expressions, and variations in sex
and their families deserve the best evidence-                         characteristics. Sexual and gender minorities
based care from knowledgeable health providers                        are also diverse with respect to other identities,
without the risk of harm.                                             including age, race, ethnicity, language, national
                                                                      origin, religion, spirituality, ability, and
This report, Moving Beyond Change Efforts:                            socioeconomic status.
Evidence and Action to Support and Affirm
LGBTQI+ Youth, provides behavioral health                             Critically, LGBTQI+ youth experience significant
providers, researchers, policymakers, and other                       physical and behavioral health inequities.
audiences with current knowledge about                                Several factors contribute to these inequities
LGBTQI+ youth, a comprehensive research                               and result in minority stress, which is harmful to
overview, and important information on                                behavioral health, including:1,2,3,4
behavioral health concerns within this                                          Stigma
community. More specifically, the report
                                                                                Negative social attitudes
provides details on helpful and harmful
                                                                                Systemic barriers in health care for
interventions for these populations in clinical,
                                                                                LGBTQI+ people
community, family, and school settings. In
                                                                                Rejection and lack of support from
particular, the report documents that attempts to
change an                sexual orientation and                                 families, caregivers, and communities
gender identity (SOGI; pronounced         -                                     Bullying and harassment, and lack of
change efforts) are harmful and should not be                                   recognition and support in schools
provided. Additionally, this report discusses                         Lack of appropriately trained behavioral health
evidence-informed policy options that could                           providers and exposure to harmful efforts that
improve the overall health and well-being of                          attempt to change sexual orientation and/or
LGBTQI+ youth.

As the abbreviation LGBTQI+ suggests, this
population is not homogenous. It includes
individuals with many distinct sexual

  Even though the evidence is more limited regarding intersex         of           sexual orientation and/or gender           (or similar
persons, they are included in the acronym LGBTQI+ except when         language) throughout this report.
it would be inappropriate to do so, such as within journal article      For information regarding the terms used to describe sexual
citations or a formal resource name. Additionally, LGBTQI+ is used    orientation and gender identity, see          Orientation and
interchangeably with          and/or gender             and persons   Gender            within Youth.gov https://youth.gov/youth-
                                                                      topics/lgbt.


                                                                                                                                            7
           Case 1:25-cv-00240-ACR           Document 72-4
                                                     57-1   Filed 03/07/25
                                                                  02/21/25       Page 9 of 113




    gender identity compound these challenges.          and adolescents are harmful and should never
    Additionally, some transgender and gender-          be provided. Although the terms
    diverse youth require behavioral health support               and                therap are commonly
    for their experience of gender dysphoria that       used to describe efforts to repress or change
    is, psychological distress arising from the                      sexual orientation or gender identity,
    incongruence between one s body and gender          these efforts are not therapeutic, and using
    identity.5                                          these terms reinforce disinformation that sexual-
                                                        and gender-diverse people need repair or
    The conclusions in this report are based on
                                                        conversion. Efforts to change or suppress a
    research and professional consensus
                                                                  sexual orientation or gender identity are
    statements from experts in behavioral health,
                                                        grounded in the belief that being LGBTQI+ is
    research, education, and policy. They
                                                        abnormal. They are dangerous, discredited, and
    strengthen and build on the conclusions of a
                                                        ineffective practices. Therefore, this report utilizes
    2015 report published by the U.S. Substance
                                                        the term          Change E         to describe so-
    Abuse and Mental Health Services
                                                        called                          Recent studies have
    Administration (SAMHSA), Ending Conversion
                                                        linked SOGI change efforts to significant harms,
    Therapy: Supporting and Affirming LGBTQ
                                                        such as increased risk of suicidality and suicide
    Youth, the precursor to this report.6 An
                                                        attempts, as well as other negative outcomes
    overarching and guiding conclusion of this new
                                                        including severe psychological distress and
    report is that SOGI change efforts in children
                                                        depression.7,8,9,10,11,12,13

       An overarching and guiding conclusion of         Further, these practices are not supported by
       this report is that SOGI change efforts in       credible evidence and have been disavowed as
       children and adolescents are harmful and         harmful by behavioral health experts and
       should never be provided.                        scientific professional associations. SOGI
                                                        change efforts do not align with current scientific


8
       Case 1:25-cv-00240-ACR          Document 72-4
                                                57-1     Filed 03/07/25
                                                               02/21/25       Page 10 of 113




understanding of gender, and are based on the
unfounded concept that being in a sexual or               The term             -based        refers to
gender minority group or identifying as LGBTQI+           care, practices, or policies that are based
is an abnormal aspect of human development.               on current research evidence, clinical
Most importantly, they put young people at risk           expertise, and expert consensus.
of serious harm.
                                                       The Panel reaffirmed that:
The U.S. Department of Health and Human
Services is committed to eliminating health                   Variations in sexual orientation (including
inequities within communities, including the                  identity, behavior, and attraction) and
LGBTQI+ population. This report reflects that                 variations in gender (including identity
commitment by moving the focus away from                      and expression) are part of the normal
SOGI change efforts and toward ensuring that                  spectrum of human diversity and do not
behavioral health care for LGBTQI+ children and               constitute mental disorders.
adolescents is safe and reflects the most current
scientific evidence. This report also provides a       Based on recent studies on thousands of
roadmap for action centered on evidence-based          individuals who have undergone SOGI change
care and helpful interventions for clinicians, all     efforts, the Panel concluded that:
providers, educators, families, caregivers, and
                                                              No available research supports the claim
policymakers to improve the behavioral health of
                                                              that SOGI change efforts are beneficial
LGBTQI+ youth. Further, this report reflects
                                                              to children, adolescents, or families.
priorities included in President          June 15,
                                                              Available research indicates that SOGI
2022, Executive Order on Advancing Equality for
Lesbian, Gay, Bisexual, Transgender, Queer,                   change efforts are not effective in
and Intersex Individuals,14 and the January 20,               altering sexual orientation. Further, no
2021, Executive Order on Preventing and                       available research indicates that change
Combating Discrimination on the Basis of                      efforts are effective in altering gender
Gender Identity or Sexual Orientation.15                      identity.
                                                              Available research indicates that SOGI
Key Findings                                                  change efforts can cause significant
This report and its recommendations are based                 harm.
on scientific research distilled into consensus               SOGI change efforts are inappropriate,
statements by a Subject Matter Expert                         ineffective, and harmful practices that
Consensus Panel (the Panel; see Appendix D                    should not be provided to children and
for members). After a thorough review of the                  adolescents.
scientific research; professional health and
                                                       In the past several years, the research on
scientific association statements, guidelines, and
                                                       gender diversity, gender identity, and gender-
reports; and state and national public policies,
                                                       affirming medical care for children and
and in consultation with professionals across a
                                                       adolescents has expanded greatly. The Panel
wide range of expertise, the Panel revised and
                                                       found that:
built on key statements from the 2015 report.




                                                                                                            9
            Case 1:25-cv-00240-ACR         Document 72-4
                                                    57-1     Filed 03/07/25
                                                                   02/21/25     Page 11 of 113




            Gender affirmation, including social                  negatively affects the health of sexual
            transition, and gender-affirming medical              and gender minority youth. Such
            care are appropriate and beneficial for               behaviors can cause harm, particularly
            many gender minority youth.
                                                                  and/or gender diversity.
     Research over the past 20 years has
     underscored the importance of family and              After a comprehensive review of the substantial
     community support to the health of LGBTQI+            research assessing the impacts of public
     youth. Family and community negativity toward         policies, the Panel determined that:
     sexual diverse sexual orientation and/or gender
     identity, especially family rejection and school             Policies that stigmatize, restrict, or
     bullying and harassment, can cause harm to the               exclude sexual or gender minority youth
     behavioral health of this population. The Panel              are harmful to children and adolescents.
     confirmed that:                                              Legal prohibitions on gender-affirming
                                                                  care (including medical treatment) are
            Rejection and lack of social and
                                                                  harmful to LGBTQ+ children and
            emotional support from families and
                                                                  adolescents.
            caregivers, schools, and communities




10
       Case 1:25-cv-00240-ACR            Document 72-4
                                                  57-1      Filed 03/07/25
                                                                  02/21/25      Page 12 of 113




Understanding Sexual Orientation and                     acknowledging their sexual orientation earlier as
Gender in Children and Adolescents                       societal attitudes have increasingly become
Behavioral health providers, parents, schools,           more accepting and open to diverse sexual
policymakers, and communities can best provide           orientations. Regardless of age, the increase in
support to children, adolescents, and their              identifying as an individual of diverse sexual
families and caregivers and improve their                orientation may be tied to the increasing
behavioral health when they have access to the           awareness and acceptance of diverse sexual
most current information about sexual                    orientations; the expansion of laws, policies, and
orientation, gender identity, and gender                 practices that protect and support individuals
expression in youth. The following overview              regardless of sexual orientation; and an
presents the most current understanding, based           increased willingness and ability among people
on scientific evidence of youth sexual                   with diverse sexual orientations to self-identify.31
orientation, gender identity, and gender                 Evidence suggests that acceptance of diverse
expression.                                              sexual orientations does not make people more
                                                         likely to identify with a diverse sexual orientation,
Sexual orientation occurs across a continuum,            but rather it increases the likelihood that people
and same-sex or same-gender attraction and               feel safer to identify this way publicly.32,33,34
relationships are normal and healthy variations
of human sexuality.16,17 Similarly, a gender             Gender development begins in early childhood
identity that differs from assigned sex at birth, as     and continues throughout childhood and
well as a gender expression that is not aligned          adolescence.35,36 Gender diversity in youth can
with usual or expected cultural norms for a              follow many possible paths. It may emerge as
particular gender, are normal and healthy                early as a child s preschool years, in late
variations of human gender identity.18,19 It is a        adolescence, or anytime in between.37,38,39,40
longstanding finding that being a person of              Some gender-diverse children are actively
diverse sexual orientation and/or gender identity,       exploring their gender, and there is variation
or identifying as LGBTQI+, is not                        regarding their identity development trajectories
pathological.18,20,21,22,23,24,25                        and ultimate identity outcomes.38,39,40 Recent
                                                         research has found that most gender-diverse
While many youth have identified with having a           children continue to identify as transgender or
diverse sexual orientation in the past, they have        another gender identity that differs from their sex
not always felt safe enough to share that                assigned at birth into adolescence and
diversity openly with others.26,27,28 There is no        adulthood.39,40,41 For those who exhibited diverse
single developmental trajectory for sexual               gender-typed behavior in childhood, but did not
orientation. Certainty about sexual orientation          identify as transgender or nonbinary, the
e.g., gay/lesbian, bisexual, or straight                 majority reported a diverse sexual orientation in
increases with age, suggesting         unfolding of      adolescence.42,43 For transgender children who
                                       29
sexual identity during                    Some           have been supported in their gender identity and
researchers have found that it has become more           gender expression, the vast majority show
common in the 21st century compared to the 20th          consistency in their trans identity across
century for children to self-identify as having a        time.40,44
diverse sexual orientation and/or gender
identity.30 What has changed from earlier                Some people are born with differences in sex
periods is that youth appear to be publicly              characteristics, such as reproductive anatomy,



                                                                                                                 11
               Case 1:25-cv-00240-ACR                        Document 72-4
                                                                      57-1       Filed 03/07/25
                                                                                       02/21/25      Page 13 of 113




     chromosomes, or hormones that do not fit
     typical definitions of male and female. Intersex is                          Behavioral Health: A broad term that
     an umbrella term used to describe people who                                 includes mental health, resilience, and
     can have different gender identities. Individuals                            well-being; the treatment of mental and
     with intersex traits may identify as male, female,                           substance use disorders; and the support
                                                                                  of those who experience and/or are in
     nonbinary, or a different gender. Intersex
                                                                                  recovery from these conditions, along with
     individuals may consider themselves
                                                                                  their families and communities.
     transgender if they do not identify with their sex
     assigned at birth. Like other LGBTQI+ youth,
     intersex youth experience pervasive stigma and                            Behavioral Health Concerns Among
     discrimination. While research involving intersex                         LGBTQI+ Youth
     individuals has been limited,45 the Federal                               LGBTQI+ adolescents face the same
     Government has taken steps to reduce this                                 developmental milestones that accompany
     disparity, such as issuing a Request for                                  adolescence for all youth. However, unlike
     Information on Promising Practices for                                    adolescents with a cisgender and
     Advancing Health Equity for Intersex Individuals                          straight/heterosexual orientation, LGBTQI+
     in February 2023.46                                                       adolescents often must navigate an environment
                                                                               lacking awareness and acceptance of their
     Supportive families and caregivers, peers, and
                                                                               sexual orientation and/or gender identity.
     school and community environments are
                                                                               Moreover, they might have to do so without
     associated with improved psychosocial
                                                                               family, community, or societal support, for
     outcomes for all children and adolescents, and
                                                                               example, through the child welfare system.
     this is especially true for those children and
     adolescents with minority sexual orientations or                          Limited research with sexual minority children
     gender identities that do not align with their sex                        indicates that mental health inequities may begin
     assigned at birth.47,48,49,50,51,52,53 Extensive                          in childhood,30,54 which may be connected to
     research indicates that even just one supportive                          greater prevalence of discrimination and
     adult, such as a family member, teacher, or                               victimization among sexual minority children.55,56
     mental health provider, can have a positive                               As a result of experiencing stigma and
     impact on the mental health of youth of diverse                           discrimination, some youth with diverse sexual
     sexual orientation and/or gender identity; such                           orientation and/or gender identity are at
     support can reduce adverse mental health                                  increased risk for:
     impacts including suicide.49 Additionally, family
     or caregiver, peer, school, and community                                        Psychological distress (e.g., depressive
     support for youth of diverse sexual orientation                                  symptoms, anxiety, and behavioral
     and/or gender identity promotes better mental                                    disorders)
     health and fewer negative outcomes, and can                                      Substance use
     lead to positive development and emotional                                       Suicidal ideation and attempts
     resilience.47,48,49,53                                                           Victimization, violence, and
                                                                                      homelessness


                    is a term that describes individuals whose gender
     identity is congruent with their sex assigned at birth. Please refer to
     Appendix B for a glossary of terms.




12
       Case 1:25-cv-00240-ACR           Document 72-4
                                                 57-1     Filed 03/07/25
                                                                02/21/25      Page 14 of 113




       Involvement with child welfare services,
       often stemming from family rejection                Developmentally sensitive approaches
       Involvement in juvenile justice                     consider appropriate development of
                                                           emotional and cognitive capacities,
       programs57,58,59,60,61,62,63,64,65
                                                           achievement of developmental milestones,
Psychosocial distress is often related to, if not          and possible emerging or existing
caused by, negative social attitudes or                    behavioral health concerns.
rejection.66 High levels of parental and caregiver
support of          sexual orientation and gender       behavioral health concern.5 For some, the
identity can mitigate increased risk of behavioral      physical changes of adolescence may worsen
health concerns. For example, transgender and           feelings of gender dysphoria. For others, gender
gender-diverse youth with affirming parents and         dysphoria or feelings of gender incongruence
caregivers have similar levels of mental health         may begin post-puberty without any childhood
challenges as their cisgender peers.67 It is            history of gender dysphoria or gender diversity.70
essential to note that youth with diverse sexual
orientation and/or gender identity are resilient,       Beneficial Therapeutic Approaches
and that with sufficient support and access to          and Interventions With LGBTQI+
resources, they can thrive.68,69                        Youth
Some children may experience gender                     Given scientific findings that SOGI change
dysphoria, meaning feelings of distress or              efforts are harmful and medically inappropriate,
incongruence between one s gender identity and          the behavioral health approaches below are
sex assigned at birth. This distress, rather than       recommended instead. These approaches are
the        gender diversity, is recognized as a         consistent with the Pane consensus




                                                                                                             13
            Case 1:25-cv-00240-ACR            Document 72-4
                                                       57-1      Filed 03/07/25
                                                                       02/21/25      Page 15 of 113




     statements and current research. Several                 identify the sources of any distress experienced
     professional and scientific association guidelines       by LGBTQI+ youth and their families and
     recommend these approaches as                            caregivers, and work to reduce this distress.
     well.22,23,24,25,71,72,73,74
                                                              Working with parents and caregivers is
     When providing services to children,                     important, as their behaviors and attitudes have
     adolescents, families, and caregivers,                   significant effects on the mental health and well-
     appropriate therapeutic approaches include:              being of youth with diverse sexual orientation
            Providing accurate information on sexual          and/or gender identity. Supportive family,
            orientation, gender identity and                  caregivers, community, school, child welfare,
                                                              and healthcare environments have been shown
            expression, and variations in sex
                                                              to positively impact both the short- and long-
            characteristics
                                                              term health and well-being of LGBTQI+ youth.
            Identifying sources of distress, including
                                                              Families, caregivers, and those working with
            internalized stigma and minority stress,
                                                              these youth can benefit from guidance and
            and working with children, adolescents,           resources to increase support for sexual- and
            families, and caregivers to reduce the            gender-diverse groups and to reduce stigma and
            distress LGBTQI+ youth experience                 discrimination.
            Supporting adaptive coping to improve
            psychological well-being                          In addition to the appropriate therapeutic
                                                              approaches described above, social transition is
            Supporting youth as they learn more
                                                              appropriate and beneficial for many transgender
            about their sexual orientation and gender
                                                              and gender-diverse youth.75,76,77,78 Although
            identity, and supporting families in
                                                              professional intervention is not required for
            accessing gender-affirming care for their
                                                              youth to take steps in social transition, providers
            transgender child when indicated                  can support families and caregivers to protect
            Helping children and adolescents                           safety, ensure emotional, psychological,
            navigate their sexual orientation, gender         and social well-being, and help youth and
            identity, and gender expression within            families navigate the potential complexities of
            the context of their cultural, religious, and     exploring and taking steps in social transition.79
            other identities                                  Based on the individual           needs, some
                                                              forms of gender-affirming medical care may be
     Interventions should be client-centered,
                                                              medically necessary. Gender-affirming medical
     culturally appropriate, and developmentally
                                                              care that is provided in consultation with
     sensitive. The treatment goal should be to
                                                              licensed healthcare providers is supported by
     facilitate the best possible level of psychological
                                                              extensive research and, based on the individual
     functioning, rather than identifying with a specific
                                                                            needs, may be medically
     gender or sexual orientation. Appropriate
                                                              necessary.80,81 Withholding timely gender-
     treatment approaches with youth of diverse
                                                              affirming medical care when indicated,
     sexual orientation and/or gender identity should
                                                              withholding support for a gender-affirming
     focus on identity development and affirming
                                                              exploratory process, and/or withholding support
     exploration that allows the child or adolescent
                                                              of social transition when desired, can be harmful
     the freedom of self-discovery within a context of
                                                              because these actions may exacerbate and
     acceptance and support. It is important to
                                                              prolong gender dysphoria.82,83



14
       Case 1:25-cv-00240-ACR          Document 72-4
                                                57-1     Filed 03/07/25
                                                               02/21/25      Page 16 of 113




Licensed healthcare providers play an important               Promote behavioral health through
role in educating adolescents and their parents               protective and antidiscrimination policies
and caregivers about the various options for                  Improve behavioral health through
medical gender transition. They can also support              facilitating increased support from
youth, families, and caregivers in understanding              families, schools, and communities
this information and assess their understanding               Conduct research that increases
so that parents/caregivers and youth can
                                                              knowledge of health inequities with the
provide fully informed consent and assent for the
                                                              goal to improve care
proposed care. The support of a behavioral
health provider during these processes can aid         Given that SOGI change efforts are not
an adolescent in identifying care needs,               appropriate therapeutic interventions, and are in
adjusting to their changing physical                   fact harmful, immediate efforts are required to
characteristics, and navigating responses from         end their practice. Policy efforts to end SOGI
people in different aspects of their life.             change efforts have included:

Policy Approaches to Support the                              Passing state legislation to ban SOGI
Behavioral Health of LGBTQI+ Youth                            change efforts or provide supportive
                                                              resources
LGBTQI+ youth and their families can benefit
                                                              Introducing federal legislation to ban
from policies that aim to:
                                                              SOGI change efforts or provide
       End harmful and ineffective efforts such               supportive resources
       as SOGI change efforts and ensure                      Banning licensed behavioral health
       access to evidence-based care                          providers from engaging in SOGI
                                                              change efforts




                                                                                                           15
            Case 1:25-cv-00240-ACR          Document 72-4
                                                     57-1     Filed 03/07/25
                                                                    02/21/25      Page 17 of 113




            Restricting use of state funds and              Policies can improve behavioral health and
            proposing the restriction of federal funds      reduce health risks in this population by
            for these efforts                               ensuring protection from discrimination,
            Defining SOGI change efforts as                 exclusion, and violence in schools and
            consumer fraud                                  communities, and by expanding civil rights for
                                                            LGBTQI+ individuals and families. Reducing
     Efforts to improve understanding among                 stigma directed at LGBTQI+ individuals and
     behavioral health providers and other                  families through affirmative public information
     stakeholders of the harms of SOGI change efforts       that is respectful of families and youth from
     and the benefits of evidence-based care are            diverse religious, cultural, socioeconomic, and
     essential. Other policy efforts can expand access      racial/ethnic backgrounds is important and
     to LGBTQI+ evidence-based care through                 consistent with professional ethical guidelines
     reforming insurance and health services,               and standards of care. Supporting research to
     ensuring nondiscrimination in health services          continue the development of evidence-based
     programs, and increasing behavioral health and         behavioral interventions for LGBTQI+ youth
     medical professional training in appropriate           especially those from diverse backgrounds will
     treatments. Bans on gender-supportive and              contribute to the overall health and well-being of
     gender-affirming care are harmful to individuals       this community.
     of diverse sexual orientation and/or gender
     identity.84




16
       Case 1:25-cv-00240-ACR          Document 72-4
                                                57-1     Filed 03/07/25
                                                               02/21/25      Page 18 of 113




Introduction
This report, Moving Beyond Change Efforts:
Evidence and Action to Support and Affirm
LGBTQI+ Youth, revises and builds on the
seminal 2015 SAMHSA publication, Ending
Conversion Therapy: Supporting and Affirming
LGBTQ Youth.6 Based on the usefulness of the
2015 report, SAMHSA determined that a
revision was warranted to reflect advances in
scientific research and practice. This report
provides an overview of current scientific
understanding on sexual orientation and gender
identity development and research on the
behavioral health of youth of diverse sexual
orientation and/or gender identity. The report
also includes professional consensus on best
practices in behavioral health with lesbian, gay,
bisexual, transgender, queer, questioning, and
other sexual- and gender-diverse youth
                                                        Section 2. Development, Behavioral Health,
(LGBTQI+ youth) and describes actions and
                                                       and Beneficial Therapeutic Approaches With
policy options based on scientific research to
                                                       Youth of Diverse Sexual Orientation and/or
improve their health and well-being.
                                                       Gender Identity: A Research              provides
 Section 1. State of the Evidence on SOGI              an updated and expanded overview of recent
Change Efforts With           addresses sexual         research with LGBTQI+ youth beyond change
orientation and gender identity (SOGI;                 efforts. This section summarizes new
pronounced SO-gee change efforts. SOGI                 developments in research with youth of diverse
change efforts include practices that are not          sexual orientation and/or gender identity,
supported by credible evidence, are harmful,           including sexual orientation and gender identity
and have been disavowed by behavioral health           development and behavioral health. It also
experts and professional and scientific                discusses positive and negative influences on
associations. Statements of Professional               the behavioral health and well-being of
Consensus on Beneficial and Harmful Practices          LGBTQI+ youth, including factors such as
With Youth of Diverse Sexual Orientation and/or        family, school, community, and policy.
Gender           describes updated statements          Importantly, this section also provides
from experts on best practices in behavioral           information about appropriate and beneficial
health for sexual and gender minority youth.           therapeutic approaches to support the
 Sexual Orientation and Gender Identity Change         behavioral health and well-being of youth of
Efforts With         is an update on current           diverse sexual orientation and/or gender identity
research regarding SOGI change efforts in              and their families.
youth, and formed the basis for the best practice
                                                        Section 3. Policy Approaches to Support and
statements.
                                                       Affirm the Behavioral Health and Well-Being of
                                                       LGBTQI+           provides a comprehensive


                                                                                                           17
            Case 1:25-cv-00240-ACR          Document 72-4
                                                     57-1     Filed 03/07/25
                                                                    02/21/25      Page 19 of 113




     outline of scientifically supported                    Association. Building on the successful 2015
     recommendations for policies to improve the            process, a revision framework was developed by
     behavioral health and well-being of youth of           the contractor that culminated in a 2-day online
     diverse sexual orientation and/or gender identity,     meeting on September 9-10, 2021. During the
     including improving access to comprehensive,           meeting, experts in relevant fields considered a
     supportive care.                                       comprehensive array of research findings,
                                                            professional guidelines, the current clinical
     SAMHSA aims to reduce the impact of
                                                            knowledge base, behavioral health concerns of
     substance use and mental illness on
                                                            youth of diverse sexual orientation and/or
     communities. As such, SAMHSA endeavors to
                                                            gender identity, and policy opportunities. During
     improve public health and eliminate health
                                                            this meeting, the Subject Matter Expert
     inequities, including those affecting LGBTQI+
                                                            Consensus Panel (the Panel) and scientific
     communities. By addressing the issues included
                                                            writing team, under the direction of the
     in this report that have a significant impact on
                                                            contractor, helped develop and formulate this
     the lives and well-being of LGBTQI+ youth,
                                                            report.
     SAMHSA aims to enable families, caregivers,
     providers, educators, and policymakers to take         The experts were identified based on their
     actions that will reduce the behavioral health         knowledge of a wide array of topics, including
     risks and inequities facing this vulnerable            but not limited to:
     population.
                                                                   Gender identity and sexual orientation
     Revision Process                                              development in youth, including
     Ending Conversion Therapy: Supporting and                     nonbinary and transgender individuals
     Affirming LGBTQ Youth, a 2015 SAMHSA                          Youth clinical issues, including those
     publication, was reportedly helpful to behavioral             related to gender dysphoria
     health providers, families, school professionals,             Concerns of ethnically, racially, and
     policymakers, and other audiences.6 SAMHSA                    culturally diverse communities and
     determined that the report s utility could be                 under-resourced and underserved
     enhanced and updated to reflect new advances                  populations
     in scientific research and practice. The                      Family psychology
     revision this report includes:                                Community and school mental health
            New research on SOGI change efforts                    Professional ethics
            Latest developments and research in the                Research methods
            field of gender identity and sexual                    Intersection of behavioral health and
            orientation development in youth                       spiritual diversity
            Updated guidance for behavioral health                 Legal issues and public policy
            providers, families, caregivers, and                   SOGI change efforts
            school-based professionals                      An extensive list of experts was generated from
            New section on public policy                    those with expertise in the above areas based
            considerations                                  on published research and innovation in the key
                                                            knowledge areas; knowledge of, or participation
     The 2015 report was based on a meeting of
                                                            in, the development of professional guidelines;
     experts led by the American Psychological
                                                            expertise in clinical practice; referral by other


18
       Case 1:25-cv-00240-ACR            Document 72-4
                                                  57-1     Filed 03/07/25
                                                                 02/21/25      Page 20 of 113




experts; and behavioral health specialty.                As with the process developed for the 2015
SAMHSA also sought input from the experts who            consensus panel for the formulation of consensus
contributed to the 2015 report, including the            statements, unanimous consensus was sought,
American Psychological Association, and those            but if it could not be reached, 80 percent support
who could assist in achieving the goals of this          would constitute consensus. Versions of
report.                                                  consensus statements were circulated after the
                                                         September 2021 meeting with multiple
Additional input was obtained from professionals
                                                         opportunities provided for panelists to submit
in pediatrics, psychology, psychiatry, public
                                                         comments and revisions. Final versions were
health, social work, scientific research
                                                         adopted by polling. Unanimous consensus was
methodology, and legal issues and public policy.
                                                         reached in nearly all instances. The statements of
These individuals included researchers and
                                                         professional consensus are provided in Section
practitioners in child and adolescent development
                                                         1. State of the Evidence on SOGI Change Efforts
and mental health, as well as researchers in
                                                         With
gender development, gender identity, and sexual
orientation in youth. The Panel, which helped            Observers from               senior leadership
develop and formulate this report, included              team, internal experts, and cross-federal experts
experts with backgrounds in family therapy,              who had been involved in developing the 2015
ethnic, racial, and cultural diversity, needs of         report were present for the September 2021
underrepresented populations, faith and                  meeting and offered the opportunity to submit
psychology, and ethics. The Panel included those         written questions and input to the Panel
who practice in a variety of settings from different     throughout the meeting.
behavioral health specialties. (See Appendix D
for members.)




                                                                                                              19
Case 1:25-cv-00240-ACR   Document 72-4
                                  57-1   Filed 03/07/25
                                               02/21/25   Page 21 of 113
       Case 1:25-cv-00240-ACR          Document 72-4
                                                57-1   Filed 03/07/25
                                                             02/21/25     Page 22 of 113




Section 1. State of the Evidence on SOGI Change Efforts With
Youth
Statements of Professional                               Though the terms
Consensus on Beneficial and                              and reparative            are commonly
Harmful Practices With Youth of                          used, these efforts are not therapeutic
                                                         and reinforce harmful beliefs that sexual-
Diverse Sexual Orientation                               and gender-diverse people need repair or
and/or Gender Identity                                   conversion.
Guiding principles and statements of
                                                           All children and adolescents should have
professional consensus regarding sexual
                                                           fair and equitable access to behavioral
orientation and gender identity and expression
among youth were developed during the                      health services that will benefit their
meeting of the Subject Matter Expert Consensus             health and welfare without the risk of
Panel (the Panel) meeting in September 2021                harm. Children and adolescents have the
(see Revision Process in the previous section              right to participate in decisions that affect
for a description of the Panel meeting and                 their health care and future lives.
revision process). These statements revise and             Behavioral health providers assist
build on the professional consensus statements             children, adolescents, and their families
developed during a July 2015 American                      in making informed healthcare decisions
Psychological Association convening, as                    by providing developmentally appropriate
described in the 2015 report, Ending Conversion            information and assessing their decision-
Therapy: Supporting and Affirming LGBTQ                    making capacities and family and
Youth.6 The 2021 convening and resulting
                                                           community contexts.
statements reflect updates to current evidence
                                                           Behavioral health providers strive to
and recommended clinical practice.
                                                           provide care that is in the best interest of
Guiding Principles for Behavioral Health                   the child or adolescent.
Providers                                                  Behavioral health providers strive to
The Panel updated a statement regarding the                incorporate cultural awareness, respect,
guiding human rights and scientific principles             and sensitivity into their work. They
that provide a foundation for behavioral health            recognize that age, gender identity and
providers working with this population. They are           expression, race, ethnicity, culture,
based on codes of professional ethics for the              language, national origin, religion,
fields of psychology, psychiatry, counseling,              spirituality, sexual orientation, different
social work, and pediatrics.70,74,83,84,85,86,87           abilities, and socioeconomic status are
                                                           important factors to consider when
       Behavioral health providers respect
                                                           working with children, adolescents, and
       human dignity and human rights.
                                                           families.
       Professional ethics necessitate that
       children and adolescents be supported in
       their right to explore and actualize their
       own identities.


                                                                                                           21
            Case 1:25-cv-00240-ACR            Document 72-4
                                                       57-1     Filed 03/07/25
                                                                      02/21/25      Page 23 of 113




            Behavioral health providers strive to
                                                                 In the field of health care, the term
            eliminate any impact of bias on their
                                                                                   is used to designate care
            professional interactions and decisions.             that is nonbeneficial, not medically
                                                                 indicated, and ineffective in achieving a
     Defining Sexual Orientation and Gender                                 desired results. Medically
     Identity Change Efforts
                                                                 inappropriate care is not needed or
     SOGI change efforts, commonly referred to as                supported by clinical evidence and can
      conversion             or reparative           are         result in negative health outcomes. The
     practices that aim to suppress or alter an                  term                  is used to designate
     individual s sexual orientation or gender to align          care when the expected health benefit
                                                                 exceeds the expected negative
     with heterosexual orientation, cisgender identity,
                                                                 consequences by a sufficiently wide
     and/or stereotypical gender expression. SOGI
                                                                 margin that the care is worthwhile.88
     change efforts are premised on or motivated by
     the belief that diversity in sexual orientation
     and/or gender identity and expression is a               open and affirming exploration and development
     deficit, mental illness, or pathology.                   of one s sexual or gender identity, including
                                                              navigating sexual orientation and/or gender
     SOGI change efforts do not include gender-               identity within the context of intersecting
     affirming care. They do not include counseling           identities.
     that facilitates acceptance, social support, or




22
      Case 1:25-cv-00240-ACR          Document 72-4
                                               57-1   Filed 03/07/25
                                                            02/21/25    Page 24 of 113




Professional Consensus on Sexual
Orientation and Gender Identity Change
Efforts With Youth
 1. Variations in sexual orientation (including
    identity, behavior, and/or attraction) and
    gender (including identity and expression)
    are part of the normal spectrum of human
    development and do not constitute mental
    disorders.
 2. Available research indicates that SOGI
    change efforts can cause significant harm.
    It also indicates that these efforts are not
    effective in altering sexual orientation.                Are responsive to
    Further, no available research indicates                               , and
    that SOGI change efforts are effective in                intersectional identities, including
    altering gender identity. No available                   age, gender, race, ethnicity, culture,
    research supports the claim that these                   national origin, religion, spirituality,
    efforts are beneficial to children,                      sexual orientation, different abilities,
    adolescents, or families.                                language, and socioeconomic status
 3. SOGI change efforts are inappropriate             2. Appropriate therapeutic approaches for
    practices that should not be provided to             sexual and gender minority youth do the
    children and adolescents.                            following:
 4. Rejection and lack of social and emotional                Provide accurate information on
    support from families and communities                     sexual orientation and gender
    negatively impact the health of sexual and                identity and expression
    gender minority youth. Such behaviors can                 Identify sources of distress for
    cause harm, particularly family rejection of              children, adolescents, and families
    sexual orientation and/or gender diversity.               and work with them to reduce it
                                                              Facilitate exploration and
Professional Consensus on Appropriate                         development of            sexual and/or
Interventions With Youth of Diverse                           gender identity
Sexual Orientation and/or Gender Identity
                                                              Support adaptive coping to improve
and Their Families
                                                              psychological well-being
 1. Appropriate approaches to care for sexual                 Help youth navigate their sexual
    and gender minority youth and their                       orientation, gender identity, and
    families:                                                 gender expression within the context
       Are evidence-based and person-                         of their cultural, religious, and other
       centered                                               intersecting identities
       Reduce the rejection of sexual and             3.   Gender affirmation, including social
       gender minority youth                               transition (e.g., changing      name,
       Increase family, school, and community              pronoun, and/or appearance), is
       support                                             appropriate and beneficial for gender
                                                           minority children and adolescents.


                                                                                                        23
        Case 1:25-cv-00240-ACR           Document 72-4
                                                  57-1     Filed 03/07/25
                                                                 02/21/25      Page 25 of 113




      Behavioral health providers may want to consult guidelines from major medical and mental health
      associations such as: American Academy of Child and Adolescent Psychiatry, American Academy of
      Pediatrics, American College of Physicians, American Counseling Association, American Medical
      Association, American Psychiatric Association, American Psychoanalytic Association, American
      Psychological Association, American School Counselor Association, Endocrine Society, National
      Association of School Psychologists, National Association of Social Workers, Pediatric Endocrine
      Society, Society for Adolescent Health and Medicine, World Medical Association, and World
      Professional Association for Transgender Health. (See Appendix C for some of these resources.)


         Based on the            needs, gender-                             ethical and professional
         affirming medical care may be medically                responsibilities include delivering care
         necessary. Such care is defined here as                that reflects respect, compassion, and
         a care plan or service that is necessary               cultural humility. It should be consistent
         to assess, maintain, or improve health                 with current professional, evidence-
         and well-being and to avoid illness or                 based, multidisciplinary resolutions and
         reduce symptoms based on existing                      guidelines issued by leading health and
         professional guidelines and scientific                 scientific associations and professional
         evidence. Withholding timely gender-                   ethical principles.
         affirming care when indicated,
         withholding support for a gender-               Professional Consensus on Education
         affirming exploratory process, or               and Training
         withholding support of social transition         1. Like all youth, sexual and gender minority
         when desired can be harmful because                 youth and their families have diverse
         those actions may exacerbate and                    cultural, ethnic, racial, religious, and other
         prolong gender dysphoria.                           identities that shape their experiences,
     4. Legal prohibitions on gender-affirming               values, and behavioral health needs.
        care (including medical treatment) are               These are important factors for behavioral
        harmful to children and adolescents.                 health providers to understand and
        Further, policies that stigmatize, restrict,         acknowledge. Providers should receive
        or exclude gender minority youth are                 specific training in the development of
        harmful to children and adolescents.                 diverse sexual orientations and gender
     5. When working with sexual and gender                  identities, as well as training on culturally
        minority youth, behavioral health                    responsive approaches to working with
                                                             sexual and gender minority youth and their
                                                             families from diverse backgrounds.
        Person-centered, also known as client-
        centered, is a long-standing therapeutic          2. While sexual and gender minority youth
        approach that affirms and values all                 experience many of the same
        aspects of individuals.89 It emphasizes              developmental milestones as other youth,
        unconditional positive regard and                    they also encounter unique challenges and
        empathic understanding of all aspects of             may need specific support and resources
        the person.                                          to thrive. All of those engaged in the care
                                                             of youth, including parents and caregivers,


24
       Case 1:25-cv-00240-ACR            Document 72-4
                                                  57-1        Filed 03/07/25
                                                                    02/21/25          Page 26 of 113




     healthcare providers and staff, school and            research and a reflection of the realities of its
     education professionals, community                    practice, where it is not always possible to
     leaders, social service providers, legal              distinguish between sexual orientation and
     professionals, and policymakers, can                  gender identity change efforts. For example,
     benefit from accurate, scientific, non-               SOGI change efforts often include attempts to
     pathologizing information about sexual and            change children s and                 gender
     gender diversity.                                     expression to be more consistent with the
                                                           stereotypical norms expected for their assigned
Sexual Orientation and Gender                              sex at birth, with a goal to prevent both a
Identity Change Efforts With Youth                         transgender identity and a future diverse sexual
Over the past decade, additional high-quality              orientation.24,50,90
research focused on documenting the practice
                                                          In 2009, the American Psychological Association
and effects of SOGI change efforts has provided
                                                          Task Force on Appropriate Therapeutic
further evidence that these efforts should not be
                                                          Responses to Sexual Orientation Change Efforts
practiced with youth. This section includes a
                                                          conducted an authoritative review of peer-
review of recent research on SOGI change
                                                          reviewed literature published on sexual
efforts and information about their continued use
                                                          orientation change efforts.24 Since its
across the United States. It also includes a
                                                          publication, a systematic review of research on
detailed description of some of the
                                                          sexual orientation change efforts has been
methodological issues relevant to SOGI change
                                                          published,7 as well as quantitative and
efforts research that may be useful for
                                                          qualitative empirical studies examining sexual
researchers and policymakers. Finally, this
                                                          orientation change efforts among populations
section describes guidance from professional
                                                          residing in the United States or
organizations disavowing SOGI change efforts.
                                                          Canada.8,9,10,11,91,92,93,94,95,96,97,98,99,100,101,102,103,104
Research on SOGI Change Efforts                            A 2018 systematic review of research on gender
There is now a significant body of research on             identity change efforts published between 1990
SOGI change efforts. Overall, it has focused on            and 2017 identified four studies reporting on its
sexual orientation change efforts more than                use, which consisted of three case reports and
gender identity change efforts. Although some              one case series.105 Since then, three studies
study populations included both sexual and                 investigated gender identity change efforts
gender minorities, they often examined SOGI                among populations residing in the United States
change efforts in ways that obscure whether                or Canada.9,106,107,108 One study examined their
transgender participants experienced change                use in New Zealand,109 and several studies
efforts related to their sexual orientation, gender        examined sexual orientation change efforts with
identity, or both. This is both a methodological           transgender and gender-diverse populations in
shortcoming of some SOGI change efforts                    the United States and Canada.10,11,103


    Lesbian, gay, bisexual, and other sexual orientations are normal variations of human sexuality and are
    not mental disorders. Transgender, nonbinary, and other gender identities are normal variations of
    human gender and are not mental disorders. Therefore, practices seeking to change an individual s
    sexual orientation, gender identity, and/or gender expression are not indicated and are inappropriate.




                                                                                                                            25
            Case 1:25-cv-00240-ACR           Document 72-4
                                                      57-1      Filed 03/07/25
                                                                      02/21/25      Page 27 of 113




     Several recent studies of SOGI change efforts
     reflect major methodological improvements over              No research indicates that gender identity
     past work, such as larger sample sizes (e.g.,               change efforts are effective in altering
     1,5188; 27,715107; 25,7919), a probability                  gender identity. Research indicates that
     sample,8 and controlling for other factors that             these efforts can cause significant harm,
     may also cause harm (e.g., other adverse                    including suicide attempts and other
                                                                 negative behavioral health outcomes. No
     childhood experiences [ACEs]).8 The majority of
                                                                 available research supports the claim that
     these studies were conducted with adults. One
                                                                 gender identity change efforts are
     study included adolescents and young adults
                                                                 beneficial to children, adolescents, or
     (ages 13-24),9 and one study was limited to
                                                                 families.
     emerging adults ages 21-25 and asked about
     experiences of SOGI change efforts during
     adolescence.10                                          orientation change efforts to children,
                                                             adolescents, or their families. Other scholars
        Research indicates that sexual orientation           and international organizations have
        change efforts are not effective in altering         independently conducted reviews of the sexual
        sexual orientation. Research indicates that          orientation change efforts literature, reaching the
        these efforts can cause significant harm,            same conclusions.7,12,13 It is now scientific
        including suicide attempts and other                 consensus that sexual orientation change efforts
        negative behavioral health outcomes. No              are not effective and can cause significant harm.
        available research supports the claim that
        sexual orientation change efforts are                SOGI change efforts have been used in an
        beneficial to children, adolescents, or              attempt to force children s behaviors, dress, and
        families.                                            mannerisms to become more consistent with
                                                             those stereotyp ically expected of their assigned
                                                             sex at birth that is, more stereotypically
     Syntheses of research on sexual orientation
                                                             masculine expression for those assigned male
     change efforts have concluded that there is no
                                                             at birth and more stereotypically feminine
     evidence to support their effectiveness in
                                                             expression for those assigned female at birth.
     altering sexual orientation or sexual attractions.
                                                             Historically, SOGI change efforts were the
     A systematic review of peer-reviewed research
                                                             primary clinical approaches used with gender-
     on sexual orientation change efforts published
                                                             diverse children, including those experiencing
     from 1960 to 2007 concluded that they were not
                                                             gender dysphoria.39,50,90
     effective and may cause harm.24
                                                             No research has demonstrated that gender
     Recent studies of sexual orientation change
                                                             identity change efforts are effective in altering
     efforts corroborate those findings and provide
     stronger evidence of certain harms. Recent
     large, methodologically rigorous studies                    Despite evidence of harm, diverse
     consistently find that exposure to sexual                   populations across the United States,
     orientation change efforts places individuals at            including children and adolescents,
     increased risk of suicidality and suicide                   continue to be exposed to SOGI change
     attempts, as well as other negative outcomes                efforts from a variety of licensed and
     including depression.8,9,10,11 No studies have              unlicensed practitioners.
     found evidence of any benefit of sexual


26
       Case 1:25-cv-00240-ACR          Document 72-4
                                                57-1      Filed 03/07/25
                                                                02/21/25        Page 28 of 113




gender identity; there is also no evidence of any      literature connecting minority stress,
benefits of such practices to children,                family/community rejection, and a lack of
adolescents, or their families. Recent large,          acceptance to negative health outcomes among
methodologically sound studies have                    youth of diverse sexual orientation and/or
investigated harms associated with gender              gender identity.102,110,111
identity change efforts.9,107,108 These studies
                                                       Despite scientific consensus regarding the harms
indicate that exposure to gender identity change
                                                       of SOGI change efforts and no evidence to
efforts in childhood, adolescence, and/or
                                                       support claims of its effectiveness or benefits,
adulthood is associated with harm, including
                                                       these efforts continue to be practiced across the
suicidality, suicide attempt, and other negative
                                                       United States by diverse health professionals and
mental health outcomes such as severe
                                                       unlicensed community members.8,9,106 It is
psychological distress.
                                                       estimated that anywhere from 3.5 to 18 percent of
Research that asked transgender participants           adults of diverse sexual orientation and/or gender
about prior exposure to sexual orientation             identity have been exposed to SOGI change
change efforts also reported that these efforts        efforts; the single national probability sample
were associated with negative mental health            reported a prevalence of 7 percent.8 Its frequency
outcomes including suicidal ideation and               of use among transgender and nonbinary
attempts.10,11 Although this report focuses            populations is higher than that observed in
primarily on studies in the United States, a           cisgender LGB populations,96,103,106,107 including in
recent study in New Zealand corroborates               studies with adolescents and young adults.9,10
findings of lasting harm associated with gender
                                                       Though earlier reviews reported that most of the
identity change efforts.109 The findings of harm
                                                       individuals who experienced sexual orientation
associated with SOGI change efforts practices
                                                       change efforts were white men of higher
that exemplify anti-LGBTQI+ stigma and
                                                       socioeconomic status,24 recent studies that rely
rejection are bolstered by the extensive
                                                       on large national samples suggest greater
                                                       diversity, indicating that women, people of color,
                                                       and people from lower income levels are also
                                                       affected by SOGI change efforts in the United
                                                       States.8,9,96,107

                                                       Studies with individuals from religious traditions
                                                       in which sexual orientation diversity and gender
                                                       diversity are seen as contrary to faith teachings
                                                       have often reported a greater prevalence of
                                                       SOGI change efforts than studies that include
                                                       individuals regardless of religious
                                                       affiliation.24,92,100,112 Based on these findings, it is
                                                       likely that exposure to SOGI change efforts is
                                                       greater among individuals from some religious
                                                       backgrounds than those from more secular
                                                       backgrounds.24,91,100,112 However, current




                                                                                                                  27
            Case 1:25-cv-00240-ACR           Document 72-4
                                                      57-1     Filed 03/07/25
                                                                     02/21/25      Page 29 of 113




                                                             efforts to reduce the harm caused by these
         Relative to young people who had not                practices would be most effective with a broad
         experienced SOGI change efforts, those              focus to include all forms of SOGI change
         who reported undergoing these efforts               efforts, as well as to reduce the stigma against
         were more than twice as likely to report            LGBTQI+ people that drives their continued
         having attempted suicide and having                 practice.
         multiple suicide attempts.9
                                                             Methodological Considerations When
     research does not provide for estimates of
                                                             Studying SOGI Change Efforts
     prevalence.91                                           Prospective, experimental research studies such
                                                             as randomized controlled trials (RCTs) are
     Of note, research indicates that younger
                                                             considered a rigorous methodology for
     generations may be at similar risk of exposure to
                                                             evaluating efficacy because these methods
     SOGI change efforts as generations of youth
                                                             minimize selection bias and permit accurate
     before them.8,103 As of 2018, adolescents and
                                                             estimates of causal effects. However, RCTs are
     young adults from all regions of the United
                                                             not always an appropriate or ethical research
     States reported exposure to these efforts.9 A
                                                             design.113 This is particularly true when multiple
     study of young adults of diverse sexual
                                                             research studies indicate that a treatment or
     orientation and/or gender identity from
                                                             intervention is known to carry the risk to cause
     community settings in the San Francisco area
                                                             harm.114
     found that more than half had experienced SOGI
     change efforts from parents and caregivers,             To date, there have been no experimental
     while just more than one-fifth had also                 research studies of SOGI change efforts with
     experienced these efforts from an external              children or adolescents, nor would they be
     source such as a religious leader or a behavioral       ethical to conduct. This is because there is
     health provider.10                                      sufficient evidence of harm associated with
                                                             SOGI change efforts to conclude that they
         Younger generations continue to be                  should not be provided to children and
         exposed to SOGI change efforts. Studies             adolescents, and because previous studies have
         published recently show that adolescents            found no benefits. Coupled with the fact that
         and young adults across all regions of              professional consensus has established that
         the United States continue to be                    diversity in sexual orientation and gender
         exposed.8,9,105
                                                             identity are normal variations for which treatment
                                                             is unwarranted, an RCT is even more
                                                             inappropriate to conduct. These ethical concerns
     Additionally, current research finds that SOGI
                                                             are amplified in research with youth.
     change efforts result in negative consequences
                                                             Government regulations concerning research
     regardless of who attempts to effectuate the
                                                             with children set strict limits and conditions on
     change. These change efforts are harmful
                                                             studies that could inappropriate to conduct.
     whether undertaken by parents and caregivers,
                                                             These ethical concerns are amplified in research
     behavioral health providers, or other community
                                                             with youth. Government regulations concerning
     members.10,107 These findings indicate that
                                                             research with children set strict limits and




28
       Case 1:25-cv-00240-ACR             Document 72-4
                                                   57-1     Filed 03/07/25
                                                                  02/21/25       Page 30 of 113




conditions on studies that could pose harm to
children and adolescents.115                                  Current research on SOGI change efforts
                                                              uses methodologies appropriate for the
There are valid ways to assess harm from SOGI                 study of harm. Consistent findings across
change efforts without conducting an RCT or                   studies provide solid evidence that SOGI
other rigorous quasi-experimental design (e.g., a             change efforts are harmful to the health of
nonrandomized design). Harm associated with                   sexual and gender minority people,
an event or treatment can be evaluated through                including children and adolescents.
retrospective                   studies that
examine the impact of those events and
                                                          are naturally occurring groups that share a
treatments by comparing outcomes for those
                                                          common or similar social environment.
who experienced them against people like them
who did not. Mechanisms such as case studies,             Nonetheless, the public can have increased
patient registries, and self-report surveys are           confidence in the research findings when many
also valid means to detect and report harms of a          studies using a variety of research designs,
treatment.114                                             conducted by independent research teams,
                                                          consistently conclude that a              is
Most of the research using high-quality
                                                          associated with harm. This is the case with
methodologies published since 2014 on sexual
                                                          research on SOGI change efforts. Indeed, a
orientation or gender identity change efforts has
                                                          strength of the existing research on these
been retrospective and employed cross-
                                                          change efforts is the consistent finding that
sectional designs, with adults asked to report
                                                          SOGI change efforts are associated with harms.
their past experiences with change efforts at one
                                                          This has been found across studies conducted
point in time. This study design is appropriate for
                                                          by independent research teams using different
gathering evidence of harm. However, there are
                                                          methods and sampling strategies.
limitations to these study designs. Although they
can identify harms, they cannot determine with            Despite methodological concerns that exist
certainty whether those harms are solely                  within specific studies, when taken together, the
attributable to the SOGI change efforts. For              evidence is strong that SOGI change efforts are
example, research that relies on retrospective            harmful to the health of people of diverse sexual
self-reports must address limits or differences in        orientation and/or gender identity, including
the accuracy of recollection of past events or            children and adolescents. In recent decades,
experiences.                                              scholars and ethicists have proposed criteria for
                                                          identifying potentially harmful behavioral health
Sampling design that is, how a research study
                                                          treatments when limited data exist. Potentially
recruits participants can also limit the
                                                          harmful treatments are defined as those that:
generalizability of the findings (i.e., the degree to
which the results of a study can be applied to a                 Cause psychological or physical harm to
broader group of people or situations). Much,                    the client or others
though not all, of the research on SOGI change                   Result in harmful effects that are long-
efforts uses what is called a                                    lasting
sampling            meaning it is unknown how                    Have had independent research teams
representative the research participants are of                  find and replicate the harmful effects116
all who have undergone these efforts. There is
also natural bias in such samples because these


                                                                                                              29
            Case 1:25-cv-00240-ACR            Document 72-4
                                                       57-1     Filed 03/07/25
                                                                      02/21/25      Page 31 of 113




     This is the case with SOGI change efforts.
     Ineffective treatments those that may not                   Given the lack of evidence of efficacy and
                                                                 the potential risk of serious harm, every
     directly cause further harm but do not improve
                                                                 major medical, psychiatric, psychological,
     the health or well-being of the individual
                                                                 and professional mental health
     receiving treatment may also be considered
                                                                 organization has taken measures to end
     harmful in so far that they deprive an individual           sexual orientation change efforts and
     of needed care.117,118                                      gender identity change efforts.
     Three sets of criteria have been proposed to
     identify potentially harmful treatments for
     children:
                                                              Consensus of Professional
                                                              Organizations
        1. Criteria drawn from ACEs, revised to               Associations that have taken measures to end
           include experiences with therapists                sexual orientation change efforts and/or gender
        2. Criteria drawn from studies of                     identity change efforts include, among others:
           maltreatment and neglect
        3. Criteria based on the plausibility of an                  Medical associations, such as the
           intervention and its (in)congruence with                  American Academy of Child and
           what is known about child                                 Adolescent Psychiatry, American
           development.119                                           Academy of Family Physicians,
     SOGI change efforts with children and                           American Academy of Pediatrics,
     adolescents meet all three criteria for identifying             American College of Physicians,
     potentially harmful treatments for children.                    American Medical Association, American
                                                                     Psychiatric Association, and the Society
                                                                     for Adolescent Health and Medicine
                                                                     Psychological associations, such as
                                                                     the American Psychoanalytic
                                                                     Association, American Psychological
                                                                     Association, and National Association of
                                                                     School Psychologists
                                                                     Counselor associations, such as the
                                                                     American School Counselor Association
                                                                     and American Counseling Association
                                                                     Social worker associations, such as
                                                                     the National Association of Social
                                                                     Workers
                                                                     International health organizations,
                                                                     such as the Pan American Health
                                                                     Organization (of the World Health
                                                                     Organization), World Professional
                                                                     Association for Transgender Health, and
                                                                     World Psychiatric Association



30
       Case 1:25-cv-00240-ACR           Document 72-4
                                                 57-1     Filed 03/07/25
                                                                02/21/25     Page 32 of 113




Conclusion                                                     effectiveness of gender identity change
                                                               efforts.
There is sufficient evidence to conclude that
                                                               There is a growing body of evidence that
SOGI change efforts are inappropriate, harmful
                                                               exposure to SOGI change efforts can
practices based on the knowledge that:
                                                               cause significant, lasting harm.
       These efforts are founded on a view of
                                                        Other supportive behavioral health approaches
       sexual and gender diversity that runs
                                                        are recommended for individual or family distress
       counter to scientific consensus.
                                                        associated with sexual orientation and gender
       Research demonstrates that sexual                identity, as discussed in Beneficial Therapeutic
       orientation change efforts are ineffective,      Approaches and Interventions in LGBTQI+ Youth
       and no research demonstrates the                 and Their Families in Section 2.




                                                                                                            31
Case 1:25-cv-00240-ACR   Document 72-4
                                  57-1   Filed 03/07/25
                                               02/21/25   Page 33 of 113
       Case 1:25-cv-00240-ACR            Document 72-4
                                                  57-1     Filed 03/07/25
                                                                 02/21/25       Page 34 of 113




Section 2. Development, Behavioral Health, and Beneficial
Therapeutic Approaches With Youth of Diverse Sexual Orientation
and/or Gender Identity: A Research Overview
Sexual Orientation
                                                             Sexual orientation and gender are distinct
Sexual orientation consists of sexual identity,              yet related.
sexual and romantic attraction, and sexual
behavior. Great shifts in the understanding of               Everyone has a sexual orientation,
                                                             including identity, attraction, and behavior,
sexual orientation have occurred over the past
                                                             and a gender, including identity and
century.120 Though a diverse sexual orientation
                                                             expression. Individuals can belong to both
was once considered abnormal or a medical
                                                             a sexual minority population (i.e., lesbian,
problem, scientists now understand that                      bisexual, gay, and other non-heterosexual
sexuality occurs on a continuum and that                     orientations) and a gender minority
variations in sexual orientation are part of the             population (i.e., transgender, nonbinary,
normal and healthy range of human                            and other diverse genders). Importantly,
sexuality.16,17,23,24,121                                    gender does not determine a
                                                             sexual orientation. Gender-diverse
Although some people experience changes in                   populations include individuals with many
sexual awareness, attractions, behaviors, and                different sexual orientations, including
identities over time, this does not mean that                those who identify as straight/heterosexual
sexual orientation can be willfully changed                  and those who identify with a sexual
through their own or          efforts, such as               minority identity.
through sexual orientation and gender identity
                                                             Though they are distinct, gender and
(SOGI; pronounced "SO-gee") change efforts.23                sexual orientation are related. Many
                                                             adolescents and young adults who are
Today, many terms are used to describe sexual
                                                             gender diverse also identify with a sexual
orientation. In addition to terms such as lesbian,
                                                             minority identity.
gay, bisexual, and straight, many young people
use a wider range of descriptive identity labels
for their sexual orientation such as pansexual,          sexual minority is increasing, and most of this
asexual, queer, and questioning, among                   increase is occurring among women, people of
others.122,123,124 Research with large, national         color, and younger generations.31 Nearly 5
samples of adolescents has found that                    percent of adults in the United States identify as
approximately one-quarter of adolescents of              lesbian, gay, or bisexual; this represents an
diverse sexual orientation and/or gender identity        increase of nearly 60 percent of individuals who
use newer descriptive labels for their sexual            were comfortable self-identifying as LGB than on
orientation and/or gender identity.124,125 Use of a      surveys conducted 8 years earlier. Among U.S.
wider range of descriptive sexual orientation            high school students, nearly 15 percent identify
labels appears to be more common among                   as lesbian, gay, or bisexual or are unsure of
gender-diverse adolescents than among                    their sexual orientation; this is nearly double the
cisgender adolescents.123                                number of students who were comfortable self-
                                                         identifying as non-heterosexual in surveys
The number of people in the United States who
feel safe or comfortable to self-identify as a


                                                                                                               33
            Case 1:25-cv-00240-ACR             Document 72-4
                                                        57-1      Filed 03/07/25
                                                                        02/21/25      Page 35 of 113




     conducted 8 years prior.59 The true size of
     sexual minority populations is likely higher than             How many people in the United States are
     reported in these surveys. Stigmatizing societal              sexual and gender minorities?
     attitudes and concerns about confidentiality may              An estimated 11.4 to 12.2 million adults
     limit accurate reporting of sexual orientation                identify as LGBTQ+ in the United States, a
     identity and behavior.126 Additionally, many                  number roughly equivalent to the
     surveys ask about only a limited number of                    population of Ohio.
     sexual orientation options (e.g., lesbian, gay,
                                                                   An estimated 1.99 million adolescents ages
     bisexual, or heterosexual), which may miss
                                                                   13 to 17 identify as LGBT in the United
     individuals who use other terms (e.g.,                        States, which is roughly equivalent to the
     pansexual, asexual, or queer).122,124 The                     combined populations of Dallas, Texas,
     increase in openly identifying as a sexual                    and Detroit, Michigan.31,127,128
     minority does not suggest that people are more
     likely to have the innate characteristics of being
                                                               diverse identity, first sexual minority relationship)
     a sexual minority, but rather that individuals are
                                                               at similar ages in adolescence.129 In addition, it
     increasingly able to publicly identify as LGBTQI+
                                                               is becoming increasingly common for children to
     because of increasing awareness and
                                                               identify as lesbian, gay, or bisexual in
     acceptance of diverse sexual orientations; the
                                                               childhood.18            earlier public self-
     expansion of laws, policies, and practices that
                                                               identification as having a minority sexual
     protect and support individuals regardless of
                                                               orientation is likely due to reduced stigma
     sexual orientation; and an increased willingness
                                                               related to sexual orientation diversity. As more
     and ability among LGBTQI+ people to self-
                                                               youth self-identify as sexual minorities, scholars
     identify due to decreased stigmatization and
                                                               have called for supporting the emotional and
     greater access to civil rights.31
                                                               mental health needs that children express
     Sexual Orientation Development in Youth                   related to their sexual orientation.136

     Sexual orientation is usually conceptualized to           Sexual identity development is influenced by
     begin at or near adolescence with the                     cultural factors that may differ across racial and
     development of sexual feelings.24 The average             ethnic groups. However, most research on
     age at which sexual minority individuals reach            sexual orientation identity development has
     important sexual orientation identity                     included primarily white youth without examining
     development milestones, such as becoming                  differences related to race and ethnicity or
     aware of same-sex attractions and coming out to           cultural background.124 As such, our cultural and
     others, commonly occurs during                            scientific understandings of common
     adolescence.129,130 Various factors affect the            experiences and developmental trajectories of
     trajectory of development related to sexual               sexual minority populations may better reflect
     orientation, and there is no single or simple             the experiences of white sexual minority groups
     trajectory experienced by all                             and be less relevant to the experiences of
     individuals.131,132,133,134,135 Recent generations of     sexual minority people of color.137 Limited
     sexual minority individuals tend to reach                 research has examined the dual or multiple
     milestones related to sexual orientation identity         identity development processes among sexual
     development and coming out (e.g., first                   minority youth of color.138 Development related
     becoming aware of their attractions, disclosing           to racial/ethnic identity and sexual identity may
     or sharing          sexual orientation- or gender-        occur concurrently among adolescents, though


34
       Case 1:25-cv-00240-ACR           Document 72-4
                                                 57-1     Filed 03/07/25
                                                                02/21/25      Page 36 of 113




involve different processes.139 A variety of            Sexual identity development includes processes
studies have identified cultural constructs and         of identity formation (i.e., becoming aware of
culturally specific expectations that have been         sexual attractions, exploring sexual feelings) and
identified as influencing sexual identity               identity integration (i.e., integrating sexual
development among youth of color include                identity within the larger view of self).144 For
familism (i.e., family needs take precedence            sexual minority adolescents, difficulty with the
over individual needs) and specific cultural            identity development process, such as difficulty
understandings and expectations of masculinity          accepting         sexual orientation and
among Black and Latino adolescent boys in               dissonance between              self-image and
particular.138,140,141,142,143                          cultural, religious, and societal beliefs about
                                                        sexual minorities, can increase negative views
Significant physical, cognitive, and social
                                                        of        own and             sexual minority
development occurs during adolescence. Sexual
                                                        identities and lead to adopting negative societal
minority adolescents face the same
                                                        attitudes and beliefs about being a sexual
developmental tasks that accompany
                                                        minority.146
adolescence for all youth, including sexual
identity development. However, sexual minority          Sexual orientation conflict has been linked to
adolescents must also navigate an environment           negative psychosocial outcomes in adolescents
lacking awareness and acceptance of socially            and young adults.145 Furthermore, a negative
marginalized sexual identities, potentially without     self-image as a sexual minority youth
family, community, or societal support.144,145          contributes to the relationship between
                                                        sexuality-specific stressors (e.g., family


                                                                                                             35
            Case 1:25-cv-00240-ACR            Document 72-4
                                                       57-1      Filed 03/07/25
                                                                       02/21/25       Page 37 of 113




                                                              Important areas of focus for behavioral health
         When discussing the concept of gender,               providers who work with adolescents include
         scientists distinguish among a person s              helping them address negative views about
         sex assigned at birth, gender identity, and
                                                              aspects of their identity and supporting positive
         gender expression.24,25,125
                                                              identity development. For behavioral health
             Sex assigned at birth is typically               providers who work with sexual minority
             based on the appearance of external              adolescents, this includes reducing the
             genital anatomy; male, female, or                negative views of their own sexual orientation
             intersex are possible ways to                    identity and supporting positive identity
             identify sex.                                    development. This encompasses the integration
                                                              of sexual orientation identity into the
                                                                            larger sense of self, alongside
             deep internal sense of being female,
                                                              intersecting identities (e.g., cultural, racial/ethnic,
             male, a combination of both,
                                                              and other identities).
             somewhere in between, or neither.
             Gender expression refers to the                  Gender
             external way a person
                                                              Transgender is a term that refers to individuals
             communicates their gender, such as               whose gender identities are incongruent with
             with clothing, hair, mannerisms,                 their sex assigned at birth.75 The term gender
                                                              diverse is a broader term that includes
             gender expression may or may not                 transgender individuals, as well as others whose
             be consistent with culturally                    gender behaviors, appearances, or identities are
             prescribed gender roles or their sex             incongruent with those culturally expected based
             assigned at birth and may or may                 on sex assigned at birth.75
             not reflect their gender identity.
                                                              Significant advances have occurred over time in
                                                              the scientific understanding of gender. It is now
                                                              understood that gender diversity identifying
     rejection, victimization) and poorer mental health
                                                              with a gender that does not align with sex
     outcomes.145,146
                                                              assigned at birth, and/or having a gender
     Positive identity development, however, is               expression that varies from that which is
     associated with better mental health among               culturally expected for           gender or sex
     sexual minority adolescents.144,147 For example,         assigned at birth is part of the normal and
     one study found that for sexual minority college         healthy spectrum of human diversity, is not
     students, those who reported strong religious            pathological, and does not require clinical
     beliefs also reported lower psychological                attention on its own.19,22,25,149
     distress, but only among those students who
                                                              Gender diversity was depathologized with
     had high levels of self-acceptance of their sexual
                                                              changes made to the 5th revision of the
     orientation.148 Strong religious beliefs on their
                                                              Diagnostic and Statistical Manual of Mental
     own were not protective in terms of
                                                              Disorders (DSM-5) and the 11th revision of the
     psychological distress for students who reported
                                                              International Classification of Diseases (ICD-
     lower levels of self-acceptance of their sexual
                                                              11).150,151 These changes make it clear that
     orientation.
                                                              gender diversity is not a disorder. Instead,



36
       Case 1:25-cv-00240-ACR             Document 72-4
                                                   57-1     Filed 03/07/25
                                                                  02/21/25      Page 38 of 113




current guidelines focus on treating and                  Scientists now recognize that many gender
supporting individuals who may experience                 identities and gender expressions exist, and
feelings of distress (i.e., gender dysphoria) or          have always existed in a wide range of cultures
incongruence between their gender identity and            across history.156,161,162,163
body or sex assigned at birth, as well as any
                                                          Terms such as nonbinary, gender queer, gender
distress associated with stigma and
                                                          fluid, agender, bi-gender, and others are used
discrimination.25 Note that throughout this report,
                                                          by many individuals to express their gender
                      (not capitalized) refers to the
                                                          identity.161,163
general concept of distress associated with
incongruence between            gender identity and       Identifying with more than one identity is also
body or sex assigned at birth, while        nder          common.164 There are also many culturally
             (capitalized) refers to the DSM              specific terms that have long been used for third
diagnosis.                                                gender or nonbinary identities and gender roles,
                                                          including two-spirit among some Indigenous
Access to gender affirmation can alleviate or
                                                          North American cultures,                in Samoan
improve distress due to feelings of gender
                                                          culture, and            in Native Hawaiian
incongruence. Gender affirmation refers to
                                                          culture.164,165,166,167
processes by which an individual is recognized
and affirmed in the gender with which they
identify.                                                     What about intersex youth?

Gender affirmation can include psychological,                 Intersex is an umbrella term used to
social, medical, and legal aspects. Access to                 describe people born with differences in
gender affirmation can reduce gender dysphoria                sex characteristics, such as reproductive
and improve mental and physical health                        anatomy, chromosomes, or hormones
outcomes among transgender and gender-                        that do not fit typical definitions of male
                                                              and female. Intersex people can have
diverse people and is protective against the
                                                              many different gender identities.
negative effects of gender-related stigma and
discrimination.152,153 There is substantial                   Individuals with intersex traits may
evidence of the behavioral health benefits of                 identify as male, female, nonbinary, or a
access to gender affirmation for transgender and              different gender. Intersex individuals may
gender-diverse children, adolescents, and                     consider themselves transgender if they
                                                              do not identify with their sex assigned at
adults.51,52,53,80,81,154,155
                                                              birth.
The belief that people can only belong to one                 Like other LGBTQI+ youth, intersex youth
gender category male or female has been                       experience pervasive stigma and
prevalent in many contemporary Western                        discrimination. The Federal Government
societies. However, over the past several                     has taken steps to reduce disparities
decades there has been a growing scientific                   facing people who are intersex, such as
understanding that sex and gender are more                    issuing a Request for Information on
complex. Some people are born with sex                        Promising Practices for Advancing
characteristics that fall outside of male and                 Health Equity for Intersex Individuals in
female categories, and gender identity occurs on              February 2023.46
a spectrum.156,157,158,159,160



                                                                                                              37
            Case 1:25-cv-00240-ACR            Document 72-4
                                                       57-1      Filed 03/07/25
                                                                       02/21/25       Page 39 of 113




     Identifying as nonbinary appears to be more              consistently include gender-diverse individuals
     common among younger generations.164 This                who do not identify with the term
     may be related to greater visibility and social          transgender.169,170 Recent population-based
     acceptance of gender diversity.122 One study             research with adults of diverse sexual
     with a large national sample found that nearly           orientation and/or gender identity has found that
     one-quarter of adolescents of diverse sexual             1.2 million adults in the United States identify as
     orientation and/or gender identity self-identified       nonbinary, including people who both do and do
     as nonbinary.124 Of note, some people who                not consider themselves transgender.157
     describe themselves as nonbinary or another
                                                              Research with high school students has found
     gender consider themselves transgender, while
                                                              that between 1.1 and 9.2 percent identify as
     others do not.157
                                                              transgender, nonbinary, or another gender
                                                              identity that differed from their sex assigned at
                                                              birth.122,170,171,172 Studies that specifically asked
                                                              about identifying as nonbinary and other gender
                                                              identities in addition to identifying as
                                                              transgender reported larger proportions of
                                                              transgender and gender-diverse youth,
                                                              emphasizing the importance of asking about
                                                              nonbinary and other diverse gender
                                                              identities.168,170,173

     In this report,             and gender                   Gender Development in Youth
     is used as a broad term that refers to people            Gender-related development begins in early
     whose gender identity and/or gender expression           childhood and progresses through
     are incongruent with their sex assigned at birth,        adolescence.21 Processes of gender-related
     including binary transgender people, nonbinary           identity development among transgender and
     people, and cisgender people with a diverse              other gender-diverse populations are varied,
     gender expression.                                       non-linear, and not necessarily anchored to
                                                              specific ages or developmental periods.37,38 For
     Estimates of the size of the transgender and
                                                              some individuals, gender identity appears stable
     gender-diverse population in the United States
                                                              across development, while others experience
     vary. It is only in recent years that some
                                                              changes in their gender identity over time.
     national, population-based surveys have started
     to include questions to assess gender identity,          Youth who start to think of themselves as
     and the practice remains far from widespread. It         transgender or gender diverse may share this
     is estimated that between 0.1 and 2.0 percent of         identity with others, and take steps in social
     adults in the United States identify as                  transition across a wide range of ages.29,30,176,177
     transgender.124,168 These figures likely                 There is no single developmental trajectory for
     underestimate the size of the transgender and            transgender and gender-diverse youth that is,
     gender-diverse populations, because much of              there is healthy and normal variation in the age
     this research has not used current best practices        that youth recognize themselves as gender
     for asking separately about current gender               diverse.25
     identity and sex assigned at birth and did not



38
        Case 1:25-cv-00240-ACR             Document 72-4
                                                    57-1      Filed 03/07/25
                                                                    02/21/25      Page 40 of 113




Individuals who exhibit gender diversity in
                                                              Younger generations understand,
childhood include those who:
                                                              experience, and communicate their
        Consistently identify with a gender that              gender-related experiences in different
        differs from their sex assigned at birth              ways than previous generations. These
                                                              understandings of gender include an
        Identify with the gender that aligns with
                                                              increased recognition of the complexity of
        their sex assigned at birth and have a                gender, sexuality, and identity and fewer
        diverse gender expression                             stereotypes or expectations of what it
        Are exploring their gender identity and/or            means to be a certain gender.156,174,175
        gender expression178,179
While earlier research from clinics specializing in        Children who identify as transgender early in
childhood gender identity suggested that many              their development are increasingly supported
individuals who exhibited gender diversity in              and affirmed in their identities by many families
childhood did not later identify as transgender in         at young ages. Research with transgender youth
adolescence, significant methodological                    who have socially transitioned that is, who
weaknesses preclude use of these findings to               present as their gender identity in everyday
identify trajectories of gender identity                   life provides evidence that early in childhood,
development and their associated                           gender-related development is similar among
frequencies.179 However, more recent research              transgender and cisgender children with the
and clinical expertise suggests that children who          same gender identity, regardless of sex
consistently identify with a gender different from         assigned at birth.187,188,189 These similar areas of
their sex assigned at birth typically express a            gender-related development between
similar clarity in adolescence.50,77,149,178,180,181       transgender and cisgender children include
Research also indicates that children whose                consistency and strength of identification with
gender expression differs from social norms, but           their gender and expression of gender
who do not identify as transgender or nonbinary,           preferences, stereotypes, behaviors, and
are more likely to have a diverse sexual                   beliefs.40
orientation in adulthood.24,182,183
                                                           Other youth identify as transgender or gender
A significant body of research demonstrates that           diverse for the first time in
affirming a child s current gender identity and            adolescence.35,176,190,191,192 Puberty can be a
gender expression, as well as supporting their             pivotal time when youth become more aware of
process of understanding more about their                  their gender and experience physical changes
identity, is beneficial for all children. The benefits     that can trigger or exacerbate dysphoria.193
of providing affirming mental health care include          Some individuals who initially identify as
reducing the risk of suicide in transgender and            transgender or gender diverse in adolescence
gender-diverse youth. Given the significant                do not have a history of gender diversity or
mental health risks that gender minority youth             gender       -               behaviors or
                                                                                        177
face when affirming mental health care is not              preferences in childhood. This can make
available, affirming mental health care is                 disclosure of a gender identity that differs from
appropriate and necessary even for youth who               sex assigned at birth in adolescence surprising
may later identify differently in                          to parents, guardians, and others.
adulthood.78,178,184,185,186



                                                                                                                  39
             Case 1:25-cv-00240-ACR             Document 72-4
                                                         57-1     Filed 03/07/25
                                                                        02/21/25      Page 41 of 113




                                                                pride, and valuing self are factors that promote
                                                                resilience among transgender and gender-
                                                                diverse adolescents.145,194,195,196 However,
                                                                transgender and gender-diverse adolescents may
                                                                experience identity conflict when reconciling a
                                                                gender identity that may diverge from the
                                                                expectations of their family, peers, and
                                                                community. This can be particularly pertinent for
                                                                transgender and gender-diverse adolescents of
                                                                color, who often experience multiple forms of
                                                                discrimination (e.g., racial discrimination when
                                                                seeking out supportive services, or anti-
                                                                transgender stigma in one s racial/ethnic or
                                                                cultural community) and may perceive
                                                                incompatibility between their gender identity and
                                                                racial/ethnic identities.140,198

                                                                Conversely, racial/ethnic identity development
                                                                processes may beneficially impact how youth
                                                                navigate gender identity development, such as
                                                                experience coping with adversity and developing
                                                                a sense of pride in one s identity.195 While self-
                                                                acceptance and identity pride are associated
                                                                with well-being, adopting negative societal
                                                                attitudes and beliefs about being transgender or
                                                                gender diverse and having a negative gender-
     Some adolescents who identify as transgender or
                                                                related self-concept have been connected to
     gender diverse report that they felt different at a
                                                                mental health challenges and greater substance
     young age but expressed or engaged in
                                                                use among transgender and gender-diverse
     behaviors that were stereotypical for their sex
                                                                adolescents.199,200
     assigned at birth earlier in life, while others do not
     feel differently about their gender until
     adolescence.35,176 Given the advances in                       Minority stressors experienced due to anti-
     scientific understanding of the normal and healthy             LGBTQ+ stigma include major life events,
     diversity of gender identities, understanding the              such as assault because of one s sexual
     current experiences of youth whose gender                      orientation, gender identity, or gender
     incongruence presents in adolescence is an                     expression, as well as everyday forms of
     important area of study. No singular narrative can             discrimination and non-affirmation, such
     describe the totality of transgender and gender-               as receiving poor services, being assumed
     diverse youth experiences.                                     to be straight, or being misgendered.
                                                                    Minority stress is also caused by policies
     Identity development is among the key tasks of                 that limit the opportunities, resources, and
     adolescence for all adolescents, including those               well-being of LGBTQI+ populations.111,197
     who are transgender and gender diverse. Self-
     acceptance of one s gender identity, identity


40
       Case 1:25-cv-00240-ACR           Document 72-4
                                                 57-1     Filed 03/07/25
                                                                02/21/25      Page 42 of 113




Important areas of focus for behavioral health          areas who have access to specialized pediatric
providers who work with adolescents includes            gender clinics. In recent years, more research
helping them address negative views about               has been conducted with nonclinical populations
aspects of their identity and supporting positive       of children.36 Given the tremendous variation in
identity development. Therefore, important areas        attitudes and expectations related to gender by
of focus for behavioral health providers who            cultural group and family background, more
work with transgender and gender-diverse                research is needed with racially and ethnically
adolescents are reducing negative views of their        diverse children and families, lower income
own gender identity and supporting positive             families, and families from different cultural and
identity development.198,199,200 As with                religious backgrounds to better understand the
adolescents of diverse sexual orientations, this        experiences and needs of diverse gender
includes integration of gender identity and             minority children and adolescents and to ensure
gender self-concept into their larger sense of          access to evidence-based care.
self, alongside cultural, racial/ethnic, and other
identities.                                             Health and Well-Being of LGBTQI+
                                                        Youth
Research on how gender identity development
                                                        In the United States and worldwide, sexual- and
varies by gender, race and ethnicity, and other
                                                        gender-diverse populations experience
cultural, social, and environmental factors
                                                        inequities in many behavioral health
remains in its early stages. Some studies have
                                                        outcomes.206,207 This report uses the phrase
identified potential differences in developmental
                                                                             as opposed to
trajectory by gender.35 Many studies have
                                                                     to refer to unnecessary and
disproportionately low representation of
                                                        avoidable health differences.208 These health
transgender girls and other gender-diverse
                                                        inequities are not caused by        sexual
youth assigned male at birth, suggesting that
                                                        orientation, gender identity, or gender
transgender girls and women are coming out at
                                                        expression, but rather by anti-LGBTQI+ stigma
later ages.201,202,203
                                                        that is embedded in proposed and enacted laws,
One study investigating age upon accessing              policies, and societal attitudes.
gender-affirming medical care found that it was
influenced by contextual factors, such as family
religion, having a helpful caregiver, as well as
developmental milestones reached upon
recognition of gender incongruence and age at
coming out or disclosing gender identity.204
Another study of young transgender women
found differences by racial/ethnic group,
suggesting that youth of color may achieve
some social milestones (e.g., disclosure of
gender identity) at younger ages than white
youth.205

Most research with transgender and gender-
diverse youth has been conducted with mostly
white, higher income families living in urban


                                                                                                             41
            Case 1:25-cv-00240-ACR           Document 72-4
                                                      57-1      Filed 03/07/25
                                                                      02/21/25      Page 43 of 113




     The Minority Stress Model provides an                   diverse with respect to other identities, including
     empirically validated conceptual model for              age, race, ethnicity, immigration status,
     understanding how stress due to anti-LGBTQI+            language, national origin, religion, spirituality,
     stigma, coupled with general life stressors, puts       ability, and socioeconomic status. Individuals
     individuals of diverse sexual orientation and/or        with multiple minority identities experience
     gender identity at increased risk for negative          unique stigma and stressors, as well as unique
     behavioral health outcomes.111,209,210 These            opportunities for resilience.196,217,218,219
     external experiences of minority stress cause
                                                             To support individual LGBTQI+ youth in
     cognitive, affective, and behavioral reactions,
                                                             achieving their optimal health and well-being,
     such as internalized stigma, identity
                                                             and to take action to address health inequities
     concealment, and social isolation, all of which
                                                             among LGBTQI+ populations, behavioral and
     are associated with poorer mental
                                                             other healthcare providers, families, school
     health.153,209,211,212,213
                                                             administrators, boards, and educators,
     Despite the impact of anti-LGBTQI+ stigma,              community leaders, and policymakers must
     which individuals can experience in tandem with         understand the health concerns that may affect
     other forms of discrimination, many youth and           LGBTQI+ youth and be knowledgeable about
     adults of diverse sexual orientation and/or             the factors that lead to risk and resilience among
     gender identity can adapt, thrive, and                  LGBTQI+ youth. The following sections provide
     demonstrate resilience despite risk exposure,           an overview of behavioral health concerns
     high levels of stress, and other forms of               among LGBTQI+ youth, as well as what is
     adversity.214 Resilience refers to a dynamic            known about the influence of families, school,
     process of adapting positively within the context       religion and spirituality, community climate and
     of significant adversity.215 Resilience among           policies, and gender affirmation on the
     sexual- and gender-diverse populations is               behavioral health of LGBTQI+ youth.
     promoted through:
                                                             Behavioral Health Concerns Among
            Self-acceptance of sexual orientation            LGBTQI+ Youth
            and gender identity, self-esteem, and
                                                             Variations in sexual orientation (identity,
            identity pride                                   behavior, and/or attraction) and gender (identity
            Social support and sexuality- and                and expression) are part of the normal spectrum
            gender-specific support from family,             of human development and do not constitute
            peers, schools, and community                    mental disorders. However, youth of diverse
            organizations                                    sexual orientation and/or gender identity are at
            School and community connectedness               elevated risk for mental illness and substance
            Inclusive and supportive federal and             use due to experiences of discrimination related
            state policies60,66,147,216                      to sexual orientation, gender identity, rejection,
                                                             trauma, violence, and a lack of support from
     It is important to recognize that sexual and
                                                             families, school systems, and communities.111
     gender minorities are not a single,
                                                             Transgender and gender-diverse children and
     homogeneous population. In addition to
                                                             adolescents may also experience psychological
     including individuals with many distinct sexual
                                                             distress related to gender dysphoria.25 It is
     orientations, gender identities, and gender
                                                             important to emphasize that youth of diverse
     expressions, LGBTQI+ populations are also
                                                             sexual orientation and/or gender identity are


42
       Case 1:25-cv-00240-ACR           Document 72-4
                                                 57-1      Filed 03/07/25
                                                                 02/21/25        Page 44 of 113




resilient, and that with sufficient support and         Alternatively, their mental health concerns may
access to resources, they can thrive.68,69              be entirely unrelated to their gender.25,50
Behavioral health concerns that behavioral
                                                        At the same time, research also suggests that
health providers can be aware of and attend to
                                                        gender-diverse children who receive meaningful
among sexual- and gender-diverse youth are
                                                        gender identity support do not necessarily
summarized below.
                                                        experience elevated rates of depression and
Behavioral Health Concerns Among                        anxiety.51,225 Research with a national sample of
LGBTQI+ Children                                        socially transitioned prepubescent transgender
Recent research has begun to investigate                children found this group to have
behavioral health among sexual- and gender-             developmentally normative levels of depression,
diverse children and has found that inequities in       only minimal elevations in anxiety, and
behavioral health may begin in childhood. While         comparable levels of self-worth, suggesting that
some sexual- and gender-diverse children are            behavioral health concerns are not inevitable
distressed, others are not. Among those who are         among this group.51,225
distressed, the source of distress varies.
                                                        Behavioral Health Concerns Among
                                                        LGBTQI+ Adolescents
Several studies found that more children who
self-identify as gay, bisexual, or questioning          As LGBTQI+ adolescents navigate the
reported distress, including mood disorders,            challenges of adolescence, some experience a
non-suicidal self-injury, suicide ideation, and         variety of behavioral health concerns and
suicide attempts than did children who do not           psychosocial challenges. Compared to their
identify as gay, bisexual, or questioning.30,54         heterosexual and cisgender counterparts, some
Additionally, two longitudinal studies found that       adolescents of diverse sexual orientation and/or
children who later identified as a sexual minority      gender identity are at disproportionate risk of
began experiencing mental health challenges as          behavioral health symptoms, driven by
early as age 11.55,56 Other studies indicate that       increased exposure to stigma, rejection, and
mental health concerns among sexual minority            victimization.48,226,227,228,229 It is also important to
children may be linked to experiences of                note that behavioral health concerns may be
victimization, such as bullying behaviors               unrelated to sexual and gender diversity.
perpetrated by peers.220,221                            Exposure to SOGI change efforts is a key risk
                                                        factor that has been shown to increase risk of
Gender-diverse children appear to have
elevated rates of mental health concerns,
including symptoms of anxiety and depression,
history of self-harm, and suicidality, compared to
cisgender children.222,223,224 When gender-
diverse children have behavioral health
concerns, these may be related to invalidation or
rejection of their gender diversity, or distress
related to current anatomical dysphoria and/or
anticipation of future pubertal development
incongruent with their current gender.




                                                                                                                   43
            Case 1:25-cv-00240-ACR             Document 72-4
                                                        57-1      Filed 03/07/25
                                                                        02/21/25       Page 45 of 113




     suicide attempt among adolescents and young               transgender individuals.61 The higher rates of
     adults of diverse sexual orientation and/or               substance use and suicidality are partly
     gender identity.9,10,49,228                               explained by experiences of discrimination,
                                                               victimization, and higher rates of depressive
     Compared to heterosexual and cisgender peers,
                                                               symptoms reported by transgender and gender-
     adolescents of diverse sexual orientation and/or
                                                               diverse adolescents as compared to cisgender
     gender identity are more likely to experience
                                                               adolescents.60,232,237,238,239
     psychological distress, symptoms of depression,
     and symptoms of anxiety.57,65 Studies indicate            Among transgender and gender-diverse
     large differences in rates of suicidal ideation and       adolescents, some research suggests that
     attempts among adolescents in the United                  mental health outcomes may be worse among
     States by sexual orientation and gender identity.         nonbinary adolescents and transgender
     The Youth Risk Behavior Surveillance System               boys.61,231,240,241 Gender dysphoria, which can
     (YRBSS) documented increased odds of suicide              initiate or intensify in adolescence, can cause
     risk among both sexual minority and gender                psychological distress among transgender and
     minority high school students compared to                 gender-diverse adolescents.25 Increased
     heterosexual and cisgender students, including            experiences of victimization, rejection, and
     suicide attempt requiring medical                         exposure to discriminatory policies may also
     treatment.226,227,229,230A recent public health study     drive the higher rates of adverse mental health
     with data from six states found that while suicide        seen among transgender and gender-diverse
     rates are dropping, sexual minority adolescents           adolescents compared to sexual minority
     in this study were three times as likely to attempt       adolescents.227,241,242
     suicide relative to heterosexual adolescents.58
                                                               Trauma is also a common behavioral health
     Research with gender minority adolescents has
                                                               concern among adolescents of diverse sexual
     documented that between 25 percent and 51
                                                               orientation and/or gender identity, who have an
     percent of transgender and gender-diverse
                                                               increased likelihood of experiencing child
     adolescents have attempted suicide, with the
                                                               maltreatment, school-based victimization,
     highest rates among transgender boys and
                                                               violence, and homelessness, and who are
     nonbinary youth.191,231,232,233
                                                               overrepresented in both the child welfare system
     Research using YRBSS data indicates that                  and the juvenile correctional
     some adolescents of diverse sexual orientation            system.63,64,226,227,230,242,243,244,245,246
     and/or gender identity are more likely than
                                                               A number of studies suggest that some
     heterosexual and cisgender adolescents to
                                                               neurodiverse youth are gender
     engage in substance use.227,228,230,234,235
                                                               diverse.223,247,248,249,250 The most recent clinical
     Research found that adolescents of diverse
                                                               guidelines suggest that such youth benefit from
     sexual orientation and/or gender identity also
                                                               an individualized approach to treatment.
     experience greater incidence of eating disorders
     and disordered eating behaviors than their                The fact that research consistently demonstrates
     heterosexual and cisgender counterparts.236               large inequities in behavioral health among
                                                               LGBTQI+ adolescents indicates that this is a
     Adverse mental health outcomes tend to be
                                                               vulnerable population that needs psychosocial
     more prevalent among gender minority youth
                                                               support, equitable social conditions, and access
     compared to sexual minority youth due to
                                                               to affirming mental health care. At the same
     specific stigma and discrimination against


44
         Case 1:25-cv-00240-ACR         Document 72-4
                                                 57-1      Filed 03/07/25
                                                                 02/21/25      Page 46 of 113




time, it is important to emphasize that many            use.10,252 Alternatively, parent-child relationships
LGBTQI+ adolescents are resilient and although          characterized by closeness and support are an
experiencing discrimination and behavioral              important correlate of mental well-being.
health challenges can thrive.68,69,251,252
                                                        Strong parental support for a            gender
Influences on Health and Well-Being                     identity may offset the mental health challenges
                                                        commonly documented among gender-diverse
The increased risks of behavioral health distress
                                                        children.51,225 The use of a transgender or
that LGBTQI+ youth face are not a function of
                                                        gender-diverse                    chosen rather
their identities. Rather, these risks stem from the
                                                        than given name has been linked to decreased
stresses of stigma, discrimination, rejection, and
                                                        depressive symptoms, suicidal ideation, and
violence.239 The presence of sexual orientation-
                                                        suicidal behavior.49,52 Among adolescents of
and gender-related stressors and opportunities
                                                        diverse sexual orientation and/or gender identity,
for emotional support and connection
                                                        high levels of sexual orientation and gender
encompasses multiple social systems, including,
                                                        identity acceptance from parents and other
for instance, family, culture, values, school, and
                                                        relatives has been associated with reduced
community networks.253,254,255 Therefore, when
                                                        suicidality.49,257,258 Further, the behavioral health
LGBTQI+ youth are evaluated by a behavioral
                                                        benefits from high levels of family acceptance of
health provider, assessment should routinely
                                                                 diverse sexual orientation and/or gender
include family, school, and community systems
                                                        identity appear to last through young
in which they live to identify both sources of
                                                        adulthood.103 The limited research that has
distress and sources of support and connection
                                                        focused on family members outside of parents
as protective factors.255 By increasing LGBTQI+
                                                        and primary caregivers suggests that siblings
youth s access to support and resilience-
                                                        and extended family members can be key
promoting resources across their daily
                                                        sources of support for youth of diverse sexual
environments, and decreasing exposure to
                                                        orientation and/or gender identity.259,260
stigma and discrimination in communities and
healthcare systems, more LGBTQI+ youth can              Studies have found that some adolescents of
achieve optimal health and well-being.                  diverse sexual orientation and/or gender identity
                                                        report strikingly high rates of adverse childhood
Family
                                                        experiences (ACEs). High ACE scores and
Family response to          sexual orientation,         parental rejection have been associated with
gender identity, or gender expression has a
significant impact on the         well-being, with
effects that appear to extend into young
adulthood.

Parents, caregivers, and families can serve as
both a source of stress and a source of support
for youth of diverse sexual orientation and/or
gender identity.40,53,256 Negative parental
responses to sexual orientation, gender identity,
and/or gender expression are associated with
mental health concerns including psychological
distress, depression, suicidality, and substance


                                                                                                                45
            Case 1:25-cv-00240-ACR           Document 72-4
                                                      57-1     Filed 03/07/25
                                                                     02/21/25        Page 47 of 113




     suicidality in youth of diverse sexual orientation
                                                                 Youth of diverse sexual orientation and
     and/or gender identity261 and may put these
                                                                 gender and particularly those youth of
     adolescents at greater risk for being victimized
                                                                 color are overrepresented among youth
     in other settings.262 Notably, though some
                                                                 experiencing homelessness, as well as
     scholars and practitioners consider SOGI                    across multiple state-based systems
     change efforts from family members potentially              213, 263, 264

     traumatic events, ACE measures do not capture
                                                                        Up to 40% of all youth experiencing
     youth s experiences of SOGI change efforts.120
                                                                        homelessness and housing instability
     It is important to note that some LGBTQI+ youth                    are youth of diverse sexual orientation
     who lack family and/or parental support find                       and gender.
     resilient ways to access needed support and                        Up to one-third of youth in foster care
     guidance. Many people of diverse sexual                            systems are youth of diverse sexual
                                                                        orientation and gender.
     orientation and/or gender identity, including
                                                                        Up to one-fifth of youth in the juvenile
     those with and without supportive families of
                                                                        justice system are youth of diverse
     origin, form chosen             with sexual- and
                                                                        sexual orientation and gender.
     gender-diverse friends who provide social
     support and resources.265 In urban areas across             Parent or caregiver rejection due to
     the United States, LGBTQI+ adolescents and                  sexual orientation and gender diversity
                                                                 is just one of many reasons for these
     young adults of color particularly Black and
                                                                 inequities; other factors such as parental
     Latino youth may join informal communities
                                                                 mental health and substance use,
     and LGBTQI+ family structures.
                                                                 poverty, and racism are common drivers
     Religion & Spirituality                                     of housing instability and system
                                                                 involvement among youth of diverse
     When considering family and community                       sexual orientation and gender.
     influences, a child s or adolescent s religious
     background is an important factor. Religious
     beliefs and background are far-reaching                 backgrounds have a full range of reactions to
     influences that encompass multiple arenas of            their child s sexual orientation and gender
     one s life, including personal and family religious     identity and expression regardless of religious or
     identity, beliefs, and coping; family attitudes,        spiritual traditions (e.g., confusion, desire for
     beliefs, and relationships; and community               information, questions about social implications,
     character and support. Religious views of sexual        love and loyalty, coming to terms with
     and gender diversity in the United States vary          differences, growth and expansion of spiritual
     widely268,269 and can have a large influence on         understanding, and for some a sense of
     sexual- and gender-diverse                   mental     loss).272,273 Rather than focus on faith beliefs,
     health and well-being.146,268,269 When working          where they might lack expertise, behavioral
     with youth of diverse sexual orientation and/or         health providers can focus on encouraging key
     gender identity, it is important to consider the        measurable behaviors among families and
     intersection of religion with youth s racial and        caregivers that have been found to be
     ethnic identity and cultural background.270,271         supportive and protective for children, as well as
     Religion and spirituality are complex, nuanced          informing families how some of their behaviors
     aspects of human diversity. Parents from all            and interactions might lead to negative
                                                             behavioral health outcomes.102,257,272


46
       Case 1:25-cv-00240-ACR             Document 72-4
                                                   57-1     Filed 03/07/25
                                                                  02/21/25      Page 48 of 113




School
LGBTQI+ adolescents may experience a myriad                   School resources that support the health
of sexual orientation- and gender-related                     and well-being of youth of diverse sexual
                                                              orientation and/or gender identity
stressors in the school environment, where they
                                                              include:
spend a large portion of their time. Despite
increasing cultural visibility and acceptance of                  The presence of Gender and Sexuality
people of diverse sexual orientation and/or                       Alliances (GSAs) or other similar
gender identity, the climates of U.S. secondary                   supportive peer networks
schools remain generally unsupportive and                         Antidiscrimination and antibullying
unsafe for many sexual- and gender-diverse                        policies that explicitly include sexual
                                                                  orientation, gender identity, and
youth, who experience high levels of verbal and
                                                                  gender expression
physical harassment and assault, sexual
                                                                  Policies that allow youth to use their
harassment, social exclusion and isolation, and
                                                                  chosen name, pronouns, and facilities
other interpersonal problems with peers.48                        that align with their gender identity
School bullying and victimization is often linked                 Educators who are trained and accept
                                                                  and support students of diverse
to nonconformity to gender norms.274 Across
                                                                  sexual orientation and/or gender
racial/ethnic groups, approximately half of all
                                                                  identity
sexual- and gender-diverse students of color
                                                                  Inclusive curricula resources, such as
were bullied or harassed based on their                           including the history of people and
racial/ethnic identity.48 Further, sexual- and                    families with diverse sexual
gender-diverse students of color were at greater                  orientation and/or gender identity, and
risk of experiencing multiple forms of                            age-appropriate health curricula that
victimization and were more likely to feel unsafe                 discuss sexual orientation and gender
at school than their white sexual- and gender-                    identity.39,43
diverse peers.48

This mistreatment has a significant effect on
                                                          of color, particularly girls, are extremely
sexual- and gender-diverse                    mental
                                                          overrepresented among incarcerated
health and well-being. Victimization due to
                                                          youth.213,278, 279 Research shows that youth of
sexual orientation or gender expression is
                                                          diverse sexual orientation and/or gender identity
associated with depressive symptoms, low self-
                                                          are not only more likely to experience
esteem, and suicidality,111,274,275 as is not having
                                                          exclusionary discipline at school, but also
access to appropriate bathrooms and feeling
                                                          appear to be sanctioned more harshly than
unsafe in bathrooms and other school
                                                          heterosexual, cisgender teens for the same
facilities.276,277,278
                                                          behavior and are at an increased risk for juvenile
Experiences of victimization and discrimination           justice involvement.247,280
are also linked to negative academic outcomes
                                                          School and peer networks can also be a place
among sexual- and gender-diverse youth.183
                                                          where youth of diverse sexual orientation and/or
Victimization from peers and school staff,
                                                          gender identity find support. High levels of
combined with discriminatory policies, likely
                                                          support from friends, classmates, and school
contributes to the over-representation of sexual
                                                          professionals is associated with better mental
and gender minorities in the juvenile justice
                                                          health and lower suicidality among youth of
system.48,278 Sexual- and gender-diverse youth

                                                                                                               47
            Case 1:25-cv-00240-ACR            Document 72-4
                                                       57-1      Filed 03/07/25
                                                                       02/21/25      Page 49 of 113




     diverse sexual orientation and/or gender
     identity.49 Additionally, when youth have access             In the most recent National School Climate
     to high levels of peer or school support, this may           Survey of LGBTQ+ youth, the Gay, Lesbian
     reduce the negative impact that experiencing                 & Straight Education Network (GLSEN)
     victimization has on their mental health.275                 found that:
     Friends of diverse sexual orientation and/or                      60% felt unsafe
     gender identity may be of particular importance,
                                                                       69% were verbally harassed
     because they are more likely to provide support
     for sexuality- and gender-related stress.281,282                  58% were sexually harassed
     Many youth of diverse sexual orientation and/or                   26% were physically harassed
     gender identity connect with peers and access
                                                                       11% were physically assaulted
     social support online that may be unavailable to
     them in person.283,284 Online sources of support                  45% were cyberbullied
     have become increasingly important for youth of              60% of students of diverse sexual
     diverse sexual orientation and/or gender identity            orientation and gender surveyed
     during the COVID-19 pandemic.285                             experienced policies that are discriminatory
                                                                  based on sexual orientation, gender identity,
     School policies and resources that create an                 or gender expression at school.
     inclusive, safe environment positively influence             Transgender and gender-diverse students
     student             health and well-being.286,287            were most likely to report incidences with
     Specifically, these school policies reduce                   discriminatory policies and practices,
     substance use and planned suicide and suicide                including being prevented from using their
     attempts.286 GSA is a student-led, school-based              chosen name and pronouns, and bathrooms
     club that aims to provide a safe space for                   and locker rooms aligned with their gender
     LGBTQI+ students.           originally referred to           identity.48
      Gay-Straight            but many GSAs now
     use the acronym to refer to Gender and
     Sexuality           to acknowledge the full                      Policies that allow youth to use facilities
     spectrum of sexual orientation and gender                        that align with their gender identity and/or
     diversity.288                                                    that provide gender-neutral facilities
     Both the presence of and participation in a GSA                  Policies that allow students to use their
     has beneficial outcomes for sexual- and gender-                  chosen name and pronouns277,278
     diverse students and others, including increased         Training school staff and educators about how to
     feelings of safety, lower truancy, and decreased         support youth of diverse sexual orientation
     threats of violence in school.48,286 School policies     and/or gender identity is related to lower suicide
     associated with improved health and well-being           attempts among these students when
     of students of diverse sexual orientation and/or         provided.286 Finally, curricula that are inclusive of
     gender identity include:                                 students and families of diverse sexual
                                                              orientation and/or gender identity are associated
            Antidiscrimination and antibullying
                                                              with beneficial outcomes such as fewer
            policies that enumerate sexual
            orientation, gender identity, and gender
            expression



48
       Case 1:25-cv-00240-ACR          Document 72-4
                                                57-1     Filed 03/07/25
                                                               02/21/25      Page 50 of 113




instances of biased language against students          absence of supportive policies, places of
of diverse sexual orientation and/or gender            worship that are open and inclusive, other
identity, students feeling safer, fewer reported       LGBTQI+ people, and anti-LGBTQI+ rhetoric is
instances of victimization, increased peer             associated with behavioral health outcomes
acceptance, and lower levels of depression;            among LGBTQI+ adolescents. Studies have
these benefits may be related to the curricula         found that adolescents of diverse sexual
helping to reduce negative stereotypes against         orientation and/or gender identity living in areas
LGBTQI+ students.48 These policies and                 with a more supportive community climate have
practices not only are associated with benefits        better mental health and are less likely to use
for students of diverse sexual orientation and/or      substances.289,290
gender identity but also have school-wide
                                                       State and federal laws and policies also affect
beneficial effects across behavioral health and
                                                       the health and well-being of sexual- and gender-
psychosocial outcomes among heterosexual
                                                       diverse populations, including youth.291 More
youth.286
                                                       research has been conducted with adults, where
Community Climate & Policies                           supportive and protective policies such as
                                                       protection from discrimination in schools and
Community climate and policies also have an
                                                       ability to change name and gender on identity
impact on the health and well-being of youth of
                                                       documents have consistently been linked with
diverse sexual orientation and/or gender identity.
Community climate defined by the presence or




                                                                                                            49
              Case 1:25-cv-00240-ACR                 Document 72-4
                                                              57-1   Filed 03/07/25
                                                                           02/21/25   Page 51 of 113




     better mental health, reduced substance use,
     and increased access to health care.204,292,293
     Meanwhile, policies that permit discrimination
     against people of diverse sexual orientation
     and/or gender identity are linked with poorer
     behavioral health outcomes.85 It appears that
     state and federal laws and policies have a
     similar effect on youth of diverse sexual
     orientation and/or gender identity, with the
     presence of supportive laws and policies
     associated with reduced suicidality among high
     school students.294,295

     Gender Affirmation
     In addition to benefiting from gender-affirming
     support from families, communities, peers, and
     school professionals as described above, taking
     desired steps in social transition and access to
     medical gender transition for those for whom it is
     medically necessary is associated with better
     mental health among transgender and gender-
     diverse youth.51,67,80,81,154,225,296,297,298,299,300,301,302

     Social transition and medical gender transition
     are discussed in greater detail in the next
     section. Improving access to gender affirmation
     for gender-diverse youth across the various
     domains of their lives may reduce the mental
     health inequities seen in this population.




50
       Case 1:25-cv-00240-ACR          Document 72-4
                                                57-1     Filed 03/07/25
                                                               02/21/25      Page 52 of 113




Beneficial Therapeutic
Approaches and Interventions
in LGBTQI+ Youth and Their
Families
Behavioral health professionals provide youth
and their families with developmentally sensitive,
culturally appropriate, and client-centered
interventions that emphasize acceptance,
support, and understanding and that match the
child and                cognitive and emotional
development.                                           capacities, developmental milestones, and
                                                       emerging or existing behavioral health concerns.
Appropriate therapeutic approaches with
LGBTQI+ youth do the following:                        Affirmative approaches recognize and
                                                       communicate that being of diverse sexual
       Provide accurate information on sexual          orientation and/or gender identity does not
       orientation and gender identity and             constitute a mental disorder, and that variations
       expression.                                     in sexual orientation, gender identity, gender
       Identify sources of distress, including         expression, and sex characteristics are normal
       internalized stigma and minority stress,        aspects of human diversity, including nonbinary
       and work with children, adolescents and         gender identities.75,303,304,305 Affirmative
       families to reduce distress experienced         approaches recognize that when behavioral
                                                       health issues exist, they often stem from stigma
       by children and adolescents.
                                                       and negative experiences rather than being
       Support adaptive coping to improve
                                                       intrinsic to the child or adolescent.76 When
       psychological well-being.
                                                       working with children and adolescents, providers
       Support youth as they learn more about
                                                       examine not only risk factors but also sources of
       their sexual orientation and gender             resilience across the multiple environments that
       identity, and supporting families in            influence the health and well-being of young
       accessing gender-affirming care for their       people.305
       transgender child when indicated.
       Help children and adolescents navigate          Effective approaches support youth in identity
                                                       exploration and development without seeking
       their sexual orientation, gender identity,
                                                       predetermined outcomes related to sexual
       and gender expression within the context
                                                       orientation, gender identity, or gender
       of their intersecting identities.
                                                       expression.188,304 Key aims are to dispel negative
Client-Centered Individual Approaches                  stereotypes and provide accurate information in
                                                       developmentally appropriate terms for children
Behavioral health providers offer
                                                       and adolescents.
developmentally sensitive, affirmative
interventions to youth. Developmentally                Scientists and researchers are constantly
sensitive approaches account for appropriate           discovering more about sexual orientation,
developmental emotional and cognitive                  gender identity, and expression. For some
                                                       youth, a focus on identity development and


                                                                                                            51
            Case 1:25-cv-00240-ACR            Document 72-4
                                                       57-1     Filed 03/07/25
                                                                      02/21/25       Page 53 of 113




     exploration that allows them the freedom of self-        reduce or remove stressors a child or
     discovery within a context of acceptance and             adolescent is experiencing that are associated
     support is vital to improving behavioral health          with poor behavioral health. Alternatively,
     and well-being.306 It is important to note,              interventions may aim to change the cognitive,
     however, that identity exploration is not relevant       affective, and behavioral ways that youth of
     or needed by all youth or a required focus of            diverse sexual orientation and/or gender identity
     therapy for youth of diverse sexual orientation          react to these stressors.213
     and/or gender identity. Additionally, it is
                                                              Several cognitive behavioral therapy (CBT)
     important for behavioral health providers to
                                                              interventions for youth of diverse sexual
     respect what the identity exploration process
                                                              orientation and/or gender identity have been
     looks like to each individual. Taking steps in
                                                              developed, including EQuIP,309 AFFIRM,310 and
     social transition is one way for gender-diverse
                                                              Rainbow SPARX.311 LGBTQ-affirmative CBT
     youth to explore their gender (see
                                                              appears to be particularly efficacious for Black,
                  section below).
                                                              Latino, and Asian American and Pacific Islander
     Practices that attempt to change or prevent              young people of diverse sexual orientation
     youth from identifying as sexual- and gender-            and/or gender identity, potentially because the
     diverse or from expressing their sexual                  focus on stressors may also help young people
     orientation and gender identity are harmful and          of color navigate stressors related to being a
     are never appropriate.10,306 This includes               racial/ethnic minority.213,312 There is also
     approaches that discourage youth from                    evidence supporting the use of mindfulness-
     identifying as transgender or gender-diverse             based coping for sexual orientation-related
     and/or from expressing their gender identity.            school-based victimization.313 Evidence-based
     Sometimes these are misleadingly referred to as          trauma-focused interventions designed for youth
                             Additionally, providers          of diverse sexual orientation and/or gender
     support youth in age-appropriate tasks, such as          identity and their families can reduce symptoms
     integrating sexual orientation and gender                of past trauma and enhance coping and well-
     identities with other identities, safely navigating      being.314
     coming out or sharing their identities with others,
                                                              Behavioral health providers should be aware of
     and fostering positive relationships with
                                                              and share crisis services specific to LGBTQI+
     caregivers, families, and peers.79,306
                                                              youth, local resources for LGBTQI+ youth, and
     Exposure to laws and policies that do not                online platforms where LGBTQI+ youth can find
     support youth of diverse sexual orientation              affirming social connections and support. Given
     and/or gender identity, and other negative               the increased rates of suicidality seen among
     experiences, including bullying and family               youth of diverse sexual orientation and/or
     rejection, drive risk for certain behavioral health      gender identity, LGBTQI+ crisis services, such
     concerns among these youth.55,307,308 Behavioral         as those provided by The Trevor Project are
     health providers should assess for ACEs, other           vital. The Trevor Project offers direct suicide and
     family rejecting behaviors, additional                   crisis intervention services for LGBTQI+ youth
     experiences of victimization, trauma-related             by phone, text, or online chat.213,315
     disorders, and suicidality, and be prepared to
                                                              Behavioral health providers should be aware of
     address these concerns with LGBTQI+ youth in
                                                              available community resources that support
     treatment. Appropriate interventions may aim to
                                                              LGBTQI+ youth and their families, such as local


52
       Case 1:25-cv-00240-ACR         Document 72-4
                                               57-1     Filed 03/07/25
                                                              02/21/25      Page 54 of 113




LGBTQI+ community centers, GSAs in schools,
and support groups for youth and/or their
caregivers, as well as online platforms. In
addition to crisis services, The Trevor Project
provides a safe social-networking community for
LGBTQI+ youth and their friends and allies. This
online platform became even more critical during
the pandemic because it allowed youth to find
affirming connections even when physically
isolated. PFLAG, which is the largest
organization in the United States focused on
providing support, education, and advocacy for
LGBTQI+ people and their loved ones and has
more than 325,000 members with hundreds of
local chapters. PFLAG can serve as another
resource of support for LGBTQI+ youth and their
families.316
                                                      significant harm and does not have any known
Behavioral health providers should describe
                                                      benefit to the client.318
their treatment plan and interventions to
children, adolescents, and their parents and          Family Approaches
families to ensure they understand the goals,
                                                      Wherever it is safe to do so for the child,
potential benefits, and any risks of treatment.
                                                      parental and caregiver involvement is an
Behavioral health providers should obtain
                                                      important part of supporting LGBTQI+ youth.
informed consent with all parties including
                                                      Parental and caregiver attitudes and behaviors
minors for treatment, and should always
                                                      play a significant role in the adjustment of
involve parents and caregivers in decisions
                                                      children and adolescents. Parent and caregiver
about a           care if the minor is not old
                                                      distress may be the cause of a referral for
enough to legally give consent.317 When
                                                      treatment.24,102,257 Reducing family rejection,
obtaining informed consent/assent, it is
                                                      hostility, and violence (verbal or physical), and
important to be aware of and attend to power
                                                      increasing family acceptance and support,
dynamics between parents/caregivers and
                                                      contributes to the mental health and safety of
youth, as well as between the provider and
                                                      the child and adolescent.53,102,257,319
youth. Interventions that attempt to change
sexual orientation, gender identity, or gender        Interventions that increase family and
expression, or any other form of SOGI change          community support and understanding while
efforts are inappropriate and can cause               decreasing rejection directed at LGBTQI+ youth
significant harm. Informed consent/assent for         are recommended for families. Behavioral health
clinical care would include ensuring                  providers supply family members with accurate,
understanding of various components, including        developmentally appropriate information
associated risks, expected benefits, and              regarding diversity in sexual orientation and
alternative treatment options; therefore, by          gender, and strive to dispel myths regarding the
definition, informed consent/assent cannot be         lives, health, and psychological well-being of
provided for an intervention known to cause           individuals of diverse sexual orientation and/or


                                                                                                          53
            Case 1:25-cv-00240-ACR           Document 72-4
                                                      57-1     Filed 03/07/25
                                                                     02/21/25      Page 55 of 113




     gender identity.303,306 Family therapy that             have been used with suicidal sexual minority
     provides anticipatory guidance to parents and           adolescents.322 Trauma-focused CBT is an
     caregivers about the significant mental health          evidence-based treatment for trauma-impacted
     risks caused by rejection of their          sexual      youth aged 3 to 17 and their parents or primary
                                               102,257
     orientation and gender identity is vital.               caregivers. This intervention has been adapted
     Understanding and addressing parent and                 for use specifically with youth of diverse sexual
     caregiver concerns regarding current or future          orientation and/or gender identity by integrating
     sexual orientation and gender identity is               the treatment framework with the Family
     important. Further, behavioral health providers         Acceptance Project.314
     can attempt to help families and caregivers
                                                             Family therapists and researchers often focus
     modify rejecting behaviors by explaining the link
                                                             on reframing family concerns even their
     between family rejection and negative health
                                                             disapproval and rejection of sexual orientation
     problems, identifying rejecting and accepting
                                                             and gender diversity as a manifestation of care
     behaviors, and providing recommendations for
                                                             and love and focus on teaching non-rejecting
     increasing supportive behaviors on the part of
                                                             ways to communicate those positive emotions.
     the family.
                                                             For example, providers can help the family
     Some affirming approaches to family therapy             create an atmosphere of mutual respect as a
     that include youth of diverse sexual orientation        natural extension of seeing each person as
     and/or gender identity aim to demonstrate how           having intrinsic worth.323 This can help ensure
     family           identities such as their race          the safety of each person from being hurt or
     and ethnicity, immigration, socioeconomic               bullied in the home. This communicates an
     status, and more affect their ability to                important message to a young person that their
     understand and support their youth.320,321              safety is important to the provider and to the
     Attachment-based approaches to family therapy           family. Eventually, this mutual respect and




54
       Case 1:25-cv-00240-ACR           Document 72-4
                                                 57-1      Filed 03/07/25
                                                                 02/21/25      Page 56 of 113




support can be extended to other settings, such         Additional Approaches With Gender-
as neighborhoods, community institutions, and           Diverse Youth
schools. Safety in this context is not only
                                                        Social Transition
physical safety, but also emotional safety.323
                                                        Social gender transition refers to living daily life
Behavioral health providers may wish to                 in line with        gender identity, and the
increase their own competence in working with           processes by which a child or adolescent is
communities with diverse values and beliefs,            acknowledged by others as this gender.39,40
and focus on viewing these values and beliefs           Social transition can include a range of gender-
with humility and mutual respect.324 This               related changes that individuals may make, and
includes understanding how to translate                 often includes adopting a name, pronouns, and
between psychology and deeply held values               clothing consistent with          gender
rather than judging those beliefs. Certain              identity.35,39,40 There is no one way or right way
language, such as acceptance and/or                     to socially transition. Transgender and gender-
affirmation, might not resonate with some               diverse youth may seek out social transition at
communities, whereas the concept of                     different ages and stages of development. 34
unconditional love might.323                            Social gender transition does not require
Many parents and caregivers must also navigate          assessment or intervention from health
their own process of coming          and resolve        professionals. However, providers can help
fears of discrimination or negative social              families protect              safety, ensure
reactions if they disclose their child s sexual-        emotional, psychological, and social well-being,
and gender-diverse identity within their                and help children and families navigate possible
communities, at work, and to other family               complexities of exploring and taking steps in
members.325 Parents and caregivers often have           social transition.80
fears for their child s emotional and physical          Taking steps in social transition allows youth the
safety, among other worries for their future.37,326     ability to explore and make meaning of how they
Behavioral health providers can help parents            experience their gender, which is an important
plan in an affirmative way for the unique life
challenges that they may face as parents of an
                                                            Gender affirmation, including social
LGBTQI+ child.
                                                            transition (e.g., changing one s name,
Further, behavioral health providers can address            pronoun, and/or appearance) and gender-
other stresses, such as managing life                       affirming medical care, is appropriate and
                                                            beneficial for many gender minority
celebrations and transitions and coping with
                                                            children and adolescents. Based on the
feelings of loss, and aid parents in advocating
                                                            individual child s or adolescent s needs,
for their children in school situations for
                                                            gender-affirming medical care may be
example, when they face bullying or
                                                            medically necessary. Withholding timely
harassment. Groups for multiple families led by             gender-affirming care when indicated,
behavioral health providers, as well as online              withholding support for a gender-affirming
groups or forums for parents and caregivers of              exploratory process, and/or withholding
LGBTQI+ children and adolescents, may be                    support of social transition when desired,
helpful to build connections and share                      can be harmful. These actions may
resources.327                                               exacerbate and prolong gender dysphoria.




                                                                                                               55
            Case 1:25-cv-00240-ACR             Document 72-4
                                                        57-1       Filed 03/07/25
                                                                         02/21/25      Page 57 of 113




     part of developing a positive identity and sense           reactions from others, including bullying and
     of self. For some youth, desires for their name,           safety. When weighing factors related to social
     pronouns, and appearance continue to change                gender transition, concerns related to social
     and evolve over time; for others, these remain             transition should be weighed against the risks of
     stable over time.35,39,40 For gender-diverse               not affirming a         experienced gender,
     children who want to socially transition, social           including increased distress or feelings of
     transition appears to serve a protective function          dysphoria, social isolation, depression, or
     and contribute to positive mental health and               suicide due to lack of social support.29 Whether
     well-being.51,67,78,228                                    or not a child socially transitions or desires to,
                                                                behavioral health providers can help explain to
     Given this, experts increasingly agree that
                                                                parents and caregivers how gender
     children should not be denied the opportunity to
                                                                development is dynamic for some but not all
     explore and/or express their gender through
                                                                children and highlight the importance of being
     social transition steps when desired by the
                                                                open to and accepting of the possibility that their
     child.75,184,185,328 The possibility that a
                                                                youth may remain stable in their feelings or may
     gender identity can be dynamic and may change
                                                                desire to make changes again in the future.304
     over time should not be used as a justification to
     restrict a child from taking social transition steps.      Medical Gender Transition
     Children should be affirmed in how they
                                                                Gender-affirming medical care is often medically
     currently identify and express their gender and
                                                                necessary for individuals with a diagnosis of
     be supported throughout their development and
                                                                gender dysphoria, and can refer to a range of
     exploratory process, including the potential for
                                                                evidence-based interventions provided in
     future changes in how they identify and express
                                                                consultation with licensed medical providers.
     their gender.179,184,185 Behavioral health
                                                                Such care is defined here as a care plan or
     specialists in pediatric gender care can offer
                                                                service that is necessary to assess, maintain, or
     psychosocial support, insights, and guidance
                                                                improve health and well-being and to avoid
     regarding the appropriateness of gender-related
                                                                illness or reduce symptoms based on existing
     needs of gender-diverse children at different
                                                                professional guidelines and scientific evidence.
     developmental stages.25
                                                                The appropriateness of medical interventions
     Withholding support for a gender-affirming                 varies by the             age, developmental
     exploratory process and/or for social transition           stage, and experience of dysphoria, and
     when desired, can be harmful because those                 decisions about providing gender-affirming care
     actions may exacerbate and prolong gender                  are reached with the involvement of an
     dysphoria.78,298,328 At the same time, parents and                       parent or legal guardian.331 No
     caregivers may have valid concerns about                   medical interventions are currently undertaken


         Gender-Affirming Care: A specialized model of care used in the treatment of gender dysphoria that
         uses evidence-informed treatment options to promote patient health and prevent the risk of poor
         mental and physical health outcomes.329, 330 Not all youth need to undergo medical intervention;
         indeed, this is often not the case. Gender-affirming care is highly individualized and focuses on the
         needs of each individual by including psychoeducation about gender and sexuality (appropriate to
         the age and developmental level).




56
       Case 1:25-cv-00240-ACR             Document 72-4
                                                   57-1     Filed 03/07/25
                                                                  02/21/25      Page 58 of 113




or recommended for gender-diverse children                psychiatric or family problems exist. Given that
before the initial onset of puberty.74,75 Gender-         pubertal suppression or administration of
affirming medical care, including both pubertal           hormone therapy occurs over many years during
suppression and hormone therapy, has proven               important developmental periods, the need for
effective in improving the well-being of young            behavioral health care, and type of behavioral
transgender and gender-diverse adolescents                health intervention needed, may change with
both during and well after initiation of                  time as new questions arise.334 Transgender and
treatment.81,82,155,295,296,297,298,299,301,302,332       gender-diverse youth, like all youth, should have
                                                          the option to access psychological treatment if
Recent research indicates that gender-affirming
                                                          they choose. However, if there are no concerns,
care has a positive impact on mental health.
                                                          this may not be necessary.
Current professional guidelines provide
information on the appropriate application of             For additional information and guidance related
gender-affirming care interventions.25 It is widely       to youth and medical gender transition, see
held that withholding gender-affirming care for            Ensuring Comprehensive Care and Support for
an adolescent who needs this care is                      Transgender and Gender-Diverse Children and
detrimental to their mental health.77,185                 Adolescents from the American Academy of
Withholding timely gender-affirming care when             Pediatrics76 and the most recent guidelines from
indicated may cause harm by exacerbating and              the World Professional Association on
prolonging gender dysphoria.83,84                         Transgender Health (WPATH;
                                                          www.wpath.org).25
Behavioral health providers play an important
role in educating adolescents and their parents,          Future Directions for Research
caregivers, and supporting families on this
                                                          As recommended by the U.S. Surgeon General
information as well as in assessing their
                                                          in the 2021 report rotecting Youth Mental
understanding so that they can give full informed
                                                          Health, future research must prioritize data and
consent and assent.186,333 This education
                                                          research with youth populations who are at-risk
includes information on:
                                                          for adverse mental health outcomes.335 This
        Various options for medical gender                includes LGBTQI+ youth broadly, as well as
        transition                                        LGBTQI+ youth who are also racial/ethnic
        Up-to-date information about the effects          minorities, have experienced poverty during
        of treatment                                      childhood, have disabilities/different abilities,
                                                          and are involved in child welfare or juvenile
        Benefits on well-being
                                                          justice systems. Areas of opportunity for future
        Potential side effects
                                                          research, as well as the validity and quality of
The support of a behavioral health provider               existing research, are discussed in several
during these processes can aid adolescents in             sections of this report. Methodologically rigorous
identifying care needs, adjusting to their                peer-reviewed research is vital to improving our
changing physical characteristics, and                    understanding of the complexities of sexual
navigating responses from people in different             orientation and gender among children and
aspects of their lives. Continued mental health           adolescents. Several potential areas for future
care should be offered when an                            research are identified below.
gender care needs require continued affirming
exploration and/or when other psychological,


                                                                                                               57
            Case 1:25-cv-00240-ACR          Document 72-4
                                                     57-1      Filed 03/07/25
                                                                     02/21/25      Page 59 of 113




     Documenting Sexual Orientation and                     youth s sexual orientation, gender identity, and
     Gender Diversity in Youth                              gender expression need access to alternative
     To better understand the experiences and needs         interventions to mitigate this distress that are
     of LGBTQI+ youth, research focused on youth in         appropriate and beneficial for youth and families.
     the general population should regularly assess         More targeted research that acknowledges the
     sexual orientation, gender identity, and gender        intersections of identity, including race, ethnicity,
     expression as demographic indicators. Given            culture, faith, and socioeconomic status could
     the expansive range of descriptive identity terms      shed light on positive, appropriate, whole-family
     that people today use to describe their sexual         therapeutic approaches to addressing these
     orientation and gender (e.g., pansexual,               issues.
     asexual, nonbinary, gender queer), asking about
                                                            Researchers should evaluate these practices
     sexual orientation and gender in ways that
                                                            and integrate them into behavioral health care.
     include these identities and provide an option for
                                                            Researchers should also work collaboratively
     open-ended responses will ensure that
                                                            with young people and families from faith
     LGBTQI+ youth are appropriately included and
                                                            communities to better understand the interplay
     represented in research.
                                                            between values and traditions and the safety
     Development of Sexual Orientation and                  and well-being of LGBTQI+ youth. The work of
     Gender Identity                                        the Family Acceptance Project, cited in this
                                                            report, speaks to the necessity of an increased
     There remains much to learn about the                  focus on approaches specific to various
     development of sexual orientation and gender           communities, including those that are culturally
     identity in youth. Basic research on the               and religiously diverse. These include
     developmental pathways of these identities is          conversations about sexual orientation, gender
     necessary. How these identities are embedded           identity, and gender expression and how to
     in cognitive and emotional development and             support LGBTQI+ youth in culturally congruent
     other developmental processes would aid in the         ways.
     understanding of human development as well as
     developing and refining appropriate                    Addressing Health Inequities Within
     interventions to support behavioral health. Such       LGBTQI+ Youth Populations
     research must be inclusive of nonbinary                LGBTQI+ youth experiencing homelessness, in
     identities. To better understand the various           juvenile justice facilities, or otherwise in out-of-
     developmental trajectories of gender-diverse           home care may lack permanent and stable
     youth, prospective, longitudinal studies that          family connections in part because of family
     follow gender-related development of youth over        distress or rejection relating to their LGBTQI+
     time are needed.                                       identity. These vulnerable populations, as well
     Culturally Specific Mitigation of Distress             as low-income and racial and ethnic minority
     Relating to Sexual Orientation, Gender                 LGBTQI+ youth, are often neglected in research
     Identity, and Gender Expression                        studies that most often recruit youth who are
                                                            already connected to clinics or providers. Future
     SOGI change efforts are harmful practices that
                                                            researchers interested in research with sexual-
     are never appropriate with LGBTQI+ youth, and
                                                            and gender-diverse youth should address this
     efforts are needed to end these practices.
                                                            need for more representative sampling and
     Families experiencing conflict related to their
                                                            better recruitment efforts.


58
       Case 1:25-cv-00240-ACR            Document 72-4
                                                  57-1      Filed 03/07/25
                                                                  02/21/25      Page 60 of 113




Building Resilience and Promoting                               Prospective research focusing on
Health and Well-Being                                           younger children, in partnership with
Beyond ending harmful practices with LGBTQI+                    pediatric clinics, schools, and other
youth and addressing health inequities, more                    community-based institutions
research is needed that focuses on the ways                     Methods of supporting positive
LGBTQI+ youth are thriving. Greater                             behavioral health for LGBTQI+ youth,
understanding is needed of the factors that                     including building resiliency against
contribute to resilience and positive behavioral                suicidality, self-harm, risky behaviors,
and physical health outcomes among LGBTQI+                      depression, anxiety, substance use, and
youth, as is an increased focus on the
                                                                other behavioral health issues
development, evaluation, and dissemination of
health-promoting interventions. Research using           Integration, Collaboration, and
participatory methodologies to collaborate with          Dissemination
LGBTQI+ youth to identify their needs, priorities,
                                                         Researchers and clinicians should examine and
and ideas for intervention strategies is vital to
                                                         evaluate the best methods for integrating and
increase the relevance, quality, and impact of
                                                         disseminating best and promising practices for
research and interventions with this population.
                                                         addressing sexual orientation and gender
Long-Term Outcomes                                       identity and expression among youth, and how
                                                         to successfully collaborate with parents,
More research would be beneficial to further             guardians, caregivers, providers, and community
explore the developmental trajectories of sexual         leaders. This could include conducting research
orientation, gender identity, and gender                 with these populations focused on knowledge,
expression. Additionally, future research could          attitudes, and beliefs relating to efforts to change
focus on better understanding the long-term              sexual orientation, gender identity, or gender
medical and behavioral health outcomes                   expression.
associated with early experiences of family and
community distress due to sexual orientation             Finally, the behavioral health community can
and gender identity and expression. Other                work to support community-based organizations
recommended areas of opportunity for                     to develop common ground and consensus on
longitudinal research include:                           these topics to promote health and well-being
                                                         within youth populations. This might include:
       Long-term outcomes from early social
       transition and pubertal suppression                      Support for LGBTQI+ youth
       Rigorous evaluation of current practices                 programming and services across the
       and protocols, including affirmative                     country
       models, structural interventions, and                    Outreach to parents, caregivers, and
       culturally specific models                               families with accurate information about
       Harms associated with laws and policies                  supporting LGBTQI+ youth s behavioral
       that bar youth from participating at                     health
       school or in extracurricular activities in a             Inclusion of LGBTQI+-specific questions
       way that is consistent with their gender                 in national behavioral and mental health
       identity                                                 surveys




                                                                                                                59
Case 1:25-cv-00240-ACR   Document 72-4
                                  57-1   Filed 03/07/25
                                               02/21/25   Page 61 of 113
       Case 1:25-cv-00240-ACR            Document 72-4
                                                  57-1     Filed 03/07/25
                                                                 02/21/25      Page 62 of 113




Section 3: Policy Approaches to Support the Behavioral Health
and Well-Being of LGBTQI+ Youth
                                                         To further strengthen protections for LGBTQI+
Introduction and Foundational                            youth, their parents, and caregivers, on March 2,
Principles1                                              2022, HHS Secretary Xavier Becerra issued a
Moving from evidence to action necessitates              statement reaffirming HHS efforts to support and
scientifically grounded public policies. This            protect LGBTQI+ youth and assist their parents,
section focuses on selected policy levers that           caretakers, and families in accessing gender
aim to improve the behavioral health of                  affirming care.341
LGBTQI+ youth.

U.S. Department of Health and Human Services                SOGI change efforts are inappropriate
(HHS) policy priorities for improving the mental            practices that should not be provided to
                                                            children or adolescents.
health of and reducing substance use by
LGBTQI+ youth are based on efforts to ensure
LGBTQI+ civil rights and to increase access to,
affordability of, and equity in health care. Such        A Memorandum issued by the                Bureau
policies include implementation of the June 15,          at the Administration for Children and Families
2022, Executive Order on Advancing Equality for          for child welfare professionals and healthcare
Lesbian, Gay, Bisexual, Transgender, Queer,              providers aims to protect LGBTQI+ youth.342
and Intersex Individuals,14 the January 20, 2021,        HHS has also issued guidance stating that
Executive Order on Preventing and Combating              denying health care based on gender identity or
Discrimination on the Basis of Gender Identity or        restricting doctors and healthcare providers from
Sexual Orientation,15 and the January 20, 2021,          providing care because of a           gender
Executive Order on Advancing Racial Equity and           identity may constitute prohibited
Support for Underserved Communities Through              discrimination.343
the Federal Government.336                               The following key policy areas have been
HHS policies include protection against                  identified by the federal government,
discrimination based on sexual orientation and           researchers, and advocates:
gender identity as found in the Affordable Care                 End harmful and ineffective efforts such
Act (ACA).337 HHS also has other policies and
                                                                as sexual orientation and gender identity
programs specific to nondiscrimination on the
                                                                (SOGI) change efforts.
basis of sexual orientation and gender
                                                                Ensure access to evidence-based care.
identity.338,339 For example, HHS issued a Notice
                                                                Promote behavioral health by
of Proposed Rulemaking related to Section 1557
of the ACA, to further prevent discrimination on                strengthening nondiscrimination policies.
the basis of sexual orientation and gender
identity.340



1
 All statements in text boxes are Consensus
Statements provided in Section 1 of this document.


                                                                                                             61
            Case 1:25-cv-00240-ACR           Document 72-4
                                                      57-1     Filed 03/07/25
                                                                     02/21/25      Page 63 of 113




            Improve behavioral health through                court claims alleging consumer fraud, among
            support from families, schools, and              others.
            communities.
                                                             Several bills and resolutions have been
            Advance research that improves care.
                                                             introduced in Congress in the past decade to
                                                             discourage SOGI change efforts or to require
     Ending Sexual Orientation and                           nondiscrimination in the provision of behavioral
     Gender Identity Change Efforts                          health services to sexual- and gender-diverse
     SOGI change efforts are ineffective and harmful         youth. This legislation would ban federal
     to children and adolescents (see Sections 1 and         funding, encourage state bans, or define SOGI
     2). The continued practice of these efforts puts        change efforts as consumer fraud.
     LGBTQI+ youth at risk of significant harm and           On June 15, 2022, the Biden Administration
     prevents them and their families from receiving         issued the Executive Order on Advancing
     appropriate evidenced-based behavioral health           Equality for Lesbian, Gay, Bisexual,
     care that is consistent with existing professional      Transgender, Queer, and Intersex Individuals.14
     guidelines.                                             It includes a charge to HHS to take steps to end
     Based on scientific evidence and broad                  SOGI change efforts in the United States, by
     professional and scientific consensus, many             exploring guidance for federally funded
     federal, state, and local governments have taken        programs, supporting provider training and
     steps to regulate and eliminate the practice of         technical assistance, and providing public
     SOGI change efforts directed at children and            information about harms and alternatives.
     adolescents. These efforts include legislative          At the state level, as of January 2023, 20 states
     bans, executive orders, and pathways to civil           and the District of Columbia have passed laws
                                                             to protect minors from the practice of SOGI
                                                             change efforts. An additional six states and one
                                                             territory have partial bans.344 These laws bar
                                                             behavioral health providers from practicing
                                                             SOGI change efforts with minors. Some states
                                                             provide protections for vulnerable adults, impose
                                                             restrictions on the use of state and federal
                                                             funds, and offer consumer protection provisions.
                                                             At the local level, about 90 municipal and county
                                                             governments prohibit SOGI change efforts.345

                                                             Advocates have suggested federal, state, and
                                                             local policy efforts to end SOGI change efforts
                                                             that include the following:

                                                                    Legislative restrictions on the use of
                                                                    federal or state funding for SOGI change
                                                                    efforts by state health programs
                                                                    (including Medicaid funds), by recipients




62
       Case 1:25-cv-00240-ACR           Document 72-4
                                                 57-1      Filed 03/07/25
                                                                 02/21/25      Page 64 of 113




       of such funding, or through health
                                                            Available research indicates SOGI change
       insurance reimbursements (see for
                                                            efforts can cause significant harm.
                                                            Available research indicates that these
       Medicaid Funding for Conversion                      efforts are not effective in altering sexual
                                   th
                                                            orientation; no available research indicates
       Congress).346                                        that they are effective in altering gender
       Policies that prohibit SOGI change                   identity. No available research supports
                                                            the claim that SOGI change efforts are
       efforts with minors receiving care in
                                                            beneficial to children, adolescents, or
       programs that receive federal funds to
                                                            families.
       serve youth, such as community mental
       health centers, and juvenile justice, child
       welfare, and foster care programs.               being gay, lesbian, or bisexual is not a disease
       Clarification that existing                      and cannot be            The Court awarded the
       nondiscrimination policies prohibit the          plaintiffs financial compensation and prohibited
       practice of SOGI change efforts with             the organization from providing sexual
       minors. These legal claims of                    orientation change efforts.347
       discrimination have been based on the
                                                        Efforts to protect consumers through consumer
       theory that providing this ineffective and
                                                        protection laws have been taken at the federal
       harmful therapy is due solely to an
                                                        and state levels. At the federal level, the Biden
       individual s sexual orientation or gender        Administration is encouraging the Federal Trade
       identity.                                        Commission (FTC) to consider whether SOGI
In addition to federal and state legislative and        change efforts are an unfair and deceptive
regulatory action, consumer protection laws             practice and whether to issue consumer
have been suggested as a mechanism for                  warnings or notices. Additionally, in the 117th
ending the use of SOGI change efforts. This             Congress, bills were introduced that define
strategy extends beyond prohibiting change              SOGI change efforts as unfair or deceptive acts
efforts by behavioral health professionals to           or practices under the jurisdiction of the FTC Act
affect any commercial act (for a fee), including        (Therapeutic Fraud Prevention Act of 2021;
those by unlicensed practitioners and groups.           HR.4146 and S.2242). Some advocates believe
                                                        that the FTC can act even without new
These efforts derive from a civil action in which a     legislation. In 2016, a complaint was filed with
New Jersey court ruled in 2015 that an                  the FTC alleging fraudulent misrepresentation
organization s sexual orientation change efforts        by a group that advertises change efforts.348,349
program violated the state s consumer fraud law
through multiple misrepresentations.347 The             At the state level, Illinois passed a ban on SOGI
Court ruled as a matter of law that scientific          change efforts with minors (Illinois Public Act
evidence demonstrated that being gay, lesbian,          099-0411).350 The law specifies that
or bisexual was not a mental disease or disorder        advertisements for sexual orientation change
and could not be changed. Thus, the Court               efforts that represent being gay, lesbian, or
found that a fraudulent misrepresentation was           bisexual as a disease or disorder for minors and
made every time an individual accepts payment           adults is a violation of the state s consumer fraud
for sexual orientation change efforts because           and deceptive business act. As of January 1,



                                                                                                              63
            Case 1:25-cv-00240-ACR          Document 72-4
                                                     57-1     Filed 03/07/25
                                                                    02/21/25      Page 65 of 113




     2023, jurisdictions banning SOGI change efforts        health benefits associated with receipt of
     with minors included California, Colorado,             gender-affirming care, such as reduced
     Connecticut, Delaware, District of Columbia,           depression and decreased risk for suicide.
     Hawaii, Illinois, Maine, Maryland, Massachusetts,      Withholding timely gender-affirming care when
     Nevada, New Hampshire, New Jersey, New                 indicated, withholding support for a gender-
     Mexico, New York, Oregon, Rhode Island, Utah,          affirming exploratory process, and/or withholding
     Vermont, Virginia, and Washington. Additionally,       support for social transition when desired can be
     jurisdictions with partial bans on SOGI change         harmful.25,351,352,353 However, some states have
     efforts included Michigan, Minnesota, North            introduced or passed laws that ban access to
     Carolina, North Dakota, Pennsylvania, Puerto           this medically necessary care.107,354
     Rico, and Wisconsin.344
                                                            Policies that seek to categorically ban gender-
     Ensuring Access to Evidence-based                      affirming medical care or penalize providers,
     Care                                                   parents, and caregivers who provide or seek
                                                            gender-affirming medical care pose serious
     Beyond ending harmful practices such as SOGI
                                                            risks.352,353 Prohibitions on or penalties for
     change efforts, it is vital that LGBTQI+ youth
                                                            providing or seeking out medically necessary
     have access to evidence-based care. Removing
                                                            and therapeutically indicated best practices
     limits to appropriate care is multifaceted and
                                                            place behavioral health and medical providers
     may vary based on multiple factors, including
                                                            and parents and caregivers in situations that
     other health inequities such as those based on
                                                            conflict with evidence-based professional
     income and race/ethnicity, among others. Policy
                                                            guidelines, ethics, and standards.353 Lack of
     levers to improve access include:
                                                            access to such care poses serious behavioral
            Preventing bans on gender-affirming             health risks to youth of diverse sexual
            care

            Improving access to gender-affirming                Groups that have stated opposition to
            care in health plan benefits across all             policies that limit access to or ban
            payors
                                                                appropriate gender-affirming care include
            Ensuring LGBTQI+ youth can access                   American Academy of Child and
            appropriate care and support in child               Adolescent Psychiatry, American Academy
            welfare programs                                    of Family Physicians, American Academy
                                                                of Pediatrics, American College of
            Increasing professional training and                Obstetricians and Gynecologists,
            education to improve access to and                  American College of Physicians, American
            quality of behavioral health care                   Medical Association, American
            especially for gender-diverse and                   Osteopathic Association, American
            transgender youth                                   Psychiatric Association, American
                                                                Psychological Association, Endocrine
     Preventing Bans on Gender-Affirming
                                                                Society and Pediatric Endocrine Society,
     Care
                                                                U.S. Professional Association for
     Gender-affirming care is supported by extensive            Transgender Health, and World
     research, and based on the individual child s or           Professional Association for Transgender
     adolescent s needs, may be medically                       Health.106
     necessary. Evidence has demonstrated mental



64
       Case 1:25-cv-00240-ACR           Document 72-4
                                                 57-1     Filed 03/07/25
                                                                02/21/25      Page 66 of 113




orientation and/or gender identity and their            on SOGI change efforts are consistent with
families, parents, and caregivers, such as an           existing professional guidelines and resolutions
increased risk of suicidal ideation, depression,        and prohibit potentially harmful efforts while
and trauma.107,342,352,353,355                          permitting behavioral health providers to deliver
                                                        evidence-based care to LGBTQI+ youth.
As noted above, the Biden Administration has
                                                        Numerous professional associations and experts
taken multiple steps to improve behavioral
                                                        have spoken out against laws or other
health care by ensuring access to medically
                                                        government actions that limit access to,
necessary and evidence-based care for
                                                        penalize, or ban appropriate gender-affirming
LGBTQI+ youth. This includes policies to
                                                        care (see text box).
address state restrictions in such care. For
example, the June 15, 2022, Executive Order on          Improving Access to Behavioral Health
Advancing Equality for Lesbian, Gay, Bisexual,          and Gender-Affirming Care
Transgender, Queer, and Intersex Individuals
                                                        LGBTQI+ youth and adults face serious barriers
includes a charge to HHS to ensure that
                                                        to accessing behavioral health care as well as
LGBTQI+ youth and their families have access
                                                        gender-affirming care. Access to care is
to medically necessary care including mental
                                                        especially limited for gender-diverse youth and
health care, consistent with applicable law.14
                                                        their families who seek gender-affirming care.359
HHS has taken steps to maintain access to               The Federal Government and many states have
evidence-based care, especially for transgender         taken steps to reduce barriers to gender-
youth. HHS has provided child welfare                   affirming care, improve behavioral health equity,
professionals, healthcare providers, and states         and reduce healthcare discrimination. Several
and localities with information on the federal          federal and state laws have been interpreted to
protections that exist to ensure that civil rights      or expressly prohibit insurance discrimination
are protected and LGBTQI+ youth receive                 based on SOGI.
medically necessary and evidence-based
                                                        The Executive Order on Advancing Equality for
care.342,343
                                                        Lesbian, Gay, Bisexual, Transgender, Queer,
As an example of efforts to maintain access to          and Intersex Individuals makes family
evidence-based care, the U.S. Department of             counseling and support of LGBTQI+ youth a
Justice (DOJ) intervened in a federal lawsuit           public health priority.14 This Executive Order
challenging a recently enacted Alabama law,             charges HHS to seek ways to increase the
Senate Bill (S.B.) 184, that makes it a felony to       availability of such family counseling and
cause or provide gender-affirming care to               support programs in federally funded, human
transgender youth under the age of 19.356,357 In        services, and child welfare programs among
May 2022, the court issued a preliminary                other actions.
injunction preventing the law from being
                                                        Aligned with the Executive Order on Preventing
enforced Additionally, the DOJ filed a statement
                                                        and Combating Discrimination on the Basis of
of interest and amicus brief in a case
                                                        Gender Identity or Sexual Orientation,15 HHS
challenging an Arkansas law banning gender-
                                                        issued a Notice of Proposed Rulemaking in July
affirming care.358
                                                        2022 related to Section 1557 of the ACA, which
State bans on gender-affirming care are unlike          prohibits discrimination on the basis of race,
laws banning SOGI change efforts. Legal bans            color, national origin, sex, disability, or age in



                                                                                                             65
            Case 1:25-cv-00240-ACR            Document 72-4
                                                       57-1      Filed 03/07/25
                                                                       02/21/25         Page 67 of 113




                                                              employees and dependents and, while almost
                                                              half have such protections, many do not.364

                                                              Research on health coverage in private
                                                              insurance and federal and state health financed
                                                              programs indicates that youth and adults might
                                                              not have access to comprehensive gender-
                                                              affirming care or in-network providers with
                                                              LGBTQI+ expertise.246,359,361,362,363,365,366,367,368,369
                                                              Consequently, experts have suggested that
                                                              legislative and regulatory steps be taken to
                                                              ensure that all such plans reimburse medically
                                                              necessary treatment for LGBTQI+ individuals of
                                                              all ages, including gender-affirming care.364,369

                                                              One way to improve treatment options is through
                                                              state initiatives, such as explicitly including
                                                              gender-affirming care as a covered service in
                                                              the          benchmark plan in individual and
                                                              small group market plans. In 2021, the Centers
                                                              for Medicare & Medicaid Services (CMS)
                                                              approved Colorado s expansion of the Essential
                                                              Health Benefit (EHB) benchmark plan that aims
                                                              to improve access for client-centered gender-
                                                              affirming care.367 This change to the EHB
     certain health programs and activities. The              benchmark plan aims to expand access to a
     Proposed Rulemaking would codify protections             wider range of services for transgender
     against discrimination on the basis of sex as            individuals in addition to benefits already
     including discrimination on the basis of sexual          covered. The state is also expanding covered
     orientation and gender identity, which is                services in the state benchmark plan to include
     consistent with the Supreme           decision in        mental wellness exams, which will help all
               340
     Bostock. This type of federal policy                     individuals not only those who are LGBTQI+.368
     addressing sex, sexual orientation, and gender
     identity nondiscrimination can help mitigate gaps        Training and Education to Improve Care
     in state protections.                                    A key priority is to expand the number of
     Almost half of all states prohibit the exclusion of      behavioral health providers who have the
     gender-affirming care by private health                  expertise to work with LGBTQI+ children, youth,
     insurance plans subject to state oversight.361           and their families. Research indicates that only a
     Other state laws include protections against             small percentage of gender-diverse youth
     discrimination in private health insurance by            seeking transition medical services receive them
     expressly prohibiting discrimination based on            as minors.365 One aspect of this problem is the
     sexual orientation and gender identity.361,362,363       lack of behavioral health providers with training
     Experts have also suggested that states and              and expertise in this area.
     localities provide such benefits to their own


66
       Case 1:25-cv-00240-ACR           Document 72-4
                                                 57-1      Filed 03/07/25
                                                                 02/21/25       Page 68 of 113




Federal Government initiatives have expanded            responsiveness is especially important to
education and training opportunities and the            address unique stressors and behavioral health
June 15, 2022, Executive Order on Advancing             inequities within the sexual- and gender-diverse
Equality for Lesbian, Gay, Bisexual,                    community, especially in communities of
Transgender, Queer, and Intersex Individuals            color.198,373
charges HHS with providing training and
                                                        Behavioral health providers with competence in
technical assistance in promising evidenced-
                                                        the related aspects of religion, spirituality, and
based care, including mental health care.14 The
                                                        sexual- and gender-diverse issues could assist
SAMHSA Center of Excellence on LGBTQ+
                                                        families and individuals in reducing identity and
Behavioral Health Equity provides training and
                                                        family conflicts that can
consultation for a variety of behavioral health
                                                        arise.373,374,375,376,377,378,379,380 Linkages among
providers.370 Scientific associations have
                                                        community institutions, professional and
developed resources and practice guidelines on
                                                        scientific groups, behavioral health providers,
treatment of LGBTQI+ children, adolescents,
                                                        and LGBTQI+ groups that are respectful and
and adults that are useful for professional
                                                        open can improve therapeutic services for
education and practice (see Appendix C).
                                                        LGBTQI+ youth and families. One possibility
Several training programs offer education to a          includes collaborations among behavioral health
wide variety of providers working with LGBTQI+          and community leaders and professionals in
youth and their families.370 These trainings can        gender-affirming care to increase understanding
continue to be expanded to improve professional         about clients from a variety of cultural
competence in providing services to this                traditions.381 Providing education in universities
population. For example, APA Division 17                and educational facilities attuned to diverse
(Counseling Psychology) Special Task Group              communities may be a start to initiating dialogue
Making Room at the Table: Trans/Nonbinary               and improving care. Some success has been
Pipeline to Counseling Psychology developed A           achieved with dialogues seeking common
Resource for Incorporating Trans and Gender-            ground between scientists and such groups
Diverse Issues in Counseling Psychology                 rooted in common goals such as child health
Curricula. 371                                          and optimal child development.381,382

National and state professional associations,           Improving Behavioral Health through
including HHS grantees, also maintain                   Antidiscrimination Policies
webpages with training information on LGBTQI+
                                                        Youth of diverse sexual orientation and/or
issues, including postgraduate and peer
                                                        gender identity are negatively affected by
education resources.371,372 Such programs could
                                                        policies that sanction or sustain discrimination
also expand specialty workforce training
                                                        based on sexual orientation and gender
opportunities in pediatric and LGBTQI+
                                                        identity,2 even increasing the risk of suicide,59,291
concerns across the professional lifecycle from
                                                        Although stigma and discrimination can lead to
graduate student to seasoned practitioner.
                                                        behavioral health concerns, poor behavioral
Given the diversity within children, adolescents,       health is not inherent to sexual and gender
and their families, trainings that recognize            minorities. Additionally, exposure to school-
differences in culture, ethnicity, geography, race,     based bullying and exclusion based on sexual-
and other factors are critical for effective            and gender-diverse prejudice has an adverse
behavioral health treatment. Increasing cultural        impact on the behavioral health of school-aged


                                                                                                                67
            Case 1:25-cv-00240-ACR             Document 72-4
                                                        57-1     Filed 03/07/25
                                                                       02/21/25      Page 69 of 113




                                                               and antibullying policies and expanded benefits
         Policies that stigmatize, restrict, or exclude        for LGBTQI+ state employees.392 State efforts
         gender minority youth are harmful to                  have also included:
         children and adolescents.
                                                                      Bans on discrimination by state-licensed
                                                                      healthcare providers
     youth.48,383,384 Transgender and gender-diverse                  Bans on SOGI change efforts
     youth face additional discrimination and                         Nondiscrimination laws based on sexual
     disadvantage due to the longstanding stigma                      orientation and gender identity
     toward gender-diverse individuals.355 However,                   Supports for same-sex families
     appropriate protections from discrimination allow                Antibullying laws
     individuals of diverse sexual orientation and/or                 Inclusive curriculum in schools
     gender identity of all ages to thrive.193,212,354
                                                               Local governments have also taken steps to
     Important scientific research indicates that              reduce bias and discrimination based on sexual
     policies that reduce discrimination and advance           orientation and gender identity and expand
     equal rights have positive effects on behavioral          protective policies at the local level.364
     health. Research studies indicate that enacting
                                                               Improving Behavioral Health Through
     protective policies that safeguard individuals
                                                               Support for Families, Caregivers, Schools,
     from discrimination and violence lead to                  and Communities
     improved physical and mental health for sexual-
     and gender-diverse youth and adults.210,385,386,387       Research summarized earlier in this report
     Federal and state laws that equalize civil rights         indicates that families, schools, and
     and the status of LGBTQI+ individuals are linked          communities contribute to the behavioral health
     to the improved behavioral health noted above.            of LGBTQI+ youth. Efforts can facilitate positive
     Some states require health insurance plans to             behavioral health by providing a climate of
     cover gender-affirming care and include                   support and acceptance. Families, schools, and
     protections against discrimination in private             communities can undermine behavioral health
     health insurance by expressly prohibiting                 through rejection or discrimination, which have
     discrimination based on sexual orientation and            adverse health effects. Policies that increase the
     gender identity.361                                       dissemination of resources to families,
                                                               communities, and schools to encourage support
     Steps have been taken at the federal, state, and          and acceptance of LGBTQI+ youth is a high
     local levels to expand equalizing policies. At the        priority. For example, the June 15, 2022,
     federal level, the Biden Administration has               Executive Order on Advancing Equality for
     issued important Executive Orders, memoranda,             Lesbian, Gay, Bisexual, Transgender, Queer,
     and public statements to reduce discrimination            and Intersex Individuals includes initiatives that
     toward individuals with diverse sexual                    aim to increase such family counseling and
     orientations and/or gender identities and support         information.14
     LGBTQI+ civil rights.14,337,341,342,388,390 In the
     117th Congress, The Equality Act (H.R. 5) was             Interventions to Support Children and
     introduced and would have explicitly prohibited           Families
     discrimination toward LGBTQI+ individuals.391             Families play an important protective role in
     Some states have adopted antidiscrimination               child development and benefit from information



68
       Case 1:25-cv-00240-ACR          Document 72-4
                                                57-1     Filed 03/07/25
                                                               02/21/25      Page 70 of 113




about how to appropriately help their children.        can alert families, caregivers, child welfare
The Family Acceptance Project provides such            professionals, schools, and communities on the
resources through publications for diverse             risks of family rejection and SOGI change efforts
families, which are available in multiple              and the benefits of recognizing sexual
languages.393 Other resources include Lead with        orientation and gender development and access
Love, PATHS and AFFIRM Caregiver (see                  to affirming care.
Appendix C), and information offered by
                                                       Healthcare providers can offer age-specific
SAMHSA394 and the Centers for Disease Control
                                                       guidance to parents and guardians to help them
and Prevention.395 The American Psychological
                                                       understand growth- and development-related
Association provides a guide for parents in
                                                       expectations associated with healthy behaviors
choosing an appropriate therapist with gender
                                                       and disease prevention; this is known as
expertise.396
                                                       anticipatory guidance.399 Pediatricians and
Education for families, caregivers, child welfare      behavioral health providers have urged for more
professionals, and individuals can be tailored to      anticipatory guidance400 that pediatricians and
the specific needs of diverse                          early childhood and educational providers can
communities.396,397,398 One option is a public         provide to inform parents about sexual
health campaign to educate parents and                 orientation and gender identity, as well as their
caregivers on appropriate treatment options that       LGBTQI+ child s needs. This would aim to
are safe and effective for youth. Such a program       enhance family support and reduce rejection.401




                                                                                                           69
            Case 1:25-cv-00240-ACR          Document 72-4
                                                     57-1     Filed 03/07/25
                                                                    02/21/25      Page 71 of 113




     The American Academy of Pediatrics urges                  2. Enable full participation and access to
     pediatricians to assess risk factors related to              school activities including athletics and
     child maltreatment in their general assessments              resources for all students and school
     of children and adolescents.402 Seeking gender-              personnel consistent with their gender
                                                                  identity, including use of school facilities
     affirming assessment, consultation, and care is
                                                                  (e.g., bathrooms, locker rooms) that align
     not maltreatment.351,352 The Information
                                                                  with their gender identity.
     Memorandum issued March 2, 2022, by HHS
     makes clear that state child welfare systems              3. Establish protective policies, such as
     should support LGBTQI+ youth and ensure their                antibullying and antidiscrimination
     safety.342                                                   policies, that explicitly include protections
                                                                  for sexual orientation, gender identity,
     Interventions to Support Youth in                            and gender expression.
     Schools
                                                               4. Provide high-quality, evidence-informed
     Education and behavioral health associations,                LGBTQI+ professional development for
     professionals, and researchers across the                    school staff.
     country have urged proactive steps to support
                                                               5. Develop school resources for LGBTQI+
     and protect LGBTQI+ youth and other students
                                                                  youth and connect to supportive resources
     through the inclusion of policies, resources, and            and information, such as GSAs, school
     training that provide information, safety, and               clubs that are inclusive of LGBTQI+
     support.355,360,403,404 These policies have been             people, and age-appropriate curriculum
     evaluated over the past decade in nationwide                 that is inclusive of LGBTQI+ people.
     samples and are found to reduce victimization
                                                                   Title IX prohibits sex-based
     and behavioral health problems and improve
                                                                   discrimination in any school or any other
     mental health.197,286,287,405,406
                                                                   education program that receives funding
     The Society for Research in Child                             from the Federal Government. HHS and
     Development,355 the American Psychological                    the Department of Education have
     Association,360 the American Counseling                       clarified legal requirements with their
                                                                   interpretation of Title IX prohibiting
     Association,405 the National Association of
                                                                   discrimination on the basis of sexual
     School Psychologists, and medical professionals
                                                                   orientation and gender identity. Strong
     recommend crucial educational policies to
                                                                   antidiscrimination policies can protect
     create a positive and healthy environment for all             LGBTQI+ youth and their families from
     youth, especially those who are LGBTQI+ or                    discrimination in federal programs.
     have emerging sexual orientation or gender
     identities. These include the following:               The Federal government has created a website
                                                            with information on bullying prevention, including
        1. Establish and implement supportive               information on bullying of LGBTQI+ youth, ways
           policies that provide guidelines for
                                                            to create safe school environments, and
           respectful interactions (in-person and
                                                            applicable federal civil rights laws:
           online), promote acceptance of all sexual
                                                            stopbullying.gov. Such nondiscrimination efforts
           orientations and gender identities and
           expressions, promote the use of                  to ensure the safety and well-being of LGBTQI+
           identified pronouns, and respect                 youth and their families in schools and other
           confidentiality and privacy.                     federal programs are consistent with existing




70
       Case 1:25-cv-00240-ACR             Document 72-4
                                                   57-1     Filed 03/07/25
                                                                  02/21/25      Page 72 of 113




behavioral health research and professional               and addressing health inequities. This is
association recommendations.354,355,406                   especially true when addressing the diversity
                                                          within children, adolescents, and their families
Some states and localities have established
                                                          based on cultural background, ethnicity, race,
such education policies, but they are far from
                                                          geography, and other aspects of identity.
universal. More states have added protective
policies over the past 7 years, but a majority of         Progress has been made in federal, state, and
states do not have policies to protect LGBTQI+            municipal data collection and research as
students from bullying or discrimination.                 demographic information on sexual orientation
Inclusive policies are still rare at the state level.     and gender identity has been added to some
Some states are considering and enacting laws             research tools and health records.411 In 2023,
and policies that are inconsistent with the above         the Federal Government released the first-ever
empirically based recommendations, such as                Federal Evidence Agenda for LGBTQI+ Equity,
those that prevent discussion of LGBTQI+                  a roadmap that federal agencies will use to
issues or exclude LGBTQI+ youth from activities           ensure they are collecting the data and evidence
or athletics. Given the strength of the evidence          they need to improve the lives of LGBTQI+
of the benefits of the protective policies, policies      Americans.412 Other existing efforts include the
that stigmatize youth of diverse sexual                   Centers for Disease Control and
orientation and/or gender identity pose risks to          Youth Risk Behavior Survey (YRBS), which
their health.353,354,355                                  includes national, state, and local surveys,
                                                          assesses key behavioral and other health risks
Future Directions: Research to                            in youth and includes questions on sexual
Improve Care                                              orientation and sex of sex partners in the
Scientific research can advance our                       national survey.413 However, although the state
understanding of LGBTQI+ youth and improve                and local surveys are currently conducted in 47
their behavioral health through prevention and            states and 28 large urban school districts, not all
new interventions.                                        states and local jurisdictions include sexual
                                                          orientation and sex of sex partner questions.
Increasing Research Insights Through                      Questions on gender identity and self-
Inclusive Demographic Questions                           identification as transgender are available for
Health policy experts have called for data                states and local jurisdictions to include in their
collection and priorities that are inclusive of           YRBS surveys, consistent with the Protection of
LGBTQI+ people to ensure research accuracy                Pupil Rights Amendment, and utilization of those
and health equity.407,408,409,410 Inclusive data          questions has been increasing during each
collection and research policies support                  administration of the survey.
consistent collection of demographic
                                                          There are resources for addressing this gap in
information, including information about
                                                          data collection on sexual orientation and gender
respondent sexual orientation and gender
                                                          identity. The National Academies report,
identity, regardless of whether the survey is
                                                          Measuring Sex, Gender Identity, and Sexual
focused on LGBTQI+ populations. Having
                                                          Orientation, commissioned by the National
accurate data and information about sexual
                                                          Institutes of Health (NIH), provides
orientation and gender identity improves public
                                                          recommendations on how to formulate
policies by identifying specific behavioral health
                                                          appropriate questions regarding sexual
needs, preventing adverse health conditions,


                                                                                                                71
            Case 1:25-cv-00240-ACR           Document 72-4
                                                      57-1      Filed 03/07/25
                                                                      02/21/25      Page 73 of 113




     orientation and gender identity to address the          characteristics or intersex       and
     complexity of diversity within these                    underscored the need to collect those data.412
     communities.31 For example, an important
                                                             Limited research has considered economic
     recommendation is ensuring that approaches to
                                                             impact of SOGI change efforts, which could be
     SOGI measurement and data collection are
                                                             expanded. A recent study found negative
     tested and validated in youth populations. Given
                                                             economic consequences for those adolescents
     the diversity of the LGBTQI+ population, it is
                                                             and young adults who experience SOGI change
     important to use an intersectional approach that
                                                             efforts when compared to those with no
     considers multiple aspects of diversity and
                                                             intervention or affirming interventions. These
     demography (e.g., cultural background, values,
                                                             negative economic impacts include the costs
     ethnicity, geography, and race).
                                                             associated with adverse events as well as the
     Selected LGBTQI+ Research Topics                        expense of the efforts.415 Further, despite its lack
                                                             of efficacy and its serious harms to clients, SOGI
     Studies of LGBTQI+ youth have begun to
                                                             change efforts appear to be lucrative, which may
     examine important developmental and clinical
                                                             serve as an inducement to some providers.415
     needs in these populations. Focused research
     can expand our understanding of these youth             Evaluations of clinical approaches and
     and guide clinical interventions. For example,          development of best practices can be fostered
     studies of development of transgender children          by funding research collaborations; this type of
     provide new windows into our understanding of           research can lead to improved care.213,416 Key
     gender development and well-being in                    research areas should also include suicide
     childhood.188 Research to elucidate how                 prevention, evidence-based trauma-focused
     intersecting sociocultural factors and                  interventions, and approaches to counter
     experiences (e.g., race, ethnicity, socioeconomic       minority stress. Studies of community-based
     status, cultural background and values)                 populations provide an emerging understanding
     influence sexual orientation and gender                 of the key developmental concerns. A resource
     development is in its early stages. To better           for those conducting LGBTQI+ research is the
     understand the needs of sexual and gender               NIH Sexual and Gender Minority Research
     minority children and adolescents, new lines of         Office. NIH has also developed tools to study
     research can include sexual- and gender-                social determinants of health.417 A National
     diverse children and adolescents from diverse           Academies report includes recommendations on
     family backgrounds, especially from general             key areas of LGBTQI+ research.31
     populations rather than those limited to samples
     of people receiving clinical care.

     Intersex individuals face known health
     disparities although research that specifically
     focuses on intersex individuals is limited and
     needs to be expanded both broadly and across
     time within longitudinal studies.45,414 The
                       Federal Evidence Agenda on
     LGBTQI+ Equity identified a lack of national
     surveys that collect data about             in sex



72
       Case 1:25-cv-00240-ACR            Document 72-4
                                                  57-1     Filed 03/07/25
                                                                 02/21/25      Page 74 of 113




Summary and Conclusions                                  of such interventions, and evidence shows that
                                                         they can cause severe harm. Appropriate
SAMHSA is committed to eliminating health
                                                         therapeutic approaches to working with
inequities experienced by marginalized
                                                         LGBTQI+ youth include:
communities, including LGBTQI+ youth. To build
a healthy and supportive environment for all                    Providing accurate information on sexual
youth, families, caregivers, providers, and                     orientation and gender identity and
educators need resources and accurate                           expression
information to inform healthy decision making.                  Identifying sources of and working to
Two key strategies that can help prevent                        reduce distress
adverse outcomes and support healthy                            Supporting adaptive coping
development for LGBTQI+ youth are:
                                                                Supporting youth as they learn more
   1. Strong and positive family, school, and                   about their sexual orientation and gender
      community engagement                                      identity, and supporting families in
                                                                accessing gender-affirming care for their
   2. Appropriate and supportive therapeutic
      interventions by physical and behavioral                  transgender child when indicated
      health providers                                          Helping youth navigate sexual
                                                                orientation, gender identity and
Policies at the local, state, and federal levels are
                                                                expression within the context of other
needed to foster supportive, affirming
                                                                intersecting identities
environments and ensure access to appropriate
care.                                                    Additionally, providers can help increase family
                                                         and school support, and reduce family,
These strategies must and can be grounded in
                                                         community, and social rejection of LGBTQI+
research. Being a sexual or gender minority, or          youth. Social transition and medical
identifying as LGBTQI+, is not a mental disorder.        interventions, including pubertal suppression
Variations in sexual orientation, gender identity,       and hormone therapy, are additional therapeutic
and gender expression are normal and healthy.            approaches that may be medically necessary,
Sexual- and gender-diverse youth have unique             appropriate, and beneficial for gender minority
health and behavioral health needs and may
                                                         youth based on the individual           needs.
experience distress due to discrimination and
                                                         Withholding timely gender-affirming medical
barriers to support that remain widespread for
                                                         care when indicated, withholding support for a
LGBTQI+ youth. In addition, transgender and
                                                         gender-affirming exploratory process, and/or
gender-diverse youth may experience distress
                                                         withholding support of social transition when
caused by the incongruence between their
                                                         desired, can be harmful. These actions may
gender identity and physical body.
                                                         exacerbate gender dysphoria.
Current research, evolving clinical expertise, and
                                                         Beyond ending harmful change efforts, it is
expert consensus underscore that efforts to
                                                         important to build greater social acceptance of
attempt to change a          sexual orientation,
                                                         LGBTQI+ youth across all environments where
gender identity, or gender expression are never
                                                         they live, learn, and play; adopt appropriate and
appropriate. No evidence supports the efficacy




                                                                                                             73
            Case 1:25-cv-00240-ACR          Document 72-4
                                                     57-1     Filed 03/07/25
                                                                    02/21/25      Page 75 of 113




     supportive interventions; and provide targeted         supportive environments and working to
     resources and accurate developmentally                 eliminate negative social attitudes will reduce
     informed information for children, adolescents,        health inequities and improve the health and
     their families, and providers. Building better         well-being of LGBTQI+ youth.




74
      Case 1:25-cv-00240-ACR              Document 72-4
                                                   57-1        Filed 03/07/25
                                                                     02/21/25     Page 76 of 113



                                                                 change efforts, adverse childhood
Appendix A: References                                           experiences, and suicide ideation and attempt
1.   Day JK, Ioverno S, Russell ST. Safe and                     among sexual minority adults, United States,
     supportive schools for LGBT youth:                          2016-2018. Am J Public Health.
     Addressing educational inequities through                   2020;110(7):e1-e7.
     inclusive policies and practices. J Sch                     https://doi.org/10.2105/AJPH.2020.305637
     Psychol. 2019;74:29-43.
     https://doi.org/10.1016/j.jsp.2019.05.007            9.     Green AE, Price-Feeney M, Dorison SH, Pick
                                                                 CJ. Self-reported conversion efforts and
2.   Hatzenbuehler ML. The influence of state                    suicidality among US LGBTQ youths and
     laws on the mental health of sexual minority                young adults, 2018. Am J Public Health.
     youth. JAMA Pediatr. 2017;171(4):322-324.                   2020;110(8):1221-1227.
     https://doi.org/10.1001/jamapediatrics.2016.4               https://doi.org/10.2105/AJPH.2020.305701
     732
                                                          10.    Ryan C, Toomey RB, Diaz RM, Russell ST.
3.   Russell ST, Fish JN. Mental health in lesbian,              Parent-initiated sexual orientation change
     gay, bisexual, and transgender LGBT youth.                  efforts with LGBT adolescents: Implications
     Annu Rev Clin Psychol. 2016;12(1):465-487.                  for young adult mental health and adjustment.
     https://doi.org/10.1146/annurev-clinpsy-                    J Homosex. 2020;67(2):159-173.
     021815-093153                                               https://doi.org/10.1080/00918369.2018.1538
                                                                 407
4.   Meyer IH. Prejudice, social stress, and mental
     health in lesbian, gay, and bisexual                 11.    Salway T, Ferlatte O, Gesink D, Lachowsky
     populations: Conceptual issues and research                 NJ. Prevalence of exposure to sexual
     evidence. Psychol bull. 2003;129:674-697.                   orientation change efforts and associated
     https://doi.org/10.1037/0033-2909.129.5.674                 sociodemographic characteristics and
                                                                 psychosocial health outcomes among
                                                                 Canadian sexual minority men. Can J
5.   American Psychiatric Association. Diagnostic
                                                                 Psychiatry. 2020;65(7):502-509.
     and statistical manual of mental disorders,:
                                                                 https://doi.org/10.1177/0706743720902629
     DSM-5TR. 5th ed. Text Revision. Washington,
     DC, American Psychiatric Association; 2022.
     https://doi.org/10.1176/appi.books.97808904          12.    Alempijevic D, Beriashvili R, Beynon J, et al.
     25787                                                       Statement of the Independent Forensic
                                                                 Expert Group on Conversion
                                                                 Therapy. Torture. 2020;30(1):66-78.
6.   Substance Abuse and Mental Health Services
                                                                 https://doi.org/10.7146/torture.v30i1.119654
     Administration. Ending Conversion Therapy:
     Supporting and Affirming LGBTQ Youth. HHS
     Publication No. (SMA) 15-4928. Substance             13.    United Nations. Independent Expert on
     Abuse and Mental Health Services                            protection against violence and discrimination
     Administration; 2015.                                       based on sexual orientation and gender
     https://store.samhsa.gov/sites/default/files/d7/            identity. 2020. Accessed February 12, 2022.
     priv/sma15-4928.pdf. Accessed February 11,                  https://www.ohchr.org/en/issues/sexualorienta
     2022.                                                       tiongender/pages/index.aspx

7.   Przeworski A, Peterson E, Piedra A. A                14.    The White House. Executive Order on
     systematic review of the efficacy, harmful                  Advancing Equality for Lesbian, Gay,
     effects, and ethical issues related to sexual               Bisexual, Transgender, Queer, and Intersex
     orientation change efforts. Clin Psychol.                   Individuals. Published June 15, 2022.
     2021;28(1):81-100.                                          https://www.whitehouse.gov/briefing-
     https://doi.org/10.1111/cpsp.12377                          room/presidential-
                                                                 actions/2022/06/15/executive-order-on-
                                                                 advancing-equality-for-lesbian-gay-bisexual-
8.   Blosnich JR, Henderson ER, Coulter R,
                                                                 transgender-queer-and-intersex-individuals/
     Goldbach JT, Meyer IH. Sexual orientation


                                                                                                                  75
            Case 1:25-cv-00240-ACR             Document 72-4
                                                        57-1     Filed 03/07/25
                                                                       02/21/25       Page 77 of 113



     15.   The White House. Executive Order on                 22.   American Psychological Association. APA
           Preventing and Combating Discrimination on                resolution on gender identity change efforts.
           the Basis of Gender Identity or Sexual                    2021. Accessed February 11, 2022.
           Orientation.                                              https://www.apa.org/about/policy/resolution-
           https://www.whitehouse.gov/briefing-                      gender-identity-change-efforts.pdf
           room/presidential-
           actions/2021/01/20/executive-order-                 23.   American Psychological Association. APA
           preventing-and-combating-discrimination-on-               resolution on sexual orientation change
           basis-of-gender-identity-or-sexual-orientation.           efforts. 2021.
           Published January 20, 2021.                               https://www.apa.org/about/policy/resolution-
                                                                     sexual-orientation-change-efforts.pdf.
     16.   Diamond LM. Sexual fluidity. In: Bolin A,                 Accessed February 11, 2022.
           Whelehan P, eds. The International
           Encyclopedia of Human Sexuality. Wiley-             24.   American Psychological Association. Report
           Blackwell; 2015.                                          of the American Psychological Association
           https://doi.org/10.1002/9781118896877.wbieh               Task Force on Appropriate Therapeutic
           s452                                                      Responses to Sexual Orientation. 2009.
                                                                     Accessed March 26, 2022.
     17.   Vrangalova Z, Savin-Williams RC. Mostly                   https://www.apa.org/pi/lgbt/resources/therap
           heterosexual and mostly gay/lesbian:                      eutic-response.pdf
           Evidence for new sexual orientation identities.
           Arch Sex Behav. 2012;41(1):85-101.                  25.   Coleman E, Bockting W, Botzer M, et al.
           https://doi.org/10.1037/0033-2909.129.5.674               Standards of care for the health of
                                                                     transsexual, transgender, and gender-
     18.   American Psychological Association.                       nonconforming people, Version 7. Int J
           Guidelines for psychological practice with                Transgend Health. 2012;13(4):165-232.
           transgender and gender nonconforming                      https://doi.org/10.1080/15532739.2011.7008
           people. Am Psychol. 2015.                                 73
           https://doi.org/10.1037/a0039906
                                                               26.   Moskowitz DA, Rendina HJ, Alvarado Avila A,
     19.   Knudson G, De Cuypere G, Bockting W.                      Mustanski B. Demographic and social factors
           Recommendations for revision of the DSM                   impacting coming out as a sexual minority
           diagnoses of gender identity disorders:                   among Generation-Z teenage boys. Psychol
           Consensus statement of the World                          Sex Orientat Gend Divers. 2022;9(2):179
           Professional Association for Transgender                  189. https://doi.org/10.1037/sgd000048.
           Health. Int J Transgend Health.
           2010;12(2):115-118.                                 27.   Pew Research Center. The coming out
           https://doi.org/10.1080/15532739.2010.50921               experience. In: A Survey of LGBT Americans:
           5                                                         Attitudes, Experiences and Values in
                                                                     Changing Times. Washington DC: Pew
     20.   American Psychiatric Association. Press                   Research Center, June 2013. Accessed
           release regarding           of the diagnosis              March 20, 2023.
           of homosexuality from the second edition of               https://www.pewresearch.org/social-
           the Diagnostic Statistical         December               trends/2013/06/13/chapter-3-the-coming-out-
           15, 1973.                                                 experience/

     21.   Conger JJ. Proceedings of the American              28.   Jones JM. U.S. LGBT identification steady at
           Psychological Association, Incorporated, for              7.2%. Gallup February 22, 2023. Accessed
           the year 1974: Minutes of the annual meeting              March 20, 2023.
           of the Council of Representatives. Am                     https://news.gallup.com/poll/470708/lgbt-
           Psychol. 1975;30:620-651.                                 identification-steady.aspx.
           https://doi.org/10.1037/h0078455




76
       Case 1:25-cv-00240-ACR             Document 72-4
                                                   57-1     Filed 03/07/25
                                                                  02/21/25        Page 78 of 113



29.   Adelson SL, American Academy of Child and           36.   Olson KR, Gülgöz S. Early findings from the
      Adolescent Psychiatry (AACAP) Committee                   TransYouth Project: Gender development in
      on Quality Issues (CQI). Practice parameter               transgender children. Child Dev Persp.
      on gay, lesbian, or bisexual sexual                       2018;12(2):93-97.
      orientation, gender nonconformity, and                    https://doi.org/10.1111/cdep.12268
      gender discordance in children and
      adolescents. J Am Acad Child Adolesc                37.   Katz-Wise SL, Budge SL, Orovecz JJ,
      Psychiatry. 2012;51(9):957-974.                           Nguyen B, Nava-Coulter B, Thomson K.
      https://doi.org/10.1016/j.jaac.2012.07.004                Imagining the future: Perspectives among
                                                                youth and caregivers in the trans youth family
30.   Calzo JP, Blashill AJ. Child sexual orientation           study. J Couns Psychol. 2017;64(1):26-40.
      and gender identity in the Adolescent Brain               https://doi.org/10.1037/cou0000186
      Cognitive Development Cohort Study. JAMA
      Pediatr. 2018;172(11):1090-1092.                    38.   Kuper LE, Wright L, Mustanski B. Gender
      https://doi.org/10.1001/jamapediatrics.2018.2             identity development among transgender and
      496                                                       gender nonconforming emerging adults: An
                                                                intersectional approach. Int J
31.   National Academies of Sciences,                           Transgend. 2018;19(4):436-455.
      Engineering, and Medicine. Understanding                  https://doi.org/10.1080/15532739.2018.1443
      the Well-Being of LGBTQI+ Populations.                    869
      Washington, DC: The National Academies
      Press; 2020.                                        39.   Ehrensaft D. Exploring gender expansive
      https://nap.nationalacademies.org/catalog/25              expressions versus asserting a gender
      877/understanding-the-well-being-of-lgbtqi-               identity. In: Keo-Meier C, Ehrensaft D, eds.
      populations.                                              The gender affirmative model: An
                                                                interdisciplinary approach to supporting
32.   Bränström R, Pachankis JE. Country-level                  transgender and gender expansive children.
      structural stigma, identity concealment, and              American Psychological Association;
      day-to-day discrimination as determinants of              2018:37-53.
      transgender people's life satisfaction. Soc               https://doi.org/10.1037/0000095-003
      Psychiatry Psychiatr Epidemiol.
      2021;56(9):1537-1545.                               40.   Olson KR, Durwood L, Horton R, Gallagher N,
      https://doi.org/10.1007/s00127-021-02036-6                Devor AH.                gender five years after
                                                                their initial childhood social transitions.
33.   Camacho G, Reinka MA, Quinn DM.                           Pediatrics. 2022;50(2):e2021056082.
      Disclosure and concealment of stigmatized                 https://doi.org/10.1542/peds.2021-056082
      identities. Curr Opin Psychol. 2020;31:28-32.
      https://doi.org/10.1016/j.copsyc.2019.07.031        41.   Turban JL, Dolotina B, Freitag TM, King D,
                                                                Keuroghilian AS. Age of realization and
34.   Poushter J, Kent N. The global divide on                  disclosure of gender identity among
      homosexuality persists. Pew Research                      transgender adults. J Adolesc Health. 2023.
      Center Report. June 25, 2020.                             https://doi.org/10.1016/j.jadohealth.2023.01.
      https://www.pewresearch.org/global/2020/06/               023
      25/global-divide-on-homosexuality-persists/
                                                          42.   Li G, Kung KT, Hines M. Childhood gender-
35.   Kuper LE, Lindley L, Lopez X. Exploring the               typed behavior and adolescent sexual
      gender development histories of children and              orientation: A longitudinal population-based
      adolescents presenting for gender affirming               study. Dev Psychol. 2017;53(4):764-777.
      medical care. Clin Pract Pediatr Psychol.                 https://doi.org/10.1037/dev0000281
      2019;7(3):217-228.
      https://doi.org/10.1037/cpp0000290




                                                                                                                   77
            Case 1:25-cv-00240-ACR             Document 72-4
                                                        57-1     Filed 03/07/25
                                                                       02/21/25       Page 79 of 113



     43.   Xu Y, Norton S, Rahman Q. Childhood                 50.   Vance SR, Ehrensaft D, Rosenthal SM.
           gender nonconformity and the stability of self-           Psychological and medical care of gender
           reported sexual orientation from adolescence              nonconforming youth. Pediatrics.
           to young adulthood in a birth cohort. Dev                 2014;134(6):1184-1192.
           Psychol. 2021;57(4):557-569.                              https://doi.org/10.1542/peds.2014-0772
           https://doi.org/10.1037/dev0001164
                                                               51.   Gibson DJ, Glazier JJ, Olson KR. Evaluation
     44.   Hässler T, Glazier JJ, Olson KR. Consistency              of anxiety and depression in a community
           of gender identity and preferences across                 sample of transgender youth. JAMA Netw
           time: An exploration among cisgender and                  Open. 2021;4(4):e214739-e214739.
           transgender children. Dev Psychol.                        https://doi.org/10.1001/jamanetworkopen.20
           2022;58(11):2184-2196.                                    21.4739
           https://doi.org/10.1037/dev0001419
                                                               52.   Russell ST, Pollitt AM, Li G, Grossman AH.
     45.   Rosenwohl-Mack A, Tamar-Mattis S, Baratz                  Chosen name use is linked to reduced
           AB, et al. A national study on the physical and           depressive symptoms, suicidal ideation, and
           mental health of intersex adults in the                   suicidal behavior among transgender youth. J
           U.S. PLoS One. 2020;15(10):e0240088.                      Adolesc Health. 2018;63(4):503-505.
           Published 2020 Oct 9.                                     https://doi.org/10.1016/j.jadohealth.2018.02.0
           https://doi.org/10.1371/journal.pone.0240088              03

     46.   U.S. Department of Health and Human                 53.   Pariseau EM, Chevalier L, Long KA, Clapham
           Services. Request for Information on                      R, Edwards-Leeper L, Tishelman AC. The
           Promising Practices for Advancing Health                  relationship between family acceptance-
           Equity for Intersex Individuals. 2023-02826               rejection and transgender youth psychosocial
           Fed. Reg. Page #8876 (February 10, 2023).                 functioning. Clin Pract Pediatr Psychol.
           https://www.federalregister.gov/d/2023-                   2019;7(3):267-277.
           02826/page-8876. Accessed March 20, 2023.                 https://doi.org/10.1037/cpp0000291

     47.   Mills Koonce WR, Rehder PD, McCurdy AL.             54.   Blashill AJ, Fox K, Feinstein BA, Albright CA,
           The significance of parenting and parent child            Calzo JP. Nonsuicidal self-injury, suicide
           relationships for sexual and gender minority              ideation, and suicide attempts among sexual
           adolescents. J Res Adolesc. 2018;28(3):637-               minority children. J Consult Clin Psychol.
           649. https://doi.org/10.1111/jora.12404                   2021;89(2):73 80.
                                                                     https://doi.org/10.1037/ccp0000624
     48.   Kosciw JG, Clark CM, Truong NL, Zongrone
           AD. The 2019 National School Climate                55.   La Roi C, Kretschmer T, Dijkstra JK, Veenstra
           Survey: The experiences of lesbian, gay,                  R, Oldehinkel AJ. Disparities in depressive
           bisexual, transgender, and queer youth in our             symptoms between heterosexual and lesbian,
           nation s schools. GLSEN; 2020. Accessed                   gay, and bisexual youth in a Dutch cohort:
           February 11, 2022.                                        The TRAILS Study. J Youth Adolesc.
           https://www.glsen.org/research/2019-national-             2016;45:440-456.
           school-climate-survey                                     https://doi.org/10.1007/s10964-015-0403-0\

     49.   Green AE, Price-Feeney M, Dorison SH.               56.   Schuster MA, Bogart LM, Elliott MN, et al. A
           Association of sexual orientation acceptance              longitudinal study of bullying of sexual-
           with reduced suicide attempts among lesbian,              minority youth. N Engl J Med. 2015;372:1872-
           gay, bisexual, transgender, queer, and                    1874.
           questioning youth. LGBT Health.                           https://doi.org/10.1056/NEJMc1413064
           2021;8(1):26-31.
           https://doi.org/10.1089/lgbt.2020.0248




78
       Case 1:25-cv-00240-ACR              Document 72-4
                                                    57-1     Filed 03/07/25
                                                                   02/21/25       Page 80 of 113



57.   Luk JW, Gilman SE, Haynie DL, Simons-                65.   Connolly MD, Zervos MJ, Barone CJ,
      Morton BG. Sexual orientation and                          Johnson CC, Joseph CL. The mental health
      depressive symptoms in                                     of transgender youth: Advances in
      adolescents. Pediatrics.                                   understanding. J Adolesc Health.
      2018;141(5):e20173309.                                     2016;59(5):489-495.
      https://doi.org/10.1542/peds.2017-3309                     https://doi.org/10.1016/j.jadohealth.2016.06.0
                                                                 12
58.   Plöderl M, Tremblay P. Mental health of
      sexual minorities. A systematic review. Int          66.   Delozier AM, Kamody RC, Rodgers S, Chen
      Rev Psychiatry. 2015;27(5), 367 385.                       D. Health disparities in transgender and
      https://doi.org/10.3109/09540261.2015.10839                gender expansive adolescents: A topical
      49                                                         review from a minority stress framework. J
                                                                 Pediatr Psychol. 2020;45(8):842-847.
59.   Raifman J, Charlton BM, Arrington-Sanders                  https://doi.org/10.1093/jpepsy/jsaa040
      R, et al. Sexual orientation and suicide
      attempt disparities among us adolescents:            67.   Olson KR, Durwood L, DeMeules M,
      2009 2017. Pediatrics.                                     McLaughlin KA. Mental health of transgender
      2020;145(3):e20191658.                                     children who are supported in their
      https://doi.org/10.1542/peds.2019-1658                     identities. Pediatrics. 2016;137(3):e20153223.
                                                                 https://doi.org/10.1542/peds.2015-3223
60.   Johns MM, Lowry R, Rasberry CN, et al.
      Violence victimization, substance use, and           68.   Tankersley AP, Grafsky EL, Dike J, Jones
      suicide risk among sexual minority high                    RT. Risk and resilience factors for mental
      school students United States, 2015 2017.                  health among transgender and gender
      MMWR Morb Mortal Wkly Rep.                                 nonconforming (TGNC) youth: a systematic
      2018;67(43):1211.                                          review. Clin Child Fam Psychol Rev.
      https://doi.org/10.15585/mmwr.mm6743a4                     2021;24(2):183-206.
                                                                 https://doi.org/10.1007/s10567-021-00344-6
61.   Price-Feeney M, Green AE, Dorison S.
      Understanding the mental health of                   69.   Parmar DD, Tabler J, Okumura MJ, Nagata
      transgender and nonbinary youth. J Adolesc                 JM. Investigating protective factors associated
      Health. 2020;66(6):684-690.                                with mental health outcomes in sexual
      https://doi.org/10.1016/j.jadohealth.2019.11.3             minority youth. J Adolesc Health.
      14                                                         2022;170(30):470-477.
                                                                 https://doi.org/10.1016/j.jadohealth.2021.10.
62.   Craig SL, Austin A, Levenson J, Leung VW,                  004
      Eaton AD,            SA. Frequencies and
      patterns of adverse childhood events in              70.   Edwards-Leeper L, Spack NP. Psychological
      LGBTQ+ youth. Child Abuse Negl.                            evaluation and medical treatment of
      2020;107(104623).                                          transgender youth in an interdisciplinary
      https://doi.org/10.1016/j.chiabu.2020.104623                         Management            (GeMS) in a
                                                                 major pediatric center. J Homosex.
63.   Hatchel T, Valido A, De Pedro KT, Huang Y,                 2012;59(3):321-336.
      Espelage DL. Minority stress among                         https://doi.org/10.1080/00918369.2012.65330
      transgender adolescents: The role of peer                  2
      victimization, school belonging, and ethnicity.
      J Child Fam Stud. 2019;28(9):2467-2476.              71.   American Psychological Association.
      https://doi.org/10.1007/s10826-018-1168-3                  Resolution on appropriate therapeutic
                                                                 response to sexual orientation distress and
64.   Baams L, Wilson B, Russell ST. LGBTQ                       change efforts. 2009. Accessed February 12,
      youth in unstable housing and foster care.                 2022.
      Pediatrics. 2019;143(3):e20174211.                         https://www.apa.org/about/policy/sexual-
      https://doi.org/10.1542/peds.2017-4211                     orientation


                                                                                                                   79
            Case 1:25-cv-00240-ACR           Document 72-4
                                                      57-1     Filed 03/07/25
                                                                     02/21/25       Page 81 of 113



     72.   Byne W, Bradley SJ, Coleman E, et al. Report            2023;388(3):240-250.
           of the APA Task Force on treatment of                   https://doi.org/10.1056/NEJMoa2206297
           gender identity disorder. Arch Sex Behav.
           2012;41:759-796.                                  79.   Leibowitz S. Social Gender Transition and the
           https://doi.org/10.1007/s10508-012-9975-x               Psychological Interventions. In: Janssen A,
                                                                   Leibowitz S, eds. Affirmative mental health
     73.   Lopez X, Marinkovic M, Eimicke T, Rosenthal             care for transgender and gender diverse
           SM, Olshan JS, & Pediatric Endocrine Society            youth. Springer; 2018:31-47.
           Transgender Health Special Interest Group.              https://doi.org/10.1007/978-3-319-78307-9_2
           Statement on gender-affirmative approach to
           care from the pediatric endocrine society         80.   Green AE, DeChants JP, Price MN, Davis
           special interest group on transgender health.           CK. 2021. Association of gender-affirming
           Curr Opin Pediatr. 2017;29(4):475-480.                  hormone therapy with depression, thoughts of
           https://doi.org/10.1097/MOP.0000000000000               suicide, and attempted suicide among
           516                                                     transgender and nonbinary youth. J Adolesc
                                                                   Health. 2021;S1054-139X(21)00568-1.
     74.   American Psychological Association. Ethical             https://doi.org/10.1016/j.jadohealth.2021.10.
           Principles of Psychologists and Code of                 036
           Conduct. 2017.
           https://www.apa.org/ethics/code/ethics-code-      81.   Allen LR, Watson LB, Egan AM, Moser CN.
           2017.pdf. Accessed February 12, 2022.                   Well-being and suicidality among transgender
                                                                   youth after gender-affirming hormones. Clin
     75.   Rafferty J, AAP Committee on Psychosocial               Pract Pediatr Psychol. 2019;7(3):302-311.
           Aspects of Child and Family Health, AAP                 https://doi.org/10.1037/cpp0000288
           Committee on Adolescence, AAP Section on
           Lesbian, Gay, Bisexual, and Transgender           82.   Giordano S, Holm S. Is puberty delaying
           Health and Wellness. Ensuring                           treatment 'experimental treatment'? Int J
           comprehensive care and support for                      Transgend Health. 2020;21(2):113-121.
           transgender and gender-diverse children and             Published 2020 Apr 11.
           adolescents. Pediatrics.                                https://doi.org/10.1080/26895269.2020.1747
           2018;142(4):e20182162.                                  768
           https://doi.org/10.1542/peds.2018-2162
                                                             83.   Kreukels BP, Cohen-Kettenis PT. Puberty
     76.   Keo-Meier C, Ehrensaft D, eds. The gender               suppression in gender identity disorder: the
           affirmative model: An interdisciplinary                 Amsterdam experience. Nat Rev Endocrinol.
           approach to supporting transgender and                  2011;7(8):466-472.
           gender expansive children. American                     https://doi.org/10.1038/nrendo.2011.78
           Psychological Association; 2018.
                                                             84.   Raifman J, Moscoe E, Austin SB,
     77.   de Vries ALC, Richards C, Tishelman AC, et              Hatzenbuehler ML, Galea S. State laws
           al. Bell v Tavistock and Portman NHS                    permitting denial of services to same-sex
           Foundation Trust [2020] EWHC 3274:                      couples and mental distress among sexual
           Weighing current knowledge and                          minority adults: A difference-in-difference-in-
           uncertainties in decisions about gender-                differences analysis. JAMA Psychiatry.
           related treatment for transgender                       2018;75:671-677.
           adolescents. Int J Transgend Health.                    https://doi.org/10.1001/jamapsychiatry.2018.0
           2021;22(3):217-224.                                     757
           https://doi.org/10.1080/26895269.2021.19043
           30                                                85.   National Association of Social Workers. Code
                                                                   of Ethics. 2021. Accessed February 12, 2022.
     78.   Chen D, Berona J, Chan Y-M, Ehrensaft D, et             https://www.socialworkers.org/About/Ethics/C
           al. Psychosocial functioning in transgender             ode-of-Ethics/Code-of-Ethics-English
           youth after 2 years of hormones. NEJM.


80
       Case 1:25-cv-00240-ACR             Document 72-4
                                                   57-1     Filed 03/07/25
                                                                  02/21/25       Page 82 of 113



86.   American Counseling Association. Resolution         94.   Flentje A, Heck NC, Cochran BN.
      on Reparative Therapy/Conversion                          Experiences of ex-ex-gay individuals in sexual
      Therapy/Sexual Orientation Change Efforts                 reorientation therapy: Reasons for seeking
      (SOCE) as a Significant and Serious Violation             treatment, perceived helpfulness and
      of the ACA Code of Ethics, Governing Council              harmfulness of treatment, and post-treatment
      Meeting. December 19, 2017.                               identification. J Homosex. 2014;61(9):1242-
      https://www.counseling.org/docs/default-                  1268.
      source/default-document-library/reparative-               https://doi.org/10.1080/00918369.2014.92676
      therapy-resoltution-letter-                               3
      head_edited.pdf?sfvrsn=8ed562c_4.
      Accessed February 12, 2022.                         95.   Goodyear T, Kinitz DJ, Dromer E, et al. "They
                                                                want you to kill your inner queer but somehow
87.   American Academy of Pediatrics Committee                  leave the human alive": Delineating the
      on Bioethics. Professionalism in Pediatrics:              impacts of sexual orientation and gender
      Statement of Principles. Pediatrics.                      identity and expression change efforts. J Sex
      2007;120(4):895 897.                                      Res. 2021;1-11.
      https://doi.org/10.1542/peds.2007-2229                    https://doi.org/10.1080/00224499.2021.19106
                                                                16
88.   Hopkins A, Fitzpatrick R, Foster A, et al. What
      do we mean by appropriate health care?              96.   Higbee M, Wright ER, Roemerman RM.
      Quality in Health Care 1993;2:117-123.                    Conversion therapy in the Southern United
      Accessed February 12, 2022.                               States: Prevalence and experiences of the
      https://doi.org/10.1136/qshc.2.2.117                      survivors. J Homosex. 2020;1-20.
                                                                https://doi.org/10.1080/00918369.2020.18402
89.   Rogers C. Client-Centered Therapy: Its                    13
      Current Practice, Implications, and Theory.
      Houghton Mifflin; 1951.                             97.   Jones SL, Yarhouse MA. A longitudinal study
                                                                of attempted religiously mediated sexual
90.   Zucker KJ. Gender identity development and                orientation change. J Sex Marital Ther.
      issues. Child Adolesc Psychiatr Clin N Am.                2011;37(5):404-427.
      2004;13(3):551-568.                                       https://doi.org/10.1080/0092623X.2011.6070
       https://doi.org/10.1016/j.chc.2004.02.006                52

91.   Bradshaw K, Dehlin JP, Crowell KA, Galliher         98.   Karten EY, Wade JC. Sexual orientation
      RV, Bradshaw WS. Sexual orientation change                change efforts in men: A client perspective.
      efforts through psychotherapy for LGBQ                    J Mens Stud. 2010;18(1):84-
      individuals affiliated with the Church of Jesus           102. https://doi.org/10.3149/jms.1801.84
      Christ of Latter-day Saints. J Sex Marital
      Ther. 2015;41(4):391-412.                           99.   Maccio EM. Self-reported sexual orientation
      https://doi.org/10.1080/0092623X.2014.9159                and identity before and after sexual
      07                                                        reorientation therapy. J Gay Lesbian Ment
                                                                Health. 2011;15(3):242-259.
92.   Dehlin JP, Galliher RV, Bradshaw WS, Hyde                 https://doi.org/10.1080/19359705.2010.54418
      DC, Crowell KA. Sexual orientation change                 6
      efforts among current or former LDS church
      members. J Couns Psychol. 2015;62(2):95-            100. Maccio EM. Influence of family, religion, and
      105. https://doi.org/10.1037/cou0000011                  social conformity on client participation in
                                                               sexual reorientation therapy. J Homosex.
93.   Fjelstrom J. Sexual orientation change efforts           2010;57(3):441-
      and the search for authenticity. J Homosex.              458. https://doi.org/10.1080/0091836090354
      2013;60(6):801-827.                                      3196
      https://doi.org/10.1080/00918369.2013.77483
      0


                                                                                                                 81
            Case 1:25-cv-00240-ACR           Document 72-4
                                                      57-1      Filed 03/07/25
                                                                      02/21/25      Page 83 of 113



     101. Meanley SP, Stall RD, Dakwar O, et al.             108. Campbell T, Rodgers YM. Conversion
          Characterizing experiences of conversion                therapy, suicidality, and running Away: An
          therapy among middle-aged and older men                 analysis of transgender youth in the U.S.
          who have sex with men from the Multicenter              SSRN. November 15, 2022.
          AIDS Cohort Study (MACS). Sex Res Social                http://dx.doi.org/10.2139/ssrn.4180724
          Policy. 2020;17(2):334-342.
          https://doi.org/10.1007/s13178-019-00396-y         109. Veale JF, Tan KKH, Byrne JL. Gender identity
                                                                  change efforts faced by trans and nonbinary
     102. Ryan C, Russell ST, Huebner DM, Diaz R,                 people in New Zealand: Associations with
          Sanchez J. Family acceptance in                         demographics, family rejection, internalized
          adolescence and the health of LGBT young                transphobia, and mental health. Psychol Sex
          adults. J Child Adolesc Psychiatr Nurs.                 Orientat Gend Divers. 2021.
          2010;23(4):205-213.                                     https://doi.org/10.1037/sgd0000537
          https://doi.org/10.1111/j.1744-
          6171.2010.00246.x                                  110. Kosciw JG, Greytak EA, Palmer NA, Boesen
                                                                  MJ. The 2013 National School Climate
     103. Salway T, Juwono S, Klassen B, et al.                   Survey: The experiences of lesbian, gay,
          Experiences with sexual orientation and                 bisexual and transgender youth in our
          gender identity conversion therapy practices            schools. GLSEN; 2014. Accessed February
          among sexual minority men in Canada, 2019-              12, 2022.
          2020. PLoS One. 2021;16(6):e0252539.                    https://www.glsen.org/research/2013-national-
          https://doi.org/10.1371/journal.pone.0252539            school-climate-survey

     104. Weiss EM, Morehouse J, Yeager T, Berry T.          111. Hatzenbuehler ML, Pachankis JE. Stigma and
          A qualitative study of ex-gay and ex-ex-gay             minority stress as social determinants of
          experiences. J Gay Lesbian Ment Health.                 health among lesbian, gay, bisexual, and
          2010;14(4):291-319.                                     transgender youth: Research evidence and
          https://doi.org/10.1080/19359705.2010.50641             clinical implications. In: Adelson SL, Garofalo
          2                                                       R, Dowshen N, Makadon H, eds. Lesbian,
                                                                  Gay, Bisexual and Transgender Youth.
     105. Wright T, Candy B, King M. Conversion                   Elsevier; 2016:985-997.
          therapies and access to transition-related              https://doi.org/10.1016/j.pcl.2016.07.003
          healthcare in transgender people: A narrative
          systematic review. BMJ Open.                       112. Ryan C. Family rejection is a health hazard
          2018;8:e022425.                                         for LGBTQ children and youth. J Am Acad
          https://doi.org/10.1136/bmjopen-2018-                   Child Adolesc Psychiatry. 2020;59(10):S336.
          022425                                                  https://doi.org/10.1016/j.jaac.2020.07.817

     106. Turban JL, Beckwith N, Reisner SL,                 113. Frieden TR. Evidence for health decision
          Keuroghlian AS. Association between                     making - beyond randomized, controlled trials.
          recalled exposure to gender identity                    N Engl J Med. 2017;377(5):465-475.
          conversion efforts and psychological distress           https://doi.org/10.1056/NEJMra1614394
          and suicide attempts among transgender
          adults. JAMA Psychiatry. 2019;77(1):68-76.         114. Chou R, Aronson N, Atkins D, et al. Agency
          https://doi.org/10.1001/jamapsychiatry.2019.            for Healthcare Research and Quality (AHRQ)
          2285                                                    Series Paper 4: Assessing harms when
                                                                  comparing medical interventions: AHRQ and
     107. Turban JL, Kraschel KL, Cohen IG.                       the Effective Health Care Program. J Clin
          Legislation to criminalize gender-affirming             Epidemiol. 2010; 63:502-512.
          medical care for transgender youth. JAMA.               https://doi.org/10.1016/j.jclinepi.2008.06.007
          2021;325(22):2251-2252.
          https://doi.org/10.1001/jama.2021.7764




82
       Case 1:25-cv-00240-ACR            Document 72-4
                                                  57-1      Filed 03/07/25
                                                                  02/21/25      Page 84 of 113



115. U.S. Department of Health and Human                       Res. 2020;42(2), 81 89.
     Services. 2018 Requirements (2018 Common                  https://doi.org/10.1177/0193945919838618
     Rule). 2018.
     https://www.hhs.gov/ohrp/regulations-and-           124. Watson RJ, Wheldon CW, Puhl RM. Evidence
     policy/regulations/45-cfr-46/revised-common-             of diverse identities in a large national sample
     rule-regulatory-text/index.html. Accessed                of sexual and gender minority adolescents. J
     February 12, 2022.                                       Res Adolesc. 2019;30(S2):431-442.
                                                              https://doi.org/10.1111/jora.12488
116. Lilienfeld SO. Psychological treatments that
     cause harm. Perspect Psychol Sci.                   125. White AE, Moeller J, Ivcevic Z, Brackett MA.
     2007;2(1):53-70.                                         Gender identity and sexual identity labels
     https://doi.org/10.1111/j.1745-                          used by US high school students: A co-
     6916.2007.00029.x                                        occurrence network analysis. Psychol Sex
                                                              Orientat Gend Divers. 2018;5(2):243-252.
117. Dimidjian S, Hollon SD. How would we know                https://doi.org/10.1037/sgd0000266
     if psychotherapy were harmful? Am Psychol.
     2010;65(1):21-33.                                   126. Lunn MR, Obedin-Maliver J, Bibbins-Domingo
     https://doi.org/10.1037/a0017299                         K. Estimating the prevalence of sexual
                                                              minority adolescents. JAMA 2017;
118. Whitney BM. Ethical considerations for the               317(16):1691-1692.
     study of potentially harmful or ineffective              https://doi.org/10.1001/jama.2017.2918
     treatments. Prof Psychol Res Pr.
     2021;52(1):12-20.                                   127. Conron KJ. LGBT Youth Population in the
     https://doi.org/10.1037/pro0000341                       United States. The Williams Institute, UCLA;
                                                              2020. Accessed February 13, 2022.
119. Mercer J. Evidence of potentially harmful                https://williamsinstitute.law.ucla.edu/wp-
     psychological treatments for children and                content/uploads/LGBT-Youth-US-Pop-Sep-
     adolescents. Child Adolesc Social Work J.                2020.pdf
     2017;34(2):107-125.
     https://doi.org/10.1007/s10560-016-0480-2           128. U.S. Census. 2020 Census Results.
                                                              https://www.census.gov/programs-
120. Herek GM. Sexual orientation differences as              surveys/decennial-census/decade/2020/2020-
     deficits: science and stigma in the history of           census-results.html
     American psychology. Perspect Psychol Sci.
     2010;5(6):693-699.                                  129. Dunlap A. Changes in coming out milestones
     https://doi.org/10.1177/1745691610388770                 across five age cohorts. J Gay Lesbian Soc
                                                              Serv. 2016;28(1):20-38.
121. American Academy of Child and Adolescent                 https://doi.org/10.1080/10538720.2016.11243
     Psychiatry. Conversion Therapy. 2018.                    51
     https://www.aacap.org/aacap/Policy_Stateme
     nts/2018/Conversion_Therapy.aspx.                   130. Haltom TM, Ratcliff S. Effects of sex, race,
     Accessed February 13, 2022.                              and education on the timing of coming out
                                                              among lesbian, gay, and bisexual adults in
122. Eisenberg ME, Gower AL, McMorris BJ, et al.              the U.S. Arch Sex Behav. 2021;50(3):1107-
     Risk and protective factors in the lives of              1120. https://doi.org/10.1007/s10508-020-
     transgender/gender nonconforming                         01776-x
     adolescents. J Adolesc Health. 2017;614:521-
     526. doi:10.1016/j.jadohealth.2017.04.014           131. Diamond LM. Careful what you ask for:
                                                              Reconsidering feminist epistemology and
123. Porta CM, Gower AL, Brown C, Wood B,                     autobiographical narrative in research on
     Eisenberg ME. Perceptions of sexual                      sexual identity development. Signs (Chic).
     orientation and gender identity minority                 2006;31(2):471-492.
     adolescents about labels. Western J Nurs                 https://doi.org/10.1086/491684


                                                                                                                 83
            Case 1:25-cv-00240-ACR             Document 72-4
                                                        57-1      Filed 03/07/25
                                                                        02/21/25       Page 85 of 113



     132. Diamond LM. Female bisexuality from                  140. Mustanski B, Lyons T, Garcia SC. Internet
          adolescence to adulthood: Results from a 10-              use and sexual health of young men who
          year longitudinal study. Dev Psychol.                     have sex with men: A mixed-methods
          2008;44(1):5-14.                                          study. Arch Sex Behav. 2011;40(2):289-300.
          https://doi.org/10.1037/0012-1649.44.1.5                  https://doi.org/10.1007/s10508-009-9596-1

     133. Savin-Williams RC, Diamond LM. Sexual                141. Fields EL, Bogart LM, Smith KC,
          identity trajectories among sexual-minority               Malebranche DJ, Ellen J, Schuster MA.
          youths: gender comparisons. Arch Sex                      always felt I had to prove my
          Behav. 2000;29(6):607-627.                                Homosexuality, masculinity, gender role
          https://doi.org/10.1023/a:1002058505138                   strain, and HIV risk among young Black men
                                                                    who have sex with men." Am J Pub Health.
     134. Dube EM, Savin-Williams RC. Sexual identity               2015;105.(1):122-131.
          development among ethnic sexual-minority                  https://doi.org/10.2105/AJPH.2013.301866
          male youths. Dev Psychol. 1999;35(6):1389-
          1398. https://doi.org/10.1037//0012-                 142. Yon-Leau C, Muñoz-Laboy M.               like to
          1649.35.6.1389                                            say that                Sexuality politics and
                                                                    cultural critique among sexual-minority Latino
     135. Horowitz JL, Newcomb MD. A                                youth. Sex Res Social Policy. 2010;7(2):105-
          multidimensional approach to homosexual                   117. https://doi.org/10.1007/s13178-010-
          identity. J Homosex. 2001;42(2):1-19.                     0009-y
          https://doi.org/10.1300/j082v42n02_01
                                                               143. Wilson K, Fornasier S, White K. Psychological
     136. Szprengiel K. Children coming out: the                    predictors of young adults' use of social
          process of self-identification. In: Stewart C             networking sites. Cyberpsychol Behav Soc
          (ed.). Lesbian, Gay, Bisexual, and                        Net. 2010;13:173-177.
          Transgender Americans at Risk: Problems                   https://doi.org/10.1089/cyber.2009.0094
          and Solutions. Praeger; 2018.
                                                               144. Rosario M, Schrimshaw EW, Hunter J.
     137. Han CS, Ayala G, Paul JP, Choi KH. West                   Different patterns of sexual identity
          Hollywood is not that big on anything but                 development over time: implications for the
          white people: Constructing       men of                   psychological adjustment of lesbian, gay, and
          Sociol Q. 2017;58(4):721-737.                             bisexual youths. J Sex Res. 2011;48(1):3-15.
          https://doi.org/10.1080/00380253.2017.1354                http://doi.org/doi:10.1080/002244909033310
          734                                                       67

     138. Toomey RB, Huynh VW, Jones SK, Lee S,                145. Willoughby BL, Doty ND, Malik NM.
          Revels-Macalinao M. Sexual minority youth of              Victimization, family rejection, and outcomes
          color: a content analysis and critical review of          of gay, lesbian, and bisexual young people:
          the literature. J Gay Lesbian Ment Health.                the role of negative GLB identity. J GLBT
          2017;21(1):3-31.                                          Fam Stud. 2010;6(4):403-424.
          https://doi.org/10.1080/19359705.2016.1217                https://doi.org/10.1080/1550428X.2010.5110
          499                                                       85

     139. Jamil OB, Harper GW, Fernandez MI.                   146. Page MJL, Lindahl KM, Malik NM. The role of
          Adolescent Trials Network for HIV/AIDS                    religion and stress in sexual identity and
          Interventions. Sexual and ethnic identity                 mental health among lesbian, gay, and
          development among gay-bisexual-questioning                bisexual youth. J Res Adolesc.
          (GBQ) male ethnic minority adolescents.                   2013;23(4):665- 677.
          Cultur Divers Ethnic Minor Psychol.                       https://doi.org/10.1111/jora.12025
          2009;15(3):203-214.
          https://doi:10.1037/a0014795



84
       Case 1:25-cv-00240-ACR            Document 72-4
                                                  57-1      Filed 03/07/25
                                                                  02/21/25       Page 86 of 113



147. Hussen SA, Harper GW, Rodgers CRR., van             154. Kuper LE, Stewart S, Preston S, Lau M,
     den Berg JJ, Dowshen N, Hightow-Weidman                  Lopez X. Body dissatisfaction and mental
     LB. Cognitive and behavioral resilience                  health outcomes of youth on gender-affirming
     among young gay and bisexual men living                  hormone therapy. Pediatrics.
     with HIV. LGBT Health. 2017;4(4):275-282.                2020;145(4):e20193006.
     https://doi.org/10.1089/lgbt.2016.0135                   https://doi.org/10.1542/peds.2019-3006

148. Dean JB, Stratton SP, Yarhouse MA. The              155. Costa R, Colizzi M. The effect of cross-sex
     mediating role of self-acceptance in the                 hormonal treatment on gender dysphoria
     psychological distress of sexual minority                             mental health: a systematic
     students on Christian college                            review. Neuropsychiatr Dis Treat.
     campuses. Spiritual Clin Pract (Wash DC).                2016;12:1953-1966.
     2021;8(2):132-148.                                       https://doi.org/10.2147/NDT.S95310
     https://doi.org/10.1037/scp0000253
                                                         156. Kuper LE, Nussbaum R, Mustanski B.
149. Steensma TD, McGuire JK, Kreukels BP,                    Exploring the diversity of gender and sexual
     Beekman AJ, Cohen-Kettenis PT. Factors                   orientation identities in an online sample of
     associated with desistence and persistence of            transgender individuals. J Sex Res.
     childhood gender dysphoria: A quantitative               2012;49(2-3):244-254.
     follow-up study. J Am Acad Child Adolesc                 https://doi.org/10.1080/00224499.2011.59695
     Psychiatry. 2013;52(6):582-590.                          4
     https://doi.org/10.1016/j.jaac.2013.03.016
                                                         157. Wilson BDM, Meyer IH. Nonbinary LGBTQ
150. American Psychiatric Association, DSM-5                  adults in the United States. Williams Institute;
     Task Force. Diagnostic and statistical manual            2021. Accessed February 13, 2022.
     of mental disorders: DSM-5TM. 5th ed.                    https://williamsinstitute.law.ucla.edu/publicatio
     American Psychiatric Publishing, Inc.;2013.              ns/nonbinary-lgbtq-adults-us
     https://doi.org/10.1176/appi.books.978089042
     5596                                                158. Taylor J, Zalewska A, Gates JJ, Millon G. An
                                                              exploration of the lived experiences of non-
151. Reed GM, Drescher J, Krueger RB, et al.                  binary individuals who have presented at a
     Disorders related to sexuality and gender                gender identity clinic in the United Kingdom.
     identity in the ICD 11: Revising the ICD 10              Int J Transgend. 2019;20(2-3):195-204.
     classification based on current scientific               https://doi.org/10.1080/15532739.2018.1445
     evidence, best clinical practices, and human             056
     rights considerations. World Psychiatry.
     2016;15(3):205-221.                                 159. Matsuno E, Budge SL. Non-
     https://doi.org/10.1002/wps.20354                        binary/genderqueer identities: A critical review
                                                              of the literature. Curr Sex Health Rep.
152. Sevelius JM. Gender affirmation: A framework             2017;9:1167-120.
     for conceptualizing risk behavior among                  http://doi.org/10.1007/s11930-017-0111-8
     transgender women of color. Sex Roles.
     2013;68(11):675-689. doi:10.1007/s11199-            160. Gülgöz S, Edwards DL, Olson KR. Between a
     012-0216-5                                               boy and a girl: Measuring gender identity on a
                                                              continuum. Soc Dev. 2022;31(3):916-929.
153. Hendricks ML, Testa RJ. A conceptual                     https://doi.org/10.1111/sode.12587
     framework for clinical work with transgender
     and gender nonconforming clients: An
     adaptation of the Minority Stress Model. Prof
     Psychol Res P. 2012;43(5):460-467.
     https://doi.org/10.1037/a0029597




                                                                                                                  85
             Case 1:25-cv-00240-ACR             Document 72-4
                                                         57-1      Filed 03/07/25
                                                                         02/21/25      Page 87 of 113



     161. Harrison J, Grant J, Herman JL. A gender not                2017;107(2):e1-e8.
          listed here: Genderqueers, gender rebels and                https://doi.org/10.2105/AJPH.2016.303578
          otherwise in the National Transgender
          Discrimination Survey. 2012.                          170. Kidd KM, Sequeira GM, Douglas C, et al.
          https://williamsinstitute.law.ucla.edu/publicatio          Prevalence of gender-diverse youth in an
          ns/genderqueers-genderrebels-ntds.                         urban school district. Pediatrics.
          Accessed February 13, 2022.                                2021;147(6):e2020049823.
                                                                     https://doi.org/10.1542/peds.2020-049823
     162. Gill-Peterson J. Histories of the transgender
          child. University of Minnesota Press; 2018.           171. Almeida J, Johnson RM, Corliss HL, Molnar
                                                                     BE, Azrael D. Emotional distress among
     163. McNabb C. Nonbinary gender identities:                     LGBT youth: The influence of perceived
          History, culture, resources. Rowman &                      discrimination based on sexual orientation. J
          Littlefield; 2017.                                         Youth Adolesc. 2009;38(7):1001-1014.
                                                                     https://doi.org/10.1007/s10964-009-9397-9
     164. James SE, Herman JL, Rankin S, Keisling M,
          Mottet L, Anafi M. The Report of the 2015             172. Clark TC, Lucassen MF, Bullen P, et al. The
          U.S. Transgender Survey. National Center for               health and well-being of transgender high
          Transgender Equality; 2016.                                school students: Results from the New
          https://transequality.org/sites/default/files/docs         Zealand adolescent health survey (Youth'12).
          /usts/USTS-Full-Report-Dec17.pdf.                          J Adolesc Health. 2014;55(1):93-99.
          Accessed February 13, 2022.                                https://doi.org/10.1016/j.jadohealth.2013.11.
                                                                     008
     165. Robinson M. Two-Spirit identity in a time of
          gender fluidity. J Homosex.                           173. Rider GN, McMorris BJ, Gower AL, Coleman
          2019;67(12):1675-1690.                                     E, Eisenberg ME. Health and care utilization
          https://doi.org/10.1080/00918369.2019.1613                 of transgender and gender nonconforming
          853                                                        youth: A population-based study. Pediatrics.
                                                                     2018;141(3):e20171683.
     166. Schmidt J. Being       a                                   https://doi.org/10.1542/peds.2017-1683
          and Samoan masculinity. Asia Pac J
          Anthropol. 2016;17(3 4):287-304.                      174. Bockting WO, Miner MH, Swinburne Romine
          https://doi.org/10.1080/14442213.2016.1182                 RE, Hamilton A, Coleman E. Stigma, mental
          208                                                        health, and resilience in an online sample of
                                                                     the US transgender population. Am J Public
     167. Stotzer RL. Family cohesion among                          Health. 2013;103(5):943-951.
                         J GLBT Fam Stud.                            https://doi.org/10.2105/AJPH.2013.301241
          2011;7(5):424-435.
          https://doi.org/10.1080/1550428X.2011.6239            175. Ehrensaft D. From gender identity disorder to
          35                                                         gender identity creativity: true gender self
                                                                     child therapy. J Homosex. 2012;59(3):337-
     168. Goodman M, Adams N, Corneil T, Kreukels                    356.
          B, Motmans J, Coleman E. Size and                          https://doi.org/10.1080/00918369.2012.6533
          distribution of transgender and gender                     03
          nonconforming populations: A narrative
          review. Endocrinology and Metabolism Clinics          176. Restar A, Jin H, Breslow AS, et al.
          of North America, 2019;48(2), 303-321.                     Developmental milestones in young
          https://doi.org/10.1016/j.ecl.2019.01.001                  transgender women in two American cities:
                                                                     Results from a racially and ethnically diverse
     169. Meerwijk EL, Sevelius JM. Transgender                      sample. Transgend Health. 2019;4(1):162-
          population size in the United States: A meta-              167. https://doi.org/10.1089/trgh.2019.0008
          regression of population-based probability
          samples. Am J Public Health.


86
       Case 1:25-cv-00240-ACR             Document 72-4
                                                   57-1      Filed 03/07/25
                                                                   02/21/25      Page 88 of 113



177. Sorbara JC, Chiniara LN, Thompson S,                 185. Ashley F. Thinking an ethics of gender
     Palmert MR. Mental health and timing of                   exploration: Against delaying transition for
     gender-affirming care. Pediatrics.                        transgender and gender creative youth
     2020;146(4):e20193600.                                    [published correction appears in Clin Child
     https://doi.org/10.1542/peds.2019-3600                    Psychol Psychiatry. 2019 Jul;24(3):650]. Clin
                                                               Child Psychol Psychiatry. 2019;24(2):223-
178. Olson KR. Prepubescent transgender                        236.
     children: What we do and do not know. J Am                https://doi.org/10.1177/1359104519836462
     Acad Child Adolesc Psychiatry.
     2016;55(3):155-156.e3.                               186. Chen D, Matson M, Macapagal K, et al.
     https://doi.org/10.1016/j.jaac.2015.11.015                Attitudes toward fertility and reproductive
                                                               health among transgender and gender-
179. Temple Newhook J, Pyne J, Winters K, et al.               nonconforming adolescents. J Adolesc
     A critical commentary on follow-up studies                Health. 2018;63(1):62-68.
     and               theories about transgender              https://doi.org/10.1016/j.jadohealth.2017.11.3
     and gender-nonconforming children. Int J                  06
     Transgend. 2018;19(2):212-224.
     https://doi.org/10.1080/15532739.2018.1456           187. Olson K, Key A, Eaton N. Gender cognition in
     390                                                       transgender children. Psychol Sci.
                                                               2015;26(4):467-74.
180. Wallien MSC, Cohen-Kettenis P.                            https://doi.org/10.1177/0956797614568156
     Psychosexual outcome of gender-dysphoric
     children. J Am Acad Child Adolesc Psychiatry.        188. Fast AA, Olson KR. Gender development in
     2008;47(12):1413-1423.                                    transgender preschool children. Child Dev.
     https://doi.org/10.1097/CHI.0b013e31818956                2018;89(2):620-637.
     b9                                                        https://doi.org/10.1111/cdev.12758

181. Steensma TD, Biemond R, de Boer F, Cohen-            189. Gülgöz S, Glazier JJ, Enright EA, et al.
     Kettenis PT. Desisting and persisting gender              Similarity in transgender and cisgender
     dysphoria after childhood: a qualitative follow-                      gender development. PNAS.
     up study. Clin Child Psychol Psychiatry.                  2019;116(49):24480-24485.
     2011;16(4):499-516.                                       https://doi.org/10.1073/pnas.1909367116
     https://doi.org/10.1177/1359104510378303
                                                          190. Grossman AH, D'Augelli AR, Howell TJ,
182. Drescher J. Controversies in Gender                       Hubbard S.           reactions to transgender
     Diagnoses. LGBT Health. 2014;1(1):10 14.                  youths' gender nonconforming expression
     https://doi.org/10.1089/lgbt.2013.1500                    and identity. J Gay Lesbian Soc Serv.
                                                               2006;18:1:3-16.
183. Leibowitz SF, Spack NP. The development of                https://doi.org/10.1300/J041v18n01_02
     a gender identity psychosocial clinic:
     Treatment issues, logistical considerations,         191. Olson J, Schrager SM, Belzer M, Simons LK,
     interdisciplinary cooperation, and future                 Clark LF. Baseline physiologic and
     initiatives. Child Adolesc Psychiatr Clin N Am.           psychosocial characteristics of transgender
     2011;20:701-724.                                          youth seeking care for gender dysphoria. J
     https://doi.org/10.1016/j.chc.2011.07.004                 Adolesc Health. 2015;57(4):374-380.
                                                               https://doi.org/10.1016/j.jadohealth.2015.04.0
184. Ashley F. The clinical irrelevance of                     27
                   research for transgender and
     gender creative youth. Psychol Sex Orientat          192. Keo-Meier C, et al. Demographics of gender
     Gend Divers. 2021.                                        diverse children living in the United States.
     https://doi.org/10.1037/sgd0000504                        American Psychological Association
                                                               Convention, Washington, DC. 2014.



                                                                                                                87
            Case 1:25-cv-00240-ACR            Document 72-4
                                                       57-1      Filed 03/07/25
                                                                       02/21/25       Page 89 of 113



     193. Byne W, Bradley SJ, Coleman E, et al. Report        200. Katz-Wise SL, Sarda V, Austin SB, Harris SK.
          of the American Psychiatric Association Task             Longitudinal effects of gender minority
          Force on Treatment of Gender Identity                    stressors on substance use and related risk
          Disorder. Arch Sex Behav. 2012;41(4):759-                and protective factors among gender minority
          796. https://doi.org/10.1007/s10508-012-                 adolescents. PloS One.
          9975-x                                                   2021;16(6):e0250500.
                                                                   https://doi.org/10.1371/journal.pone.0250500
     194. Harper GW, Wagner RL, Popoff E, Reisner
          SL, Jadwin-Cakmak, L. Psychological                 201. Handler T, Hojilla JC, Varghese R,
          resilience among transfeminine adolescents               Wellenstein W, Satre DD, Zaritsky E. Trends
          and emerging adults living with HIV. AIDS                in referrals to a pediatric transgender clinic.
          (London, England), 2019;33( Suppl 1): S53                Pediatrics. 2019;144(5):e20191368.
          S62.                                                     https://doi.org/10.1542/peds.2019-1368
          https://doi.org/10.1097/QAD.0000000000002
          174                                                 202. Gridley SJ, Crouch JM, Evans Y, et al. Youth
                                                                   and caregiver perspectives on barriers to
     195. Shelton J, Wagaman MA, Small L,                          gender-affirming health care for transgender
          Abramovich A. I'm more driven now:                       youth. J Adolesc Health. 2016;59(3):254261.
          Resilience and resistance among transgender              https://doi.org/10.1016/j.jadohealth.2016.03.
          and gender expansive youth and young                     017
          adults experiencing homelessness. Int J
          Transgend. 2018;19(2):144-157.                      203.             J, Leon K, Wolf-Gould C, Scribani M,
          https://doi.org/10.1080/15532739.2017.13742                Tallman N, Gadomski A. Building a pediatric
          26                                                         patient registry to study health outcomes
                                                                     among transgender and gender expansive
     196. Singh AA. Transgender youth of color and                   youth at a rural gender clinic. Transgend
          resilience: negotiating oppression and finding             Health. 2018;3(1):179-189.
          support. Sex Roles. 2013;68(11):690-702.                   https://doi.org/10.1089/trgh.2018.0023
          https://doi.org/10.1007/s11199-012-0149-z
                                                              204. Sorbara JC, Ngo HL, Palmert MR. Factors
     197. Hatzenbuehler ML, Birkett M, Van Wagenen                 associated with age of presentation to
          A, Meyer IH. Protective school climates and              gender-affirming medical care. Pediatrics.
          reduced risk for suicide ideation in sexual              2021;147(4):e2020026674.
          minority youths. Am J Public Health.                     https://doi.org/10.1542/peds.2020-026674
          2014;104(2):279-286.
          https://doi.org/10.2105/AJPH.2013.301508            205. Restar A, Jun H, Breslow AS, et al.
                                                                   Developmental milestones in young
     198. Kuper LE, Coleman BR, Mustanski BS.                      transgender women in two American cities:
          Coping with LGBT and racial ethnic related               Results from a racially and ethnically diverse
          stressors: A mixed methods study of LGBT                 sample. Transgend Health. 2019;4(1):162-
          youth of color. J Res Adolesc.                           167. https://doi.org/10.1089/trgh.2019.0008
          2014;24(4):703-719.
          https://doi.org/10.1111/jora.12079                  206. Russell ST, Fish JN. Mental health in lesbian,
                                                                   gay, bisexual, and transgender (LGBT) Youth.
     199. Chodzen G, Hidalgo MA, Chen D, Garofalo R.               Annu Rev Clin Psychol. 2016;12:465-487.
          Minority stress factors associated with                  https://doi.org/10.1146/annurev-clinpsy-
          depression and anxiety among transgender                 021815-093153
          and gender-nonconforming youth. J Adolesc
          Health. 2019;64(4):467-471.
          https://doi.org/10.1016/j.jadohealth.2018.07.0
          06




88
       Case 1:25-cv-00240-ACR             Document 72-4
                                                   57-1      Filed 03/07/25
                                                                   02/21/25       Page 90 of 113



207. Mongelli F, Perrone D, Balducci J, et al.                  and Gender Diversity, 2015;2(3), 209-213.
     Minority stress and mental health among                    https://doi.org/10.1037/sgd0000132
     LGBT populations: An update on the
     evidence. Minerva Psychiatr. 2019;60(1):27-          215. Luthar SS, Cicchetti D, Becker B. The
     50. https://doi.org/10.23736/S0391-                       construct of resilience: a critical evaluation
     1772.18.01995-7                                           and guidelines for future work. Child Dev.
                                                               2000;71(3):543-562.
208. Bowleg L. Towards a critical health equity                https://doi.org/10.1111/1467-8624.00164
     research stance: Why epistemology and
     methodology matter more than qualitative             216. McConnell EA, Janulis P, Phillips GII, Truong
     methods. Health Educ Behav.                               R, Birkett M. Multiple minority stress and
     2017;44(5):677-684.                                       LGBT community resilience among sexual
     https://doi.org/10.1177/1090198117728760                  minority men. Psychology of Sexual
                                                               Orientation and Gender Diversity,
209. Meyer IH, Frost DM. Minority stress and the               2018;5(1):1-12.
     health of sexual minorities. In: Patterson CJ,            https://doi.org/10.1037/sgd0000265
     D'Augelli AR, eds. Handbook of psychology
     and sexual orientation. Oxford University            217. Bowleg L. The problem with the phrase
     Press; 2013:252-266.                                      women and minorities: intersectionality-an
                                                               important theoretical framework for public
210. Testa RJ, Habarth J, Peta J, Balsam K,                    health. Am J Public Health.
     Bockting W. Development of the gender                     2012;102(7):1267-1273.
     minority stress and resilience measure.                   https://doi.org/10.2105/AJPH.2012.300750
     Psychol Sex Orientat Gend Divers.
     2015;2(1):65-77.                                     218. Collins PH.                   definitional
     https://doi.org/10.1037/sgd0000081                        dilemmas. Annu Rev Sociol. 2015;41(1):1-20.
                                                               https://doi.org/10.1146/annurev-soc-073014-
211. Pachankis JE, Mahon CP, Jackson SD,                       112142
     Fetzner BK, Bränström R. Sexual orientation
     concealment and mental health: A conceptual          219. Tan K, Treharne GJ, Ellis SJ, Schmidt JM,
     and meta-analytic review. Psychol Bull.                   Veale JF. Gender minority stress: A critical
     2020;146(10):831-871.                                     review. J Homosex. 2020;67(10):1471-1489.
     https://doi.org/10.1037/bul0000271                        https://doi.org/10.1080/00918369.2019.15917
                                                               89
212. Hatzenbuehler ML, Keyes KM, Hasin DS.
     State-level policies and psychiatric morbidity       220. Martin Storey A, Fish J. Victimization
     in lesbian, gay, and bisexual populations. Am             disparities between heterosexual and sexual
     J Public Health. 2009;99(12):2275-2281.                   minority youth from ages 9 to 15. Child Dev.
     https://doi.org/10.2105/AJPH.2008.153510                  2019;90(1):71-81.
                                                               https://doi.org/10.1111/cdev.13107
213. National Academies of Sciences,
     Engineering, and Medicine. Reducing                  221. Mittleman J. Sexual minority bullying and
     inequalities between lesbian, gay, bisexual,              mental health from early childhood through
     transgender, and queer adolescents and                    adolescence. J Adolesc Health.
     cisgender, heterosexual adolescents:                      2019;64(2):172-178.
     Proceedings of a workshop. The National                   https://doi.org/10.1016/j.jadohealth.2018.08.
     Academies Press; 2022.                                    020
     https://doi.org/10.17226/26383
                                                          222. Becerra-Culqui TA, Liu Y, Nash R, et al.
214. Meyer IH. Resilience in the study of minority             Mental health of transgender and gender
     stress and health of sexual and gender                    nonconforming youth compared with their
     minorities. Psychology of Sexual Orientation              peers. Pediatrics. 2018;141(5):e20173845.
                                                               https://doi.org/10.1542/peds.2017-3845


                                                                                                                89
            Case 1:25-cv-00240-ACR            Document 72-4
                                                       57-1      Filed 03/07/25
                                                                       02/21/25      Page 91 of 113



     223. Holt V, Skagerberg E, Dunsford M. Young             230. Jackman KB, Caceres BA, Kreuze EJ,
          people with features of gender dysphoria:                Bockting WO. Suicidality among gender
          demographics and associated difficulties. Clin           minority youth: Analysis of 2017 Youth Risk
          Child Psychol Psychiatry. 2016;21(1):108-                Behavior Survey data. Arch Suicide Res.
          118.                                                     2021;25(2):208-223.
          https://doi.org/10.1177/1359104514558431                 https://doi.org/10.1080/13811118.2019.1678
                                                                   539
     224. Spack NP, Edwards-Leeper L, Feldman HA,
          et al. Children and adolescents with gender         231. Grossman AH, Park JY, Russell ST.
          identity disorder referred to a pediatric                Transgender youth and suicidal behaviors:
          medical center. Pediatrics. 2012;129(3):418-             Applying the interpersonal psychological
          425. https://doi.org/10.1542/peds.2011-0907              theory of suicide. J Gay Lesbian Ment Health.
                                                                   2016;20(4):329-349.
     225. Durwood L, McLaughlin KA, Olson KR.                      https://doi.org/10.1080/19359705.2016.1207
          Mental health and self-worth in socially                 581
          transitioned transgender youth. J Am Acad
          Child and Adolesc                                   232. Toomey RB, Syvertsen AK, Shramko M.
          Psychiatry, 2017;56(2):116-123.e2.                       Transgender adolescent suicide behavior.
          https://doi.org/10.1016/j.jaac.2016.10.016               Pediatrics. 2018;142(4):e20174218.
                                                                   https://doi.org/10.1542/peds.2017-4218
     226. Johns MM, Lowry R, Haderxhanaj LT, et al.
          Trends in violence victimization and suicide        233. Thoma BC, Salk RH, Choukas-Bradley S,
          risk by sexual identity among high school                Goldstein TR, Levine MD, Marshal MP.
          students Youth Risk Behavior Survey,                     Suicidality Disparities Between Transgender
          United States, 2015 2019. MMWR Suppl.                    and Cisgender Adolescents. Pediatrics.
          2020;69(1):19-27.                                        2019;144(5):e20191183.
          https://doi.org/10.15585/mmwr.su6901a3                   https://doi.org/10.1542/peds.2019-1183

     227. Johns MM, Lowry R, Andrzejewski J, et al.           234. Fuxman S, Valenti M, Kessel Schneider S,
          Transgender identity and experiences of                           KHM,            L. Substance use
          violence victimization, substance use, suicide           among transgender and cisgender high
          risk, and sexual risk behaviors among high               school students. J LGBT
          school students 19 states and large urban                Youth. 2021;18(1):40-59.
          school districts, 2017. MMWR Morb Mortal                 https://doi.org/10.1080/19361653.2020.1727
          Wkly Rep. 2019;68(3):67-71.                              814
          https://doi.org/10.15585/mmwr.mm6803a3
                                                              235. Jones CM, Clayton HB, Deputy NP, et al.
     228. Chakraborty Pl, Alalwan M, Johnson RM, Li L,             Prescription opioid misuse and use of alcohol
          Lancaster KE, Zhu M. Mental health and                   and other substances among high school
          substance use by sexual minority status in               students Youth Risk Behavior Survey,
          high school students who experienced sexual              United States, 2019. MMWR Suppl.
          violence. Ann Epidemiol. 2021:64:127-131.                2020;69(1):38-46.
          https://doi.org/10.1016/j.annepidem.2021.09.0            https://doi.org/10.15585/mmwr.su6901a5
          02
                                                              236. Parker LL, Harriger JA. Eating disorders and
     229. Ivey-Stephenson AZ, Demissie Z, Crosby AE,               disordered eating behaviors in the LGBT
          et al. Suicidal ideation and behaviors among             population: a review of the literature. J Eat
          high school students youth risk behavior                 Disord. 2020;8:51. Published 2020 Oct 16.
          survey, United States, 2019. MMWR Suppl.                 https://doi.org/10.1186/s40337-020-00327-y
          2020;69(1):47-55.
          https://doi.org/10.15585/mmwr.su6901a6




90
        Case 1:25-cv-00240-ACR             Document 72-4
                                                    57-1      Filed 03/07/25
                                                                    02/21/25      Page 92 of 113



237. Perez-Brumer A, Day JK, Russell ST,                         2015;58:11-17.
     Hatzenbuehler ML. Prevalence and correlates                 https://doi.org/10.1016/j.childyouth.2015.08.0
     of suicidal ideation among transgender youth                16
     in California: Findings from a representative,
     population-based sample of high school                244. Craig SL, Austin A, Levenson J, Leung VWY,
     students. J Am Acad Child Adolesc                          Eaton AD, D'Souza SA. Frequencies and
     Psychiatry. 2017;56(9):739-746.                            patterns of adverse childhood events in
     https://doi.org/10.1016/j.jaac.2017.06.010                 LGBTQ+ youth. Child Abuse Negl.
                                                                2020;107:104623.
238. De Pedro KT, Gorse MM. Substance use                       https://doi.org/10.1016/j.chiabu.2020.104623
     among transgender youth: associations with
     school-based victimization and school                 245. Kuper LE, Mathews S, Lau M. Baseline
     protective factors. J LGBT Youth. 2022;1-17.               mental health and psychosocial functioning of
     https://doi.org/10.1080/19361653.2022.2029                 transgender adolescents seeking gender-
     727                                                        affirming hormone therapy. J Dev Behav
                                                                Pediatr. 2019;40(8):589-596.
239. Austin A, Craig SL,            SD, McInroy LB.             https://doi.org/10.1097/DBP.0000000000000
     Suicidality among transgender youth:                       697
     Elucidating the role of interpersonal risk
     factors. J Interpers Violence. 2022 Mar;37(5-         246. Nahata L, Quinn GP, Caltabellotta NM,
     6):NP2696-NP2718.                                          Tishelman AC. Mental health concerns and
     DOI:10.1177/0886260520915554                               insurance denials among transgender
                                                                adolescents. LGBT Health. 2017;4(3):188-
240. Thorne N, Witcomb GL, Nieder T, Nixon E,                   193. https://doi.org/10.1089/lgbt.2016.0151
     Yip A, Arcelus J. A comparison of mental
     health symptomatology and levels of social            247. Glidden D, Bouman WP, Jones BA, Arcelus J.
     support in young treatment seeking                         Gender dysphoria and autism spectrum
     transgender individuals who identify as binary             disorder: A systematic review of the literature.
     and non-binary. Int J Transgend. 2018;20(2-                Sex Med Rev. 2016;4(1):3-14.
     3):241-250.                                                https://doi.org/10.1016/j.sxmr.2015.10.003
     https://doi.org/10.1080/15532739.2018.1452
     660                                                   248. Van Der Miesen AIR, Hurley H, D Vries ALC.
                                                                Gender dysphoria and autism spectrum
241. Rimes KA, Goodship N, Ussher G, Baker D,                   disorder: A narrative review. J Int Psychiatry.
     West E. Non-binary and binary transgender                  2016;28(1):70-80.
     youth: Comparison of mental health, self-                  https://doi.org/10.3109/09540261.2015.11111
     harm, suicidality, substance use and                       99
     victimization experiences. Int J Transgend.
     2017;20(2-3):230-240.                                 249. Turban JL, van Schalkwyk GI. "Gender
     https://doi.org/10.1080/15532739.2017.1370                 Dysphoria" and Autism Spectrum Disorder: Is
     627                                                        the link real? J Am Acad Child Adolesc
                                                                Psychiatry. 2018;57(1):8-9.e2.
242. Thoma BC, Rezeppa TL, Choukas-Bradley S,                   https://doi.org/10.1016/j.jaac.2017.08.017
     Salk RH, Marshal MP. Disparities in childhood
     abuse between transgender and cisgender               250. Thrower E, Bretherton I, Pang KC, Zajac JD,
     adolescents. Pediatrics.                                   Cheung AS. Prevalence of autism spectrum
     2021;148(2):e2020016907.                                   disorder and attention-deficit hyperactivity
     https://doi.org/10.1542/peds.2020-016907                   disorder amongst individuals with gender
                                                                dysphoria: a systematic review. J Autism Dev
243. Wilson BDM, Kastanis AA. Sexual and                        Disord. 2020;50(3):695-706.
     gender minority disproportionality and                     https://doi.org/10.1007/s10803-019-04298-1
     disparities in child welfare: A population-
     based study. Child Youth Serv Rev.


                                                                                                                   91
            Case 1:25-cv-00240-ACR             Document 72-4
                                                        57-1      Filed 03/07/25
                                                                        02/21/25     Page 93 of 113



     251. Edwards-Leeper L, Feldman HA, Lash BR,               258. Price MN, Green AE. Association of gender
          Shumer DE, Tishelman AC. Psychological                    identity acceptance with fewer suicide
          profile of the first sample of transgender youth          attempts among transgender and nonbinary
          presenting for medical intervention in a U.S.             youth, Transgender Health 2021;0:0:1 8.
          pediatric gender center. Psychol Sex Orientat             https://doi.org/10.1089/trgh.2021.0079
          Gend Divers. 2017;4(3):374-382.
          https://doi.org/10.1037/sgd0000239                   259. Reczek C. Sexual and gender minority
                                                                    families: A 2010 to 2020 decade in review. J
     252. Watson RJ, Grossman AH, Russell ST.                       Marriage Fam. 2020;82(1):300-325.
          Sources of social support and mental health               https://doi.org/10.1111/jomf.12607
          among LGB youth. Youth Soc. 2019;51(1):30-
          48.                                                  260. Grafsky EL, Hickey K, Nguyen HN, Wall JD.
          https://doi.org/10.1177/0044118X16660110                  Youth disclosure of sexual orientation to
                                                                    siblings and extended family. Fam Relat.
     253. Bronfenbrenner U. The ecology of human                    2018;67(1):147-160.
          development: Experiments by design and                    https://doi.org/10.1111/fare.12299
          nature. Cambridge, MA: Harvard University
          Press; 1979.                                         261. Clements-Nolle K, Lensch T, Baxa A, Gay C,
                                                                    Larson S, Yang W. Sexual identity, adverse
     254. Mustanski B, Birkett M, Greene GJ,                        childhood experiences, and suicidal
          Hatzenbuehler ML, Newcomb ME.                             behaviours. J Adolesc Health.
          Envisioning an America without sexual                     2018;62(2):198-204.
          orientation inequities in adolescent health. Am           https://doi.org/10.1016/j.jadohealth.2017.09.
          J Public Health. 2014;104(2):218-225.                     022
          https://doi.org/10.2105/AJPH.2013.301625
                                                               262. Sterzing PR, Fisher AJ, Gartner RE Familial
     255. National Academies of Sciences,                           pathways to polyvictimization for sexual and
          Engineering, and Medicine. The health of                  gender minority adolescents: Microaffirming,
          lesbian, gay, bisexual, and transgender                   microaggressing, violent, and adverse
          people. In The Health of Lesbian, Gay,                    families. Psychology of Violence. 2019;9(4),
          Bisexual, and Transgender People: Building a              461-470. https://doi.org/10.1037/vio0000224
          Foundation for Better Understanding.
          Washington, DC: The National Academies               263. Atlanta Youth Count 2018 Community Report:
          Press;2011, chapter 4,                                    The prevalence of sex and labor trafficking
          https://doi.org/10.17226/13128                            among homeless youth in Metro Atlanta.
                                                                    https://atlantayouthcount.weebly.com/
     256. van Bergen DD, Wilson BDM, Russell ST,
          Gordon AG, Rothblum ED. Parental                     264. Choi SK, Wilson BDM, Shelton J, Gates G.
          responses to coming out by lesbian, gay,                  Serving our youth: The needs and
          bisexual, queer, pansexual, or two-spirited               experiences of lesbian, gay, bisexual,
          people across three age cohorts. J Marriage               transgender, and questioning youth
          Fam. 2021;83(4):1116-1133.                                experiencing homelessness. The Williams
          https://doi.org/10.1111/jomf.12731                        Institute With True Colors Fund; 2015.
                                                                    https://truecolorsunited.org/wp-
     257. Ryan C, Huebner D, Diaz RM, Sanchez J.                    content/uploads/2015/05/Serving-Our-Youth-
          Family rejection as a predictor of negative               June-2015.pdf
          health outcomes in white and Latino lesbian,
          gay, and bisexual young adults. Pediatrics.          265. Hull KE, Ortyl TA. Conventional and cutting-
          2009;123(1):346-352.                                      edge: Definitions of family in LGBT
          https://doi.org/10.1542/peds.2007-3524                    communities. Sex Res Soc Policy.
                                                                    2019;16(1):31-43.
                                                                    https://doi.org/10.1007/s13178-018-0324-2



92
       Case 1:25-cv-00240-ACR            Document 72-4
                                                  57-1      Filed 03/07/25
                                                                  02/21/25      Page 94 of 113



266. Moon D. Beyond the dichotomy: six religious         273. Maslowe KE, Yarhouse MA. Christian
     views of homosexuality. J Homosex.                       parental reactions when a LGB child comes
     2014;61(9):1215-1241.                                    out. Am J Fam Ther. 2015;43:1-12.
     https://doi.org/10.1080/00918369.2014.9267               https://doi.org/10.1080/01926187.2015.1051
     62                                                       901

267. Campbell M, Hinton JDX, Anderson JR. A              274. Gordon AR, Conron KJ, Calzo JP, White MT,
     systematic review of the relationship between            Reisner SL, Austin SB. Gender expression,
     religion and attitudes toward transgender and            violence, and bullying victimization: findings
     gender-variant people. Int J Transgend.                  from probability samples of high school
     2019;20(1):21-38.                                        students in 4 US school districts. J Sch
     https://doi.org/10.1080/15532739.2018.1545               Health. 2018;88(4):306-314.
     149                                                      https://doi.org/10.1111/josh.12606

268. Fields E, Morgan A, Sanders RA. The                 275. Durwood L, Eisner L, Fladeboe K, et al. Social
     intersection of sociocultural factors and                support and internalizing psychopathology in
     health-related behavior in lesbian, gay,                 transgender youth. J Youth Adolesc.
     bisexual, and transgender youth: experiences             2021;50(5):841-854.
     among young black gay males as an                        https://doi.org/10.1007/s10964-020-01391-y
     example. Pediatr Clin North Am.
     2016;63(6):1091-1106.                               276. Price-Feeney M, Green AE, Dorison SH.
     https://doi.org/10.1016/j.pcl.2016.07.009                Impact of bathroom discrimination on mental
                                                              health among transgender and nonbinary
269. Lefevor GT, Davis EB, Paiz JY, Smack ACP.                youth. J Adolesc Health. 2021;68(6):1142-
     The relationship between religiousness and               1147.
     health among sexual minorities: A meta-                  https://doi.org/10.1016/j.jadohealth.2020.11.
     analysis. Psychol Bull. 2021;147(7):647-666.             001
     https://doi.org/10.1037/bul0000321
                                                         277. Wernick LJ, Kulick A, Chin M. Gender identity
270. Thamrin H, Gonzales NA, Toomey RB,                       disparities in bathroom safety and well-being
     Anderson SF, Anhalt K. Discrimination and                among high school students. J Youth
     depressive symptoms in sexual minority                   Adolesc. 2017;46(5):917-930.
     Latinx youth: Moderation by religious                    https://doi.org/10.1007/s10964-017-0652-1
     importance and attendance. J Fam Psychol.
     2021;10.1037/fam0000936.                            278. Weinhardt LS, Stevens P, Xie H, et al.
     https://doi.org/10.1037/fam0000936                       Transgender and gender nonconforming
                                                              youths' public facilities use and psychological
271. Follins LD, Walker JJ, Lewis MK. Resilience              well-being: A mixed-method study. Transgend
     in Black lesbian, gay, bisexual, and                     Health. 2017;2(1):140-150.
     transgender individuals: A critical review of            https://doi.org/10.1089/trgh.2017.0020
     the literature. J Gay Lesbian Mental Health.
     2014;18(2):190-212.                                 279. Wilson BDM, Jordan SP, Meyer IH, Flores
     https://doi.org/10.1080/19359705.2013.82834              AR, Stemple L, Herman JL. Disproportionality
     3                                                        and disparities among sexual minority youth
                                                              in custody. J Youth Adolesc.
272. Glassgold JM, Ryan C. The role of families in            2017;46(7):1547-1561.
     efforts to change, support, and affirm sexual            https://doi.org/10.1007/s10964-017-0632-5
     orientation, gender identity, and expression in
     children and youth. In: Haldeman DC, ed.
     Change efforts in sexual orientation and
     gender identity: From clinical implications to
     contemporary public policy. APA Books;
     2022. https://doi.org/10.1037/0000266-005


                                                                                                                93
            Case 1:25-cv-00240-ACR             Document 72-4
                                                        57-1      Filed 03/07/25
                                                                        02/21/25       Page 95 of 113



     280. Poteat VP, Scheer JR, Chong ESK. Sexual              287. Abreu RL, Audette l, Mitchell Y, et al. LGBTQ
          orientation-based disparities in school and               student experiences in schools from 2009
          juvenile justice discipline: A multiple group             2019: A systematic review of study
          comparison of contributing factors. J Educ                characteristics and recommendations for
          Psychol. 2016;108(2):229-241.                             prevention and intervention in school
          https://doi.org/10.1037/edu0000058                        psychology journals. Psychol Schools.
                                                                    2022;59(1):115-151.
     281. Doty ND, Willoughby BL, Lindahl KM, Malik                 https://doi.org/10.1007/s40653-017-0175-7
          NM. Sexuality related social support among
          lesbian, gay, and bisexual youth. J Youth            288. Lessard LM, Watson RJ, Puhl RM. Bias-
          Adolesc. 2010;39(10):1134-1147.                           based bullying and school adjustment among
          https://doi.org/10.1007/s10964-010-9566-x                 sexual and gender minority adolescents: The
                                                                    role of gay-straight alliances [published
     282. Snapp SD, Watson RJ, Russell ST, Diaz RM,                 correction appears in J Youth Adolesc. April
          Ryan C. Social support networks for LGBT                  20, 2020]. J Youth Adolesc. 2020;49(5):1094-
          young adults: Low cost strategies for positive            1109. https://doi.org/10.1007/s10964-020-
          adjustment. Fam Relat. 2015;64(3):420-430.                01205-1
          https://doi.org/10.1111/fare.12124
                                                               289. Paceley MS, Fish JN, Thomas MMC, Goffnett
     283. Austin A, Craig SL, Navega N, McInroy LB.                 J. The impact of community size, community
          It's my safe space: The life-saving role of the           climate, and victimization on the physical and
          internet in the lives of transgender and gender           mental health of SGM youth. Youth Stud.
          diverse youth. Int J Transgend Health.                    2020;52(3):427-448.
          2020;21(1):33-44.                                         https://doi.org/10.1177/0044118X19856141
          https://doi.org/10.1080/15532739.2019.1700
          202                                                  290. Watson RJ, Park M, Taylor AB, et al.
                                                                    Associations between community-level
     284. McInroy LB, Craig SL.       like a safe haven             LGBTQ-supportive factors and substance use
          fantasy          Online fandom communities                among sexual minority adolescents. LGBT
          and the identity development activities of                Health. 2020;7(2):82-89.
          sexual and gender minority youth. Psychol                 https://doi.org/10.1089/lgbt.2019.0205
          Pop Media Cult. 2020;9(2):236-246.
          https://doi.org/10.1037/ppm0000234                   291. Du Bois SN, Yoder W, Guy AA, Manser K,
                                                                    Ramos S. Examining associations between
     285. Fish JN, McInroy LB, Paceley MS, et al.                   state-level transgender policies and
          kinda stuck at home with unsupportive                     transgender health. Transgend Health.
          parents right       LGBTQ youths'                         2018;3(1):220-224.
          experiences with COVID-19 and the                         https://doi.org/10.1089/trgh.2018.0031
          importance of online support. J Adolesc
          Health. 2020;67(3):450-452.                          292. Goldenberg T, L Reisner S, W Harper G, E
          https://doi.org/10.1016/j.jadohealth.2020.06.             Gamarel K, Stephenson R. State-level
          002                                                       transgender-specific policies, race/ethnicity,
                                                                    and use of medical gender affirmation
     286. Kaczkowski W, Li J, Cooper A, Robin L.                    services among transgender and other
          Examining the relationship between LGBTQ-                 gender-diverse people in the United
          supportive school health policies and                     States. Milbank Q. 2020;98(3):802-846.
          practices and psychosocial health outcomes                https://doi.org/10.1111/1468-0009.12467
          of lesbian, gay, bisexual and heterosexual
          students. LGBT Health. 2022; 9(1):43-53.
          https://doi.org/10.1089/lgbt.2021.0133




94
       Case 1:25-cv-00240-ACR            Document 72-4
                                                  57-1     Filed 03/07/25
                                                                 02/21/25      Page 96 of 113



293. McDowell A, Raifman J, Progovac AM, Rose                 https://doi.org/10.1016/j.jadohealth.2019.12.
     S. Association of nondiscrimination policies             018
     with mental health among gender minority
     individuals. JAMA Psychiatry.                       300. Chen D, Abrams M, Clark L, et al.
     2020;77(9):952-958.                                      Psychosocial characteristics of transgender
     https://doi.org/10.1001/jamapsychiatry.2020.             youth seeking gender-affirming medical
     0770                                                     treatment: Baseline findings from the Trans
                                                              Youth Care Study. J Adolesc Health.
294. Raifman J, Moscoe E, Austin SB, McConnell                2021;68(6):1104-1111.
     M. Difference-in-differences analysis of the             https://doi.org/10.1016/j
     association between state same-sex marriage
     policies and adolescent suicide attempts.           301. Costa R, Dunsford M, Skagerberg E, et al.
     JAMA Pediatr. 2017;171(4):350-356.                       Psychological support, puberty suppression,
     https://doi.org/10.1001/jamapediatrics.2016.4            and psychosocial functioning in adolescents
     529                                                      with gender dysphoria. J Sex Med.
                                                              2015;12(11): 2206-2214.
295. Aivadyan C, Slavin MN, Wu E. Inclusive state             https://doi.org/10.1111/jsm.13034
     legislation and reduced risk of past-year
     suicide attempts among lesbian, gay,                302. Becker-Hebly I, Fahrenkrug S, Campion F, et
     bisexual, and questioning adolescents in the             al. Psychosocial health in adolescents and
     United States. Arch Suicide Res. 2021;1-17.              young adults with gender dysphoria before
     https://doi.org/10.1080/13811118.2021.1967               and after gender-affirming medical
     237                                                      interventions: A descriptive study from the
                                                              Hamburg Gender Identity Service. Eur Child
296. de Vries AL, Doreleijers TA, Steensma TD,                Adolesc Psychiatry. 2021:30:1755-1767.
     Cohen-Kettenis PT. Psychiatric comorbidity in            https://doi.org/10.1007/s00787-020-01640-2
     gender dysphoric adolescents. J Child
     Psychol Psychiatry. 2011;52(11):1195-1202.          303. American Psychological Association Task
     https://doi.org/10.1111/j.1469-                          Force on Psychological Practice with Sexual
     7610.2011.02426.x                                        Minority Persons. APA guidelines for
                                                              psychological practice with sexual minority
297. de Vries AL, McGuire JK, Steensma TD,                    persons. 2021.
     Wagenaar EC, Doreleijers TA, Cohen-                      https://www.apa.org/about/policy/psychologic
     Kettenis PT. Young adult psychological                   al-sexual-minority-persons.pdf.
     outcome after puberty suppression and                    Accessed February 14, 2022.
     gender reassignment. Pediatrics.
     2014;134(4):696-704.                                304. Johnson B, Leibowitz S, Chavez A, Herbert
     https://doi.org/10.1542/peds.2013-2958                   SE. Risk versus resiliency: addressing
                                                              depression in lesbian, gay, bisexual, and
298. Achille C, Taggart T, Eaton NR, et al.                   transgender youth. Child Adolesc Psychiatr
     Longitudinal impact of gender-affirming                  Clin N Am. 2019;28(3):509-521.
     endocrine intervention on the mental health              https://doi.org/10.1016/j.chc.2019.02.016
     and well-being of transgender youths:
     Preliminary results. Int J Pediatr Endocrinol.      305. Chen D, Edwards-Leeper L, Stancin T,
     2020;2020:8. https://doi.org/10.1186/s13633-             Tishelman A. Advancing the practice of
     020-00078-2                                              pediatric psychology with transgender youth:
                                                              State of the science, ongoing controversies,
299. van der Miesen AIR, Steensma TD, de Vries                and future directions. Clin Pract Pediatr
     ALC, Bos H, Popma A. Psychological                       Psychol. 2018;6(1):73-83.
     functioning in transgender adolescents before            https://doi.org/10.1037/cpp0000229
     and after gender-affirmative care compared
     with cisgender general population peers. J
     Adolesc Health. 2020;66(6):699-704.


                                                                                                              95
            Case 1:25-cv-00240-ACR             Document 72-4
                                                        57-1      Filed 03/07/25
                                                                        02/21/25      Page 97 of 113



     306. Spencer KG, Berg DR, Bradford NJ, Vencill                  effective among racial/ethnic minority gay and
          JA, Tellawi G, Rider GN. The gender-                       bisexual men. [Unpublished manuscript]. Yale
          affirmative life span approach: A                          University School of Public Health, 2021.
          developmental model for clinical work with
          transgender and gender-diverse children,             313. Toomey RB, Anhalt K. Mindfulness as a
          adolescents, and adults. Psychotherapy                    coping strategy for bias-based school
          (Chic). 2021;58(1):37-49.                                 victimization among Latina/o sexual minority
          https://doi.org/10.1037/pst0000363                        youth. Psychol Sex Orientat Gend Divers.
                                                                    2016;3(4):432-441.
     307. Clark KA, Cochran SD, Maiolatesi AJ,                      https://doi.org/10.1037/sgd0000192
          Pachankis JE. Prevalence of bullying among
          youth classified as LGBTQ who died by                314. Cohen JA, Ryan C. The trauma-focused CBT
          suicide as reported in the National Violent               and family acceptance project: An integrated
          Death Reporting System, 2003-2017. JAMA                   framework for children and youth. Psychiatr
          Pediatr. 2020;174(12):1211-1213.                          Times. 2021;32(6):15-17.
          https://doi.org/10.1001/jamapediatrics.2020.0             https://www.psychiatrictimes.com/view/the-
          940                                                       trauma-focused-cbt-and-family-acceptance-
                                                                    project. Accessed February 14, 2022.
     308. Hatzenbuehler ML, Schwab-Reese L,
          Ranapurwala SI, Hertz MF, Ramirez MR.                315. The Trevor Project.
          Associations between antibullying policies                https://www.thetrevorproject.org. Accessed
          and bullying in 25 states. JAMA Pediatr.                  February 14, 2022.
          2015;169(10):e152411.
          https://doi.org/10.1001/jamapediatrics.2015.2        316. PFLAG. N.d. https://pflag.org/ and
          411                                                       https://pflag.org/findachapter/

     309. Pachankis JE, McConocha EM, Clark KA, et             317. Lang A, Paquette ET. Involving minors in
          al. A transdiagnostic minority stress                     medical decision making: understanding
          intervention for gender diverse sexual minority           ethical issues in assent and refusal of care by
          women's depression, anxiety, and unhealthy                minors. Semin Neurol. 2018;38(5):533-538.
          alcohol use: A randomized controlled trial. J             https://doi.org/10.1055/s-0038-1668078
          Consult Clin Psychol. 2020;88(7):613-630.
          https://doi.org/10.1037/ccp0000508
                                                               318. Berg JW, Appelbaum PS, Lidz CW, Parker
                                                                    LS. Informed Consent: Legal Theory and
     310. Craig SL, Leung VWY, Pascie R, et al.                     Clinical Practice. 2nd Edition. Fair Lawn, NJ:
          AFFIRM online: Utilising an affirmative                   Oxford University Press, 2001.
          cognitive behavioural digital intervention to
          improve mental health, access, and
          engagement among LGBTQA+ youth and                   319. Burton CL, Bonanno GA, Hatzenbuehler ML.
          young adults. Int Journal Environ Res Pub                 Familial social support predicts a reduced
          Health. 2021;18(4):1541.                                  cortisol response to stress in sexual minority
          https://doi.org/10.3390/ijerph18041541                    young adults. Psychoneuroendocrinology.
                                                                    2014;47:241-245.
                                                                    https://doi.org/10.1016/j.psyneuen.2014.05.0
     311. Lucassen MFG, Merry SN, Hatcher S,                        13
          Frampton CMA. Rainbow SPARX: A novel
          approach to addressing depression in sexual
          minority youth. Cogn Behav Pract.                    320. Golden RL, Oransky M. An intersectional
          2015;22(2):203-216.                                       approach to therapy with transgender
          https://doi.org/10.1016/j.cbpra.2013.12.008               adolescents and their families. Arch Sex
                                                                    Behav. 2019;48(7):2011-2025.
                                                                    https://doi.org/10.1007/s10508-018-1354-9
     312. Keefe JR, Rodrigues-Seijas C, Hatzenbuehler
          ML, Pachankis JE. 2021. LGBTQ affirmative
          cognitive-behavioral therapy is especially


96
       Case 1:25-cv-00240-ACR            Document 72-4
                                                  57-1      Filed 03/07/25
                                                                  02/21/25      Page 98 of 113



321. Harvey RG, Stone Fish L. Queer youth in             329. Columbia University Department of
     family therapy. Fam Process. 2015;54(3):396-             Psychiatry. Gender-Affirming Care Saves
     417. https://doi.org/10.1111/famp.12170                  Lives. June 23, 2021.
                                                              https://www.columbiapsychiatry.org/news/ge
322. Diamond GM, Lexy S, Closs C, Lapido T,                   nder-affirming-care-saves-
     Siqueland L. Attachment-based family                     lives#:~:text=The%20gender%2Daffirming%
     therapy for suicidal lesbian, gay, and bisexual          20model%20of,exploration%20without%20ju
     adolescents: a treatment development study               dgments%20or%20assumptions
     and open trial with preliminary findings.
     Psychotherapy. 2012;49(1):62.                       330. Boyle P. What is gender-affirming care? Your
     https://doi.org/10.1037/a0026247                         questions answered. Association of American
                                                              Medical Colleges. April 12, 2022.
323. Yarhouse MA. Family and community                        https://www.aamc.org/news-insights/what-
     acceptance focus on conventionally                       gender-affirming-care-your-questions-
     religious communities. Unpublished paper;                answered. Accessed March 12, 2023.
     2015.
                                                         331. Chen D, Berona J, Chan YM, et al.
324. Davis EB, Plante TG, Grey MJ, et al. The role            Psychosocial functioning in transgender youth
     of civility and cultural humility in navigating          after 2 years of hormones. N Engl J Med.
     controversial areas in psychology. Spiritual             2023 Jan 19;388(3):240-250.
     Clin Pract (Wash DC). 2021;8(2):79-97.                   https://doi.org/10.1056/NEJMoa2206297.
     https://doi.org/10.1037/scp0000236                       PMID: 36652355

325. Hidalgo MA, Chen D. Experiences of gender           332. Call DC, Challa M, Telingator CJ. Providing
     minority stress in cisgender parents of                  affirmative care to transgender and gender
     transgender/gender-expansive prepubertal                 diverse youth: Disparities, interventions, and
     children: A qualitative study. J Fam Issues.             outcomes. Curr Psychiatry Rep.
     2019;40(7):865-886.                                      2021;23(6):33.
     https://doi.org/10.1177/0192513x19829502                 https://doi.org/10.1007/s11920-021-01245-9

326. Kolbuck VD, Chen D, Hidalgo MA, Chodzen             333. Clark BA, Virani A.               a split-second
     G, Garofalo R. Parental responses to                                 An empirical ethical analysis of
                gender-nonconforming behavior: A              transgender youth capacity, rights, and
     qualitative analysis. Perspectives.                      authority to consent to hormone therapy. J
     2017;2(2):3-29.                                          Bioeth Inq. 2021;18(1):151-164.
                                                              https://doi.org/10.1007/s11673-020-10086-9
327. Hillier A, Torg E. Parent participation in a
     support group for families with transgender         334. Cohen-Kettenis PT, Klink D. Adolescents
     and gender-nonconforming children: "Being in             with gender dysphoria. Best Pract Res Clin
     the company of others who do not question                Endocrinol Metab. 2015;29(3):485-495.
     the reality of our experience". Transgend                https://doi.org/10.1016/j.beem.2015.01.004
     Health. 2019;4(1):168-175.
     https://doi.org/10.1089/trgh.2018.0018              335. U.S. Surgeon General. Protecting Youth
                                                              Mental Health: The U.S. Surgeon
328. Ehrensaft D, Giammattei SV, Storck K, et al.             Advisory. 2021. Accessed February 14, 2022.
     Prepubertal social gender transitions: What              https://www.hhs.gov/sites/default/files/surgeo
     we know; what we can learn A view from a                 n-general-youth-mental-health-advisory.pdf
     gender affirmative lens. Int J Transgend.
     2018;19(2):251-268.
     https://doi.org/10.1080/15532739.2017.141464
     9




                                                                                                                 97
            Case 1:25-cv-00240-ACR            Document 72-4
                                                       57-1      Filed 03/07/25
                                                                       02/21/25     Page 99 of 113



     336. The White House. Executive Order On                      021/05/25/2021-10477/notification-of-
          Advancing Racial Equity and Support for                  interpretation-and-enforcement-of-section-
          Underserved Communities Through the                      1557-of-the-affordable-care-act-and-title.
          Federal Government.                                      Accessed August 14, 2022.
          https://www.whitehouse.gov/briefing-
          room/presidential-                                  341. U.S. Department of Health and Human
          actions/2021/01/20/executive-order-                      Services. Statement by HHS Secretary Xavier
          advancing-racial-equity-and-support-for-                 Becerra Reaffirming HHS Support and
          underserved-communities-through-the-                     Protection for LGBTQ+ Children and Youth.
          federal-government/                                      March 2, 2022.
                                                                   https://www.hhs.gov/about/news/2022/03/02/s
     337. U.S. Department of Health and Human                      tatement-hhs-secretary-xavier-becerra-
          Service. Nondiscrimination in Health and                 reaffirming-hhs-support-and-protection-for-
          Health Education Programs or Activities,                 lgbtqi-children-and-youth.html
          Delegation of Authority. A Rule by the Health
          and Human Services Department, the                  342. U.S. Department of Health and Human
          Centers for Medicare & Medicaid Services,                Services.            Bureau, an Office of the
          and the Office for Civil Rights. Publication             Administration for Children & Families.
          date: June 19, 2020. Effective date: August              Guidance for Title IV-B and IV-E Agencies
          18, 2020. 42 USC 18116; 45 CFR Part 92.                  When Serving LGBTQI+ Children and Youth.
          https://www.federalregister.gov/documents/2              IM-22-01. March 2, 2022.
          020/06/19/2020-11758/nondiscrimination-in-               https://www.acf.hhs.gov/cb/policy-
          health-and-health-education-programs-or-                 guidance/im-22-01
          activities-delegation-of-authority
                                                              343. U.S. Department of Health and Human
     338. U.S. Department of Health and Human                      Services. Office of Civil Rights. HHS Notice
          Services. LGBT Health and Well-being: U.S.               and Guidance on Gender Affirming Care, Civil
          Department of Health and Human Services                  Rights, and Patient Privacy. March 2, 2022.
          Recommended Actions to Improve the                       https://www.hhs.gov/sites/default/files/hhs-
          Health and Well-Being of Lesbian, Gay,                   ocr-notice-and-guidance-gender-affirming-
          Bisexual, and Transgender Communities.                   care.pdf
          https://www.hhs.gov/programs/topic-
          sites/lgbtqi/enhanced-                              344. Movement Advancement Project. Equality
          resources/reports/health-objectives-                     Maps: Conversion            Laws. Statewide
          2011/index.html. Last updated January 2012.              Bans. https://www.lgbtmap.org/equality-
                                                                   maps/conversion_therapy. Accessed
     339. U.S. Department of Health and Human                      February 2, 2023.
          Services. Nondiscrimination in health and
          health education programs or activities,            345. Movement Advancement Project. Equality
          delegation of authority: Final rule. Published           Maps: Conversion            Laws. Local
          June 19, 2020.                                           Bans. https://www.lgbtmap.org/equality-
          https://www.federalregister.gov/documents/2              maps/conversion_therapy. Accessed
          020/06/19/2020-11758/nondiscrimination-in-               February 14, 2022.
          health-and-health-education-programs-or-
          activities-delegation-of-authority
                                                              346. H.R.2328 - Prohibition of Medicaid Funding
                                                                   for Conversion Therapy Act 2021.
     340. U.S. Department of Health and Human                      https://www.congress.gov/bill/117th-
          Services. Notification of Interpretation and             congress/house-bill/2328?s=1&r=85
          Enforcement of Section 1557 of the
          Affordable Care Act and Title IX of the
          Education Amendments of 1972. Rule.
          Effective Date May 10, 2021. Issued May 25,
          2021.
          https://www.federalregister.gov/documents/2


98
       Case 1:25-cv-00240-ACR             Document 72-4
                                                   57-1     Filed 03/07/25
                                                                  02/21/25       Page 100 of 113



347. Dubrowski, PR. The Ferguson v. JONAH                 355. Society for Research in Child Development
     Verdict and a path towards national cessation             (SRCD). Gender-Affirming Policies Support
     of gay-to-straight "conversion therapy".                  Transgender and Gender Diverse
     Northwestern University Law Review.                       Health. SRCD Statement of Evidence.
     2015;110: 77-117.                                         January 2022.
                                                               https://www.srcd.org/research/gender-
348. Southern Poverty Law Center. Michael                      affirming-policies-support-transgender-and-
     Ferguson, et al., v. Jonah, et al. JONAH                  gender-diverse-youths-health
     Conversion Therapy Case. N.D.
     https://www.splcenter.org/seeking-                   356. U.S. Department of Justice. Justice
     justice/case-docket/michael-ferguson-et-al-v-             Department Challenges Alabama Law that
     jonah-et-a. Accessed February 25, 2022.                   Criminalizes Medically Necessary Care for
                                                               Transgender Youth. April 29, 2022.
349. Human Rights Campaign, National Center for                https://www.justice.gov/opa/pr/justice-
     Lesbian Rights, and the Southern Poverty                  department-challenges-alabama-law-
     Law Center. Complaint for action to stop                  criminalizes-medically-necessary-care-
     false, deceptive advertising and other                    transgender. Accessed May 8, 2022.
     business practices. Before the United States
     Federal Trade Commission.                            357. Alabama Senate Bill 184. Public health,
     https://www.splcenter.org/sites/default/files/ftc         minors, biological male or female, sexual
     _conversion_therapy_complaint_-_final.pdf                 state, practices to alter or affirm minor's
                                                               sexual identity or perception such as
350. Illinois General Assembly. Public Act 099-                prescribing puberty blocking medication or
     0411. Youth Mental Health Protection Act.                 surgeries, prohibited, exceptions, nurses and
     https://www.ilga.gov/legislation/publicacts/fullt         school personnel not to withhold information
     ext.asp?Name=099-0411                                     from parents, violations a Class C felony.
                                                               https://legiscan.com/AL/text/SB184/id/256642
351. Forcier M, Van Schalkwyk G, & Turban JL.                  5. Accessed May 8, 2022.
     Pediatric Gender Identity: Gender-affirming
     Care for Transgender & Gender Diverse                358. United States Department of Justice.
     Youth. Springer; 2020.                                    Statement of Interest. Dylan Brandt, et al., vs.
                                                               Leslie Rutledge, et al. Case No. 4:21-cv-450-
352. Leibowitz S, Green J, Massey R et al.                     JM. June 17, 2021.
     Statement in response to calls for banning                https://www.justice.gov/file/1405411/downloa
     evidence-based supportive health                          d. Accessed February 14, 2022.
     interventions for transgender and gender
     diverse youth. Int J Transgend Health.               359. Dowshen NL, Christensen J, Gruschow SM.
     2020;21(1): 111-112.                                      Health insurance coverage of recommended
     https://doi.org/10.1080/15532739.2020.1703                gender-affirming health care services for
     652                                                       transgender youth: Shopping online for
                                                               coverage information. Transgend Health.
353. Janssen A, Voss R. Policies sanctioning                   2019;4(1):131-135. Published 2019 Apr 11.
     discrimination against transgender patients               https://doi.org/10.1089/trgh.2018.0055
     flout scientific evidence and threaten health
     and safety. Transgend Health. 2021;6(2):61-          360. American Psychological Association.
     63. https://doi.org/10.1089/trgh.2020.0078                Resolution on Supporting Sexual/Gender
                                                               Diverse Children and Adolescents in Schools.
354. Conron KJ,            KK, Vasquez LA, Mallory             Published February 14, 2022.
     C. Prohibiting gender-affirming medical care              https://www.apa.org/pi/lgbt/resources/policy/g
     for youth. Williams Institute Brief. March 2022.          ender-diverse-children
     https://williamsinstitute.law.ucla.edu/publicatio
     ns/bans-trans-youth-health-care/. Accessed
     March 27, 2022.


                                                                                                                  99
            Case 1:25-cv-00240-ACR           Document 72-4
                                                      57-1     Filed 03/07/25
                                                                     02/21/25       Page 101 of 113



      361. Movement Advancement Project. Equality                  https://www.lgbtmap.org/equality-
           Maps: Healthcare laws and policies:                     maps/healthcare_laws_and_policies
           Medicaid. https://www.lgbtmap.org/equality-
           maps/healthcare_laws_and_policies/medicaid        369. Mallory C, Tenido W. Medicaid coverage of
                                                                  affirming care. Williams Institute of UCLA
      362. Movement Advancement Project. Equality                 School of Law. Published October 2019.
           Maps: Healthcare laws and policies: Medical            https://williamsinstitute.law.ucla.edu/publicati
           care bans. https://www.lgbtmap.org/equality-           ons/medicaid-trans-health-care
           maps/healthcare_laws_and_policies/youth_
           medical_care_bans. Accessed February 14,          370. Substance Abuse and Mental Health Services
           2022.                                                  Administration. Behavioral health equity.
                                                                  https://www.samhsa.gov/behavioral-health-
      363. Movement Advancement Project. Equality                 equity. Last updated June 10, 2021.
           Maps: Healthcare laws and policies:
           Medicaid. Table format.                           371. McGinley M, Christie MB, Clements Z, et al. A
           https://www.lgbtmap.org/equality-                      resource for incorporating trans and gender
           maps/healthcare_laws_and_policies/medicaid.            diverse issues into counseling psychology
           Accessed February 14, 2022.                            curricula. APA Division 17 Special Task
                                                                  Group, Making Room at the Table:
      364. Durso LE, Rooney C, Gruberg S, et al.                  Trans/Nonbinary Pipeline to Counseling
           Advancing LGBTQ equality through local                 Psychology. Published November 6, 2020.
           executive action. Center for American                  https://sehd.ucdenver.edu/impact/2020/11/06
           Progress. Published August 2017.                       /the-resource-for-incorporating-trans-and-
           https://www.americanprogress.org/article/adv           gender-diverse-issues-into-counseling-
           ancing-lgbtq-equality-local-executive-action/          psychology-curricula/. Accessed February 16,
                                                                  2022.
      365. Turban JL, King D, Kobe J, Reisner SL,
           Keuroghlian AS. Access to gender-affirming        372. Family Acceptance Project. Publications.
           hormones during adolescence and mental                 https://familyproject.sfsu.edu/publications
           health outcomes among transgender adults.
           PLoS One. 2022;17(1):e0261039.                    373. New England Mental Health Technology
           https://doi.org/10.1371/journal.pone.0261039           Transfer Center. Supporting the resilience of
                                                                  young LGBTQA+ Black, Indigenous, and
      366. Movement Advancement Project. Healthcare               people of color. Training provided November
           laws and policies: Medicaid coverage for               16, 2021.
           transition-related care.                               https://www.youtube.com/watch?v=2B9g7Gt6
           https://www.lgbtmap.org/img/maps/citations-            uE4
           medicaid.pdf. Last updated December 20,
           2021. Accessed February 14, 2022.                 374. Campbell M, Hinton JDX, Anderson JR. A
                                                                  systematic review of the relationship between
      367. Centers for Medicare & Medicaid Services.              religion and attitudes toward transgender and
           Press release: Biden-Harris administration             gender-variant people. Int J Transgend.
           greenlights coverage of LGBTQ+ care as an              2019;20(1):21-38.
           essential health benefit in Colorado.                  https://doi.org/10.1080/15532739.2018.1545
           Published October 12, 2021.                            149
           https://www.cms.gov/newsroom/press-
           releases/biden-harris-administration-             375. Fortuna L, Ryan C, Telingator C. Faith,
           greenlights-coverage-lgbtq-care-essential-             acceptance, and mental health: Working with
           health-benefit-colorado                                religiously and culturally diverse families of
                                                                  LGBTQ youth. J Am Acad Child Adolesc
      368. Movement Advancement Project. Equality                 Psychiatry. 2020;59(10):S348.
           Maps: Healthcare laws and policies.                    https://doi.org/10.1016/j.jaac.2020.07.855



100
       Case 1:25-cv-00240-ACR             Document 72-4
                                                   57-1     Filed 03/07/25
                                                                  02/21/25      Page 102 of 113



376. Plante TG. Integrating spirituality and                   2015;16(5):734-743.
     psychotherapy: ethical issues and principles              https://doi.org/10.1007/s11121-014-0507-x
     to consider. J Clin Psychol. 2007;63(9):891-
     902. https://doi.org/10.1002/jclp.20383              385. Russell ST, Ryan C, Toomey RB, Diaz RM,
                                                               Sanchez J. Lesbian, gay, bisexual, and
377. Reed JL, Stratton SP, Koprowski G, et al.                 transgender adolescent school victimization:
      Coming        to parents in a Christian context:         implications for young adult health and
     A consensual qualitative analysis of LGB                  adjustment. J Sch Health. 2011;81(5):223-
     student experiences. Couns Val.                           230. https://doi.org/10.1111/j.1746-
     2020;65(1):38-56.                                         1561.2011.00583.x
     https://doi.org/10.1002/cvj.12121
                                                          386. Mattocks KM, Kauth MR, Sandfort T, Matza
378. Teutsch D. Understanding transgender issues               AR, Sullivan JC, Shipherd JC. Understanding
     in Jewish ethics. Reconstructing Judaism.                 health-care needs of sexual and gender
     Published April 18, 2016.                                 minority veterans: how targeted research and
     https://www.reconstructingjudaism.org/article/            policy can improve health. LGBT Health. Mar
     understanding-transgender-issues-jewish-                  2014:50-57.
     ethics. Accessed February 14, 2022.                       https://doi.org/10.1089/lgbt.2013.0003

379. Whitman JS, Bidell MP. Affirmative LGB               387. Tran LD. Moderate effects of same-sex
     counselor education and religious beliefs:                legislation on dependent employer-based
     How do we bridge the gap? J Couns Dev.                    insurance coverage among sexual minorities.
     2014;92(2):162-169.                                       Med Care Res Rev. 2016;73(6):752-768.
     https://doi.org/10.1002/J.1556-                           https://doi.org/10.1177/1077558715625560
     6676.2014.00144.x
                                                          388. The White House. Executive Order on
380. Yarhouse MA. Sexual identity and faith:                   Guaranteeing an Educational Environment
     Helping clients find congruence. Templeton                Free From Discrimination On the Basis of
     Press; 2019.                                              Sex, Including Sexual Orientation or Gender
                                                               Identity. https://www.whitehouse.gov/briefing-
381. Adelson SL, Walker-Cornetta E, Kalish N.                  room/presidential-
     LGBT youth, mental health, and spiritual care:            actions/2021/03/08/executive-order-on-
     Psychiatric collaboration with health care                guaranteeing-an-educational-environment-
     chaplains, J Am Acad Child Adolesc                        free-from-discrimination-on-the-basis-of-sex-
     Psychiatry. 2019;58(7):651-655.                           including-sexual-orientation-or-gender-
     https://doi.org/10.1016/j.jaac.2019.02.009                identity. Published March 8, 2021.
                                                               https://www.acf.hhs.gov/cb/policy-
382. American Association for the Advancement of               guidance/im-22-01.
     Science. Dialogue on science, ethics and
     religion. https://sciencereligiondialogue.org.       389. U.S. Department of Health and Human
                                                               Services Grants Regulation. Notification of
383. Bouris A, Everett BG, Heath RD, Elsaesser                 Nonenforcement of Health and Human
     CE, Neilands TB. Effects of victimization and             Services Grants Regulation. 84 FR 63809.
     violence on suicidal ideation and behaviors               Published November 11, 2019.
     among sexual minority and heterosexual                    https://www.federalregister.gov/d/2019-
     adolescents. LGBT Health. 2016;3(2):153-                  24384. Accessed May 7, 2022.
     161. https://doi.org/10.1089/lgbt.2015.0037

384. Huebner DM, Thoma BC, Neilands TB.
     School victimization and substance use
     among lesbian, gay, bisexual, and
     transgender adolescents. Prev Sci.



                                                                                                                101
             Case 1:25-cv-00240-ACR             Document 72-4
                                                         57-1     Filed 03/07/25
                                                                        02/21/25       Page 103 of 113



      390. The White House. Statement by President                    s/documents/FAP%20LDS%20Booklet%20p
           Biden on Transgender Day of Remembrance.                   st.pdf
           Published November 20, 2021.
           https://www.whitehouse.gov/briefing-                 398. Eshel. https://www.eshelonline.org.
           room/statements-
           releases/2021/11/20/statement-by-president-          399. The Agency for Toxic Substances and
           biden-on-transgender-day-of-remembrance                   Disease Registry. Pediatric Environmental
                                                                     Health Toolkit Training Module. (n.d.).
      391. H.R.5 - Equality Act 2021.                                https://www.atsdr.cdc.gov/emes/training/pag
           https://www.congress.gov/bill/117th-                      e19.html. Accessed March 18, 2023
           congress/house-
           bill/5?q=%7B%22search%22%3A%5B%22Eq                  400. Schmitt BD, Carey WB, Crocker AC, Coleman
           uality+Act%22%2C%22Equality%22%2C%22                      WL. Elias ER, Feldman HM. Pediatric
           Act%22%5D%7D&s=1&r=5                                      counseling. In: Carey WB, Crocker AC,
                                                                     Coleman WL, Elias ER, Feldman HM, eds.
      392. Movement Advancement Project. Snapshot:                   Developmental-Behavioral Pediatrics, 4th ed.
           LGBTQ equality by state.                                  Philadelphia, PA: W.B. Saunders;2009:847-
           https://www.lgbtmap.org/equality-maps.                    855. https://doi.org/10.1016/B978-1-4160-
           Accessed February 16, 2022.                               3370-7.00086-9

      393. Ryan C. Helping families support their               401. Ryan C. Generating a revolution in
           lesbian, gay, bisexual, and transgender                   prevention, wellness & care for LGBT children
           (LGBT) children. Family Acceptance Project,               & youth, Temple Political & Civil Rights Law
           San Francisco State University. 2010.                     Review. 2014;23(2):331-344.
           https://nccc.georgetown.edu/documents/LGB
           T_Brief.pdf                                          402. Hibbard R, Barlow J, Macmillan H; American
                                                                     Academy of Pediatrics, Committee on Child
      394. Substance Abuse and Mental Health Services                Abuse and Neglect; and American Academy
           Administration. A              resource                   of Child and Adolescent Psychiatry, Child
           guide: Helping families to support their LGBT             Maltreatment and Violence Committee.
           children. HHS publication no. PEP14-                      Psychological maltreatment. Pediatrics.
           LGBTKIDS. Rockville, MD: Substance Abuse                  2012;130(2):372-378.
           and Mental Health Services Administration;                https://doi.org/10.1542/peds.2012-1552
           2014.
           https://store.samhsa.gov/sites/default/files/        403. Poteat VP, Marx RA, Calzo P, et al.
           d7/priv/pep14-lgbtkids.pdf                                Addressing inequities in education:
                                                                     Considerations for LGBTQ+ children and
      395. Centers for Disease Control and Prevention.               youth in the era of COVID-19. Washington,
           Lesbian, gay, bisexual, and transgender                   DC: Society for Research in Child
           health.                                                   Development; 2020.
           https://www.cdc.gov/lgbthealth/index.htm.                 https://www.srcd.org/sites/default/files/resourc
           Last updated June 9, 2021.                                es/FINAL_AddressingInequalities-
                                                                     LGBTQ%2B.pdf
      396. American Psychological Association. 10
           considerations for finding a gender competent        404. Toomey RB, McGuire JK, Olson KR, Baams
           therapist for your child. Published December              L, Fish JN. Gender-affirming policies support
           2020.                                                     transgender and gender diverse
           https://www.apa.org/pi/lgbt/resources/gender-             health. Society for Research in Child
           diverse-children.pdf.                                     Development. Published January 27, 2022.
                                                                     https://www.srcd.org/research/gender-
      397. Family Acceptance Project. Family education               affirming-policies-support-transgender-and-
           LDS booklet.                                              gender-diverse-youths-health
           https://familyproject.sfsu.edu/sites/default/file


102
      Case 1:25-cv-00240-ACR           Document 72-4
                                                57-1     Filed 03/07/25
                                                               02/21/25       Page 104 of 113



405. American Counseling Association. Tip-sheet        412. The White House. Federal Evidence Agenda
     on creating affirming spaces for LGBTQ                 on LGBTQI+ Equity: A Report by the
     youth.                                                 Subcommittee on Sexual orientation, Gender
     https://www.counseling.org/docs/default-               Identity, and Variations in Sex Characteristics
     source/resources-for-counselors/lgbtq-                 (SOGI) Data Subcommittee on Equitable
     support-sign(hrc).pdf?sfvrsn=4cb552c_2                 Data of the National Science and Technology
                                                            Council. January 13, 2023.
406. Toomey RB, Ryan C, Diaz RM, Russell ST.                https://www.whitehouse.gov/wp-
     High school gay straight alliances (GSAs)              content/uploads/2023/01/Federal-Evidence-
     and young adult well-being: An examination             Agenda-on-LGBTQI-Equity.pdf.
     of GSA presence, participation, and perceived          Accessed March 21, 2023.
     effectiveness. Appl Dev Sci. 2011;15(4):175-
     185.                                              413. Centers for Disease Control and Prevention.
     https://doi.org/10.1080/10888691.2011.60737            Youth Risk Behavior Survey Data Summary &
     8                                                      Trends Report 2009-2019.
                                                            https://www.cdc.gov/healthyyouth/data/yrbs/
407. Baker KE, Streed CG Jr, Durso LE. Ensuring             pdf/YRBSDataSummaryTrendsReport2019-
     that LGBTQI+ people count - collecting data            508.pdf. Accessed March 29, 2022.
     on sexual orientation, gender identity, and
     intersex status. N Engl J Med.                    414. Jones T. Intersex studies: A systematic
     2021;384(13):1184-1186.                                review of international health literature. Sage
     https://doi.org/10.1056/NEJMp2032447                   Journals. 2018;8(2).
                                                            https://doi.org/10.1177/2158244017745577
408. Cahill S, Makadon H. Sexual orientation and
     gender identity data collection in clinical       415. Forsythe A, Pick C, Tremblay G, Malaviya S,
     settings and in electronic health records: A           Green A, Sandman K. Humanistic and
     key to ending LGBT health disparities. LGBT            economic burden of conversion therapy
     Health. 2014;1(1):34-41.                               among LGBTQ youths in the United States.
     https://doi.org/10.1089/lgbt.2013.0001                 JAMA Pediatr. 2022;176(5):493-501.
                                                            https://doi.org/10.1001/jamapediatrics.2022.0
409. MacCarthy S, Elliott MN. Sexual Orientation            042
     and Gender Identity Data. Health Aff
     (Millwood). 2021;40(5):852.                       416. Olson-Kennedy J, Chan Y-M, Rosenthal S, et
     https://doi.org/10.1377/hlthaff.2021.00255             al. Creating the Trans Youth Research
                                                            Network: a collaborative research endeavor.
410. Streed CJ, Grasso C, Reisner SL, Mayer KH.             Transgend Health. 2019;4:1:304-312,
     Sexual orientation and gender identity data            https://doi.org/10.1089/trgh.2019.0024
     collection: Clinical and public health
     importance. Am J Pub Health.                      417. National Institute of Mental Health. Stigma
     2020;110(7):991-993.                                   and discrimination research toolkit.
     https://doi.org/10.2105/AJPH.2020.305722               https://www.nimh.nih.gov/about/organization/
                                                            dar/stigma-and-discrimination-research-
411. Caughey AB, Krist AH, Wolff TA, et al.                 toolkit. Accessed February 16, 2022.
     USPSTF approach to addressing sex and
     gender when making recommendations for
     clinical preventive services [published
     correction appears in JAMA.
     2021;326(23):2437]. JAMA.
     2021;326(19):1953-1961.
     https://doi.org/10.1001/jama.2021.15731




                                                                                                              103
            Case 1:25-cv-00240-ACR          Document 72-4
                                                     57-1     Filed 03/07/25
                                                                    02/21/25      Page 105 of 113




                                                            lesbian, gay, bisexual, transgender, queer,
      Appendix B: Glossary of Terms                         intersex, those who are questioning their sexual
      Agender: Describes individuals who do not             orientation or gender identity, and others who
      identify as any gender.                               are not cisgender or straight/heterosexual.
                                                            Diverse sexual orientation and/or gender identity
      Asexual: Describes individuals who do not
                                                            is used interchangeably with                and
      experience sexual attraction. An individual can
                                                             sexual and/or gender             (or similar
      also be aromantic, meaning that they do not
                                                            language) throughout this report.
      experience romantic attraction.
                                                            Fa afafine: Describes individuals assigned male
      Behavioral health: A broad term that includes
                                                            sex at birth who identify themselves as having
      mental health, resilience, and well-being; the
                                                            a third gender or nonbinary in Samoan culture.
      treatment of mental and substance use
      disorders; and the support of those who
                                                            Gay: Describes individuals whose enduring
      experience and/or are in recovery from these
                                                            physical, romantic, and/or emotional attractions
      conditions, along with their families and
                                                            are to people of the same gender.
      communities.
      Behavioral health provider: A broad term used         Gender-affirming care: A specialized model of
      here to describe individuals across settings and      care used in the treatment of gender dysphoria
      disciplines who are engaged in the provision of       that uses evidence-informed treatment options
      care and/or support related to behavioral health.     to promote patient health and prevent the risk of
      Behavioral health providers include both              poor mental and physical health outcomes. Not
      licensed and non-licensed professionals,              all youth need to undergo medical intervention;
      including mental health counselors, marriage          indeed, this is often not the case. Gender-
      and family therapists, pastoral counselors,           affirming care is highly individualized and
      psychiatrists, psychologists, psychiatric nurses,     focuses on the needs of each individual.
      school counselors and health providers, peer          Gender-affirming care may include
      support professionals, social workers, substance      psychoeducation about gender and sexuality
      use counselors, addiction medicine specialists,       (appropriate to the age and developmental
      and all staff of mental health and substance use      level), parental and family support, social
      treatment facilities.                                 interventions, and gender-affirming medical
                                                            interventions.
      Bisexual: Describes an individual who has the
      capacity to form enduring physical, romantic,
                                                            Gender diverse: A broad term that includes
      and/or emotional attractions to those of the          individuals whose gender identities and/or
      same gender or to those of another gender.            gender expressions are incongruent with those
      Cisgender: Describes individuals whose gender         culturally expected based on sex assigned at
      identity is congruent with their sex assigned at      birth. This includes those who are exploring their
      birth.                                                gender and is used interchangeably with
                                                             gender
      Developmentally sensitive approaches:
      Clinical and educational approaches that              Gender expression: The external ways a
      account for the appropriate developing                person communicates their gender, such as
      emotional and cognitive capacities,                   clothing, hair, mannerisms, activities, or social
      developmental milestones, and emerging or             roles.
      existing behavioral health concerns.
                                                            Gender fluid: A term used to describe
                                                            individuals whose gender changes over time.
      Diverse sexual orientation and/or gender
      identity: A term to describe persons who are


104
      Case 1:25-cv-00240-ACR           Document 72-4
                                                57-1     Filed 03/07/25
                                                               02/21/25      Page 106 of 113




Gender identity: A person s deep internal              Questioning: A term used to describe
sense of being female, male, or another identity.      individuals who are unsure about their sexual
                                                       orientation and/or gender identity.
Genderqueer: Describes individuals who
experience their gender identity and/or gender         Sex assigned at birth: The assignment of
expression as falling outside the categories of        male, female, or intersex when an individual is
man and woman.                                         born, typically made based on the appearance
                                                       of external genital anatomy.
Intersex: An umbrella term used to describe
people with variations in sex characteristics,         Sexual and/or gender minority: Sexual and
including chromosomes or hormones that do not          gender minority populations include, but are not
fit typical definitions of male and female.            limited to, individuals who identify as lesbian,
                                                       gay, bisexual, asexual, transgender, Two-Spirit,
Lesbian: A woman who has romantic and/or
                                                       queer, and/or intersex. Individuals with same-
sexual orientation toward women.
                                                       sex or -gender attractions or behaviors and
LGBTQI+: Lesbian, gay, bisexual, transgender,          those with a difference in sex development are
queer, intersex, those who are questioning their       also included. Sexual and gender minority is
sexual orientation or gender identity, and others      used interchangeably with                 and
who are not cisgender or straight/heterosexual.        persons of             sexual orientation and/or
LGBTQI+ is used interchangeably with sexual            gender             (or similar) throughout this
and/or gender           and persons of                 report.
sexual orientation and/or gender           (or
                                                       Sexual orientation and gender identity
similar language) throughout this report.
                                                       change efforts (SOGI change efforts):
        Describes individuals who identify as a        Practices that aim to suppress or alter an
third gender or nonbinary in Native Hawaiian           individual s sexual orientation or gender to align
culture.                                               with heterosexual orientation, cisgender identity,
                                                       and/or stereotypical gender expression. Though
Nonbinary: Describes individuals whose gender          not therapeutic, these practices are often
identity is not exclusively male or female.            referred to as conversion            or reparative
Individuals may identify as nonbinary or other
identities, including, but not limited to,
genderqueer, two-spirit, agender, bigender, and        Sexual orientation: A person s emotional,
genderfluid.                                           sexual, and/or relational attraction to others.

Pansexual: Describes individuals who                   Transgender: Describes individuals whose
experience sexual, romantic, physical, and/or          gender identity is incongruent with their sex
spiritual attraction for members of all gender         assigned at birth.
identities/expressions.
                                                       Two-Spirit: Two Spirit refers to someone who is
Queer: Historically, this has been a pejorative        Native and expresses their gender identity or
term used to describe LGBTQI+ people, but is           spiritual identity in indigenous, non-Western
now used by some people, particularly younger          ways. This term can only be applied to a person
people, whose sexual orientation is not                who is Native. A Two Spirit person has specific
exclusively straight/heterosexual. Some people         traditional roles and responsibilities within their
may use queer, or more commonly                        tribe. Not all Native LGBTQ people identify as
genderqueer, to describe their gender identity         Two Spirit.
and/or gender expression.
                                                       Victimization: The act or process of singling
                                                       someone out for cruel or unfair treatment,
                                                       typically through physical or emotional abuse.


                                                                                                             105
            Case 1:25-cv-00240-ACR          Document 72-4
                                                     57-1        Filed 03/07/25
                                                                       02/21/25      Page 107 of 113




      This glossary is not an exhaustive list of terminology relevant for LGBTQI+ youth. Additional key terms
      and concepts are defined at Youth.gov.
      Sources:
            Rafferty J; Committee on Psychosocial Aspects of Child and Family Health; Committee on
            Adolescence; Section on Lesbian, Gay, Bisexual, and Transgender Health and Wellness.
            Ensuring comprehensive care and support for transgender and gender-diverse children and
            adolescents. Pediatrics. 2018;142(4):e20182162. https://doi.org/10.1542/peds.2018-2162
             Kleiber E. (2019). Gender Identity and Sexual Identity in the Pacific and Hawai'i: Introduction.

             https://guides.library.manoa.hawaii.edu/c.php?g=105466&p=686754
             Columbia University Department of Psychiatry. (June 23, 2021). Gender-Affirming Care Saves
             Lives. https://www.columbiapsychiatry.org/news/gender-affirming-care-saves-
             lives#:~:text=The%20gender%2Daffirming%20model%20of,exploration%20without%20judgment
             s%20or%20assumptions
             World Professional Association for Transgender Health. (2022). Standards of Care for the Health
             of Transsexual, Transgender, and Gender Nonconforming People.
             https://www.wpath.org/publications/soc
             Northwest Portland Area Indian Health Board Gender-Diverse Provider 101. (n.d.).
             https://www.pathsremembered.org/gender-diverse/
             E. Coleman, A. E. Radix, W. P. Bouman, et al. (2022) Standards of care for the health of
             transgender and gender diverse people, version 8. Int J Transgend Health. 2022:23:sup1:S1-
             S259. https://www.tandfonline.com/doi/pdf/10.1080/26895269.2022.2100644
             American Psychological Association Dictionary of Psychology. (n.d.).
             https://dictionary.apa.org/victimization
             NIH Sexual & Gender Minority Research Office. (n.d.). https://dpcpsi.nih.gov/sgmro




106
      Case 1:25-cv-00240-ACR           Document 72-4
                                                57-1   Filed 03/07/25
                                                             02/21/25       Page 108 of 113




Appendix C: Selected Resources
                                                        If you or someone you know is in crisis or
This appendix highlights selected materials that        emotional distress, or experiencing
are accessible to a variety of providers,               suicidal thoughts, please contact:
community professionals, parents, caregivers,
and youth. It also includes resources that, after       988 SUICIDE AND CRISIS LIFELINE
reviewing, professionals may share with                 If       thinking about suicide, are
families, youth, and community-based                    worried about a friend or loved one, or
                                                        would like emotional support, the Lifeline
collaborators. The appendix does not cover
                                                        network is available 24/7.
every important aspect of all issues addressed
                                                                Dial: 988
in this report, and the list of resources is
                                                                Text: 988
illustrative, not exhaustive.
                                                                Chat: https://988Lifeline.org/chat
The Department of Health and Human Services
maintains information online at:
                                                        THE TREVOR PROJECT
https://www.hhs.gov/programs/topic-
                                                        Connect to a crisis counselor:
sites/lgbtq/index.html
                                                                866-488-7386
Resources for Behavioral Health and                             www.thetrevorproject.org/get-help
Medical Providers
                                                        LGBT NATIONAL HELP CENTER
Resources for Understanding Sexual
Orientation and Gender Identity                                 Peer support: www.lgbthotline.org

These resources include information on sexual
orientation and gender identity and development
for behavioral health providers and other
                                                           Transgender, and Gender
professionals.
                                                           Nonconforming People.
Online Resources for Providers                             https://www.wpath.org/publications/soc
       American Counseling Association. (n.d.).            HHS. (n.d.). LGBTQI+ Health & Well-
       https://www.counseling.org/knowledge-               being.
       center/mental-health-resources/lgbtq                https://www.hhs.gov/programs/topic-
                                                           sites/lgbtqi/index.html
       American Psychological Association.
       (n.d.). https://www.apa.org/topics/lgbtq            SAMHSA. (March 30, 2022). LGBTQI+
                                                           Youth Like All Americans, They Deserve
       National LGBTQIA+ Health Education
                                                           Evidence-Based Care.
       Center. (n.d.).
                                                           https://www.samhsa.gov/blog/lgbtqi-
       https://www.lgbtqiahealtheducation.org/r
                                                           youth-all-americans-deserve-evidence-
       esources/in/transgender-health/
                                                           based-care
       National Association of School
                                                           National Child Traumatic Stress Network.
       Psychologists. (n.d.).
                                                           (2022). Gender-Affirming Care Is
       https://www.nasponline.org/lgbtqi2-s
                                                           Trauma-Informed Care.
       World Professional Association for                  https://www.nctsn.org/sites/default/files/r
       Transgender Health. (2022). Standards               esources/fact-sheet/gender-affirming-
       of Care for the Health of Transsexual,              care-is-trauma-informed-care.pdf

                                                                                                     107
            Case 1:25-cv-00240-ACR          Document 72-4
                                                     57-1     Filed 03/07/25
                                                                    02/21/25     Page 109 of 113




      Books for Providers                                   Resources for Providers to Discuss with
             Irwin Krieger. (2018). Counseling              Families, Caregivers, and Others
             Transgender and Non-Binary Youth: The          These resources are designed for professionals
             Essential Guide. London: Jessica               to discuss with families, caregivers, and others.
             Kingsley Publishers, Ltd.                              HHS. (n.d.). LGBTQI+ Health & Well-
                                                                    being.
             Colt Keo-Meier and Diane Ehrensaft.
                                                                    https://www.hhs.gov/programs/topic-
             (2018). The Gender Affirmative Model:
                                                                    sites/lgbtqi/index.html
             An Interdisciplinary Approach to
             Supporting Transgender and Gender
                                                                   The Family Acceptance Project
             Expansive Children. Washington, DC:
                                                                   http://familyproject.sfsu.edu/ works with
             American Psychological Association.
                                                                   parents and caregivers to help them
      Resources for Pediatric and Primary Care                     support their LGBTQI+ youth to reduce
      Providers                                                    health risks and promote well-being. This
                                                                   information is offered within the context
      In addition to the resources above, these                    of diverse cultures and faith communities
      selected resources assist pediatric and primary              by identifying and understanding the
      care health professionals who may be the first               impacts of rejecting and supportive
      point of contact for families and youth.                     behaviors. Films, posters and trainings
                                                                   are available for behavioral health
             Rafferty J; Committee on Psychosocial
                                                                   providers and others and information is
             Aspects of Child and Family Health;
                                                                   provided for families in many languages.
             Committee on Adolescence; Section on
                                                                   http://familyproject.sfsu.edu/
             Lesbian, Gay, Bisexual, and Transgender
             Health and Wellness. Ensuring
                                                                   OASH. Office of Population Affairs.
             comprehensive care and support for
                                                                   (2022). Gender-Affirming Care and
             transgender and gender-diverse children
                                                                   Young People.
             and adolescents. Pediatrics.
                                                                   https://opa.hhs.gov/sites/default/files/202
             2018;142(4):e20182162.
                                                                   2-03/gender-affirming-care-young-
             https://doi.org/10.1542/peds.2018-2162
                                                                   people-march-2022.pdf
             American Academy of Pediatrics,
             American College of Osteopathic                       AFFIRM Caregiver is a seven-session
             Pediatricians, Human Rights Campaign                  intervention that helps caregivers clarify
             Foundation. (2016). Supporting & and                  what supportive behaviors are and how
             caring for transgender children.                      to move away from rejecting behaviors.
             https://www.hrc.org/resources/supporting              https://www.affirmativeresearch.org/affir
             -caring-for-transgender-children                      m-care.html
             Levine DA; Committee on Adolescence.
             Office-based care for lesbian, gay,            Resources for Providers on Cultural
             bisexual, transgender, and questioning         Responsiveness
             youth. Pediatrics. 2013;132(1):e297-e313.      These resources highlight the scientific
             https://doi.org/10.1542/peds.2013-1283         consensus for assisting professionals who work
             National LGBT Health Education Center.         with diverse families and youth.
             (n.d.).
             https://www.lgbtqiahealtheducation.org/r
             esources/in/transgender-health/


108
      Case 1:25-cv-00240-ACR          Document 72-4
                                               57-1     Filed 03/07/25
                                                              02/21/25     Page 110 of 113




       Asian American Psychological                          http://www.apa.org/pi/lgbt/programs/safe-
       Association. (n.d.).                                  supportive/default.aspx
       https://aapaonline.org/resources/lgbtq-
                                                             GLSEN Research Institute. (2021).
       aapi-resources/
                                                             LGBTQ Students and School Sports
       2019 Black and African American                       Participation: Research Brief.
       LGBTQ Youth Report. (2019).                           https://www.glsen.org/sites/default/files/2
       https://www.hrc.org/resources/black-and-              022-02/LGBTQ-Students-and-School-
       african-american-lgbtq-youth-report                   Sports-Participation-Research-Brief.pdf
       The Trevor Project. (July 14, 2021).                  Additional GLSEN Resources. (n.d.).
       Black & LGBTQ: Approaching                            https://www.glsen.org/
       Intersectional Conversations.
                                                             CDC DASH Supporting LGBTQ Youth.
       https://www.thetrevorproject.org/resource
                                                             (n.d.).
       s/guide/black-lgbtq-approaching-
                                                             https://www.cdc.gov/healthyyouth/safe-
       intersectional-conversations/
                                                             supportive-
       The Trevor Project. (June 1, 2020).                   environments/lgbtq_youth.htm
       Supporting Black LGBTQ Mental Health.
                                                             Human Rights Campaign, Welcoming
       https://www.thetrevorproject.org/resource
                                                             Schools Initiative. (n.d.). Creating Safe
       s/guide/supporting-black-lgbtq-youth-
                                                             and Welcoming Schools.
       mental-health/
                                                             www.welcomingschools.org
       2018 LGBTQ Latinx Youth Report.
                                                             National Center for Lesbian Rights,
       (2018).
                                                             Youth Project. (n.d.).
       https://www.hrc.org/resources/latinx-
                                                             www.nclrights.org/our-work/youth
       lgbtq-youth-report
                                                             National Association of School
       National Queer Asian Pacific Islander
                                                             Psychologists, Committee on LGBTQI2-S
       Alliance (NQAPIA). (n.d.).
                                                             Issues: Safe & Supportive Schools. (n.d.).
       http://www.nqapia.org
                                                             https://www.nasponline.org/lgbtqi2-s
Resources for Educators and School
                                                      Resources for Families and
and Community Leaders
                                                      Caregivers
Resources for School Professionals
                                                      Parent/Caregiver Support-Focused
These resources highlight approaches that build       Resources
educator support and student resilience.
       Advocates for Youth. (2020). Creating          These resources highlight ways for parents and
                                                      caregivers to connect with other parents and
       Safer Spaces for LGBTQ Youth: A
                                                      caregivers of LGBTQI+ youth, and to learn more
       Toolkit for Education, Healthcare and
                                                      about their responses to LGBTQI+ youth.
       Community-Based Organizations.
       http://www.advocatesforyouth.org/wp-                  PFLAG. (n.d.) Families connecting with
       content/uploads/2020/11/Creating-Safer-               other families. www.pflag.org
       Spaces-Toolkit-Nov-13.pdf                             National Queer Asian Pacific Islander
       American Psychological Association.                   Alliance (NQAPIA). (n.d.). Videos and
       (2014). Safe & Supportive Schools                     resources for parents.
       Project.                                              https://www.youtube.com/user/nqapia/vid
                                                             eos



                                                                                                           109
            Case 1:25-cv-00240-ACR          Document 72-4
                                                     57-1    Filed 03/07/25
                                                                   02/21/25      Page 111 of 113




             Lead with Love (n.d.). Film-based                    Nonconforming Children (1st ed.). New
             intervention to improve parental                     York: The Experiment.
             responses to their sexual minority
                                                                  Irwin Krieger. (2019). Helping Your
             children.
                                                                  Transgender Teen (2nd ed.). New
             https://parentwithlove.northwestern.edu/l
                                                                  Haven, CT: Genderwise Press.
             ead-with-love/
                                                                  Jodie Patterson. (2019). The Bold World:
      Resources for Families and                                  A Memoir of Family and Transformation.
      Caregivers of Transgender and                               New York: Penguin Random House.
      Gender-Diverse Youth                                        Rachel Pepper. (2012). Transitions of the
      These resources highlight specific                          Heart: Stories of Love, Struggle and
      considerations for parents and caregivers of                Acceptance by Mothers of Transgender
      gender minority youth.                                      and Gender Variant Children. Jersey
                                                                  City, NJ: Cleis Press.
      Online Resources for Families and
      Caregivers                                            Resources for Youth
             American Psychological Association.
                                                            Online Resources for Youth
             (December 2020). A Consumer's Guide
             for Parents and Guardians of Gender            These resources are places where LGBTQI+
             Diverse Children and Adolescents: 10           youth can access information and online
             Considerations for Finding a Gender            support.
             Competent Therapist for Your Child.
             https://www.apa.org/pi/lgbt/resources/ge             It Gets Better Project. (n.d.).
             nder-diverse-children.pdf                            www.itgetsbetter.org

             PFLAG Transgender Network. (n.d.).                   The Trevor Project. (n.d.).
             https://pflag.org/find-resources/#my-                www.thetrevorproject.org
             loved-one-is-transgender                             Gender Spectrum.
             Gender Spectrum offers resources for                 www.genderspectrum.org
             multiple audiences. (n.d.).
             www.genderspectrum.org

      Books for Families and Caregivers
             Janna Barkin. (2017). He s Always Been
             My Son: A Mother s Story About Raising
             her Transgender Son. London: Jessica
             Kingsley Publishers, Ltd.
             Stephanie Brill and Lisa Kenney. (2016).
             The Transgender Teen: A Handbook for
             Parents and Professionals Supporting
             Transgender and Non-Binary Teens.
             Jersey City, NJ: Cleis Press.
             Diane Ehrensaft. (2011). Gender Born,
             Gender Made: Raising Healthy Gender-




110
       Case 1:25-cv-00240-ACR            Document 72-4
                                                  57-1     Filed 03/07/25
                                                                 02/21/25     Page 112 of 113




Appendix D: Contributions                                practitioners in child and adolescent
                                                         development and mental health, as well as
This report was prepared for SAMHSA by Leed
                                                         researchers in gender development, gender
Management Consulting, Inc. (LMCi) under
                                                         identity, and sexual orientation in children and
contract number
                                                         adolescents. The Panel also included experts
HHSS283201700609I/HHSS28342001T with
                                                         with a background in family therapy, ethnic and
SAMHSA, U.S. Department of Health and
                                                         racial diversity, the needs of underrepresented
Human Services (HHS). Arlin Hatch, CAPT,
                                                         populations, the intersection of behavioral health
USPHS, PhD, served as the Task Lead, Aida
                                                         and spiritual diversity, and ethics. Panel
Balsano, PhD, served as the Deputy Task Lead,
                                                         members were Renata Arrington-Sanders, MD,
and Brian Altman, JD, served as Senior Advisor.
                                                         MPH, ScM; Laura Edwards-Leeper, PhD; Gary
David Lamont Wilson, BFA, served as the
                                                         Harper, PhD, MPH; Laura Kuper, PhD; Scott
Contracting Officer Representative, and Marion
                                                         Leibowitz, MD; Christy Mallory, JD; Robin Lin
Pierce, BA, served as the Alternate Contracting
                                                         Miller, PhD; Kristina Olson, PhD; Thomas
Officer Representative. Jeanne Casey, MA,
                                                         Plante, PhD; Clifford Rosky, JD; Caitlin Ryan,
MCHES served as health communications
                                                         PhD, ACSW; Russell Toomey, PhD; and Mark
specialist for the report.
                                                         Yarhouse, PsyD.
Laura Jadwin-Cakmak, MPH, was the lead
                                                         SAMHSA subject matter experts provided input
scientific writer for this report, with substantial
                                                         on the report: Brian Altman, JD; Amy Andre, MA,
contributions from Judith Glassgold, PsyD;
                                                         MBA; Mitchell Berger, MPH; Victoria Chau, PhD,
assistance from the subject matter expert
                                                         MPH; Jeff Coady, CAPT, USPHS, PsyD, ABPP;
panelists; technical, bibliographic, and editorial
                                                         Ed Craft, DrPh, Med, LCPC; Trina Dutta, MPP,
assistance from Kathi E. Hanna, PhD; and
                                                         MPH; and Michelle Kim Leff, CAPT, USPHS,
support from Karen Braxton, MA, as task lead             MD, MBA. Elliot Kennedy, JD, from the
from LMCi.                                               Administration for Community Living, provided
The Subject Matter Expert Consensus Panel                consultation and served as the SAMHSA Task
was convened by Judith Glassgold, PsyD, the              Lead for the 2015 report, Ending Conversion
lead subject matter expert, remotely from                Therapy: Supporting and Affirming LGBTQ
September 9 to 10, 2021, with technical support          Youth, on which this revision is based.
from LMCi. The Panel included researchers and




                                                                                                              111
Case 1:25-cv-00240-ACR   Document 72-4
                                  57-1   Filed 03/07/25
                                               02/21/25   Page 113 of 113
